Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 1 of 132 Page ID #:416




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  9

 10                  THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11

 12

 13    COMMODITY FUTURES
 14    TRADING COMMISSION, and
                                                 Civil Action No.: 2:22-cv-00691-
 15    ALABAMA SECURITIES                        JFW-SK
       COMMISSION, ARIZONA
 16    CORPORATION COMMISSION,
       ARKANSAS SECURITIES
 17    DEPARTMENT, CALIFORNIA                    FIRST AMENDED COMPLAINT
       DEPARTMENT OF FINANCIAL                   FOR INJUNCTIVE RELIEF,
 18    PROTECTION & INNOVATION,                  CIVIL MONETARY
       STATE OF CONNECTICUT
 19    DEPARTMENT OF BANKING,                    PENALTIES, AND OTHER
       STATE OF FLORIDA, OFFICE                  EQUITABLE RELIEF
 20    OF FINANCIAL REGULATION,
       STATE OF HAWAII,
 21    DEPARTMENT OF COMMERCE
       AND CONSUMER AFFAIRS,                     DEMAND FOR JURY TRIAL
 22    STATE OF IDAHO,
       DEPARTMENT OF FINANCE,
 23    OFFICE OF SECRETARY OF
       STATE, ILLINOIS SECURITIES
 24    DEPARTMENT, INDIANA
       SECURITIES DIVISION, IOWA
 25    INSURANCE COMMISSIONER
       DOUGLAS M. OMMEN,
 26    KENTUCKY DEPARTMENT OF
       FINANCIAL INSTITUTIONS,
 27    STATE OF MARYLAND EX REL
       MARYLAND SECURITIES
 28
                                             -1-
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 2 of 132 Page ID #:417



       COMMISSIONER, ATTORNEY
  1    GENERAL DANA NESSEL ON
       BEHALF OF THE PEOPLE OF
  2    THE STATE OF MICHIGAN,
       MISSISSIPPI SECRETARY OF
  3    STATE, MISSOURI
       COMMISSIONER OF
  4    SECURITIES, NEBRASKA
       DEPARTMENT OF BANKING &
  5    FINANCE, NEW MEXICO
       SECURITIES DIVISION, THE
  6    PEOPLE OF THE STATE OF
       NEW YORK BY LETITIA
  7    JAMES, ATTORNEY GENERAL
       OF THE STATE OF NEW YORK,
  8    NORTH CAROLINA
       DEPARTMENT OF THE
  9    SECRETARY OF STATE, OHIO
       DEPARTMENT OF COMMERCE,
 10    DIVISION OF SECURITIES,
       OKLAHOMA DEPARTMENT OF
 11    SECURITIES, STATE OF
       OREGON, BY AND THROUGH
 12    ITS DEPARTMENT OF
       CONSUMER AND BUSINESS
 13    SERVICES AND ATTORNEY
       GENERAL ELLEN F.
 14    ROSENBLUM, STATE OF
       SOUTH CAROLINA, BY AND
 15    THROUGH ALAN WILSON,
       SOUTH CAROLINA ATTORNEY
 16    GENERAL, AND MARK
       HAMMOND, SOUTH CAROLINA
 17    SECRETARY OF STATE, SOUTH
       DAKOTA DEPARTMENT OF
 18    LABOR AND REGULATION,
       COMMISSIONER OF THE
 19    TENNESSEE DEPARTMENT OF
       COMMERCE & INSURANCE,
 20    UTAH DIVISION OF
       SECURITIES, VERMONT
 21    DEPARTMENT OF FINANCIAL
       REGULATION, WASHINGTON
 22    STATE DEPARTMENT OF
       FINANCIAL INSTITUTIONS, and
 23    THE STATE OF WISCONSIN,
 24
       Plaintiffs,
 25
                     v.
 26

 27

 28
                                             -2-
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 3 of 132 Page ID #:418




  1
        SAFEGUARD METALS LLC and
        JEFFREY SANTULAN a/k/a
  2     JEFFREY HILL,
  3
        Defendants.
  4

  5
            Plaintiffs Commodity Futures Trading Commission (“CFTC” or
  6
      “Commission”), Alabama Securities Commission (“State of Alabama”), Arizona
  7
      Corporation Commission (“State of Arizona”), Arkansas Securities Department
  8
      (“State of Arkansas”), California Department of Financial Protection & Innovation
  9
      (“State of California”), State of Connecticut Department of Banking (“State of
 10
      Connecticut”), State of Florida, Office of Financial Regulation (“State of Florida”),
 11
      State of Hawaii, Department of Commerce and Consumer Affairs (“State of
 12
      Hawaii”), Idaho Department of Finance (“State of Idaho”), Office of the Secretary of
 13
      State, Illinois Securities Department (“State of Illinois”), Indiana Securities Division
 14
      (“State of Indiana”), Iowa Insurance Commissioner Douglas M. Ommen (“State of
 15
      Iowa”), Kentucky Department of Financial Institutions (“Commonwealth of
 16
      Kentucky”), State of Maryland Ex Rel the Maryland Securities Commissioner (“State
 17
      of Maryland”), Attorney General Dana Nessel on Behalf of the People of the State of
 18
      Michigan (“People of the State of Michigan”), Mississippi Secretary of State (“State
 19
      of Mississippi”), Missouri Commissioner of Securities (“State of Missouri”),
 20
      Nebraska Department of Banking & Finance (“State of Nebraska”), New Mexico
 21
      Securities Division (“State of New Mexico”), The People of the State of New York
 22
      by Letitia James, Attorney General of the State of New York (“State of New York”),
 23
      North Carolina Department of the Secretary of State (“State of North Carolina”),
 24
      Ohio Department of Commerce, Division of Securities (“State of Ohio”), Oklahoma
 25
      Department of Securities (“State of Oklahoma”), State of Oregon, by and through its
 26
      Department of Consumer and Business Services and Attorney General Ellen F.
 27
      Rosenblum (“State of Oregon”), State of South Carolina, by and through Alan
 28
                                              -3-
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 4 of 132 Page ID #:419




  1 Wilson, South Carolina Attorney General, and Mark Hammond, South Carolina

  2 Secretary of State (“State of South Carolina”), South Dakota Department of Labor &

  3 Regulation (“State of South Dakota”), Commissioner of the Tennessee Department of

  4 Commerce and Insurance (“State of Tennessee”), Utah Division of Securities (“State

  5 of Utah”), Vermont Department of Financial Regulation (“State of Vermont”),

  6 Washington State Department of Financial Institutions (“State of Washington”), and

  7 the State of Wisconsin (“State of Wisconsin”) (collectively “the States”), by and

  8 through their undersigned attorneys, hereby allege as follows:
  9
                                         I. SUMMARY
 10

 11        1.     From at least October 2017 and continuing through at least July 2021
 12 (“Relevant Period”), Safeguard Metals LLC (“Safeguard Metals”) and Jeffrey

 13 Santulan a/k/a Jeffrey Hill (“Santulan”) (collectively “Defendants”) have engaged

 14 and continue to engage in a scheme to defraud people throughout the United States,

 15 including in this District and in each of the States.

 16        2.     Defendants fraudulently solicited customers to purchase precious metals,
 17 primarily consisting of gold and silver coins, that the company marketed and

 18 classified as either bullion, semi-numismatic, and numismatic precious metals

 19 (collectively “Precious Metals”).

 20        3.     Defendants grossly misrepresented, among other things, the amount of
 21 markup the company would charge customers on silver coins that Safeguard Metals

 22 claimed possess semi-numismatic and numismatic value (“Silver Coins”).

 23 Specifically, from at least October 2017 to January 2021, Safeguard Metals charged

 24 customers a markup on Silver Coins that exceeded the maximum possible markup

 25 disclosed to customers by almost 50% on average. And from January 2021, after

 26 receiving notice of a law enforcement investigation into Safeguard Metals’

 27 operations, and after Safeguard Metals modified its customer agreements to reflect

 28
                                             -4-
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 5 of 132 Page ID #:420




  1 that the maximum markup on Silver Coins could be 42% in certain circumstances;

  2 Safeguard Metals continued charging customers a markup on Silver Coins that still

  3 exceeded the maximum possible markup disclosed to customers by nearly 10% on

  4 average.

  5        4.     Safeguard Metals, by and through its sales representatives or other
  6 agents, made other material misrepresentations, half-truths, and omissions to

  7 convince customers to purchase Precious Metals. For example, Safeguard Metals

  8 misrepresented the size, scale, experience, background and history of the firm, its
  9 agents, and its representatives. Safeguard Metals also made materially false and

 10 misleading statements to customers about the risk and safety of their traditional

 11 retirement accounts in order to instill fear and convince customers to purchase

 12 Precious Metals.

 13        5.     Central to its scheme to defraud, Safeguard Metals targeted and
 14 continues to target and prey on a vulnerable population of mostly elderly or

 15 retirement-aged persons with little experience investing in Precious Metals.

 16 Safeguard Metals defrauded customers into transferring proceeds from retirement

 17 accounts, often consisting of funds from liquidated securities, to self-directed

 18 individual retirement accounts (“SDIRAs”) for the purchase of Precious Metals.

 19 Safeguard Metals also fraudulently induced some customers to purchase Precious

 20 Metals through cash and credit sales (“Cash Accounts”).

 21        6.     Safeguard Metals’ customers, particularly customers who purchased
 22 Silver Coins, generally and almost immediately suffered substantial losses on their

 23 investments due to the fraudulently overpriced Silver Coins. In total, Defendants

 24 fraudulently solicited approximately $68 million from more than 450 members of the

 25 public to purchase Precious Metals. Of that $68 million, $66 million was derived

 26 from purchases of fraudulently priced Silver Coins. Safeguard Metals charged its

 27

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                                             -5-
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 6 of 132 Page ID #:421




  1 customers approximately $26 million dollars in markups on those purchases, as part

  2 of Defendants’ fraudulent scheme.

  3        7.     To perpetuate the fraud and disguise the nearly immediate and
  4 substantial losses suffered by customers, Safeguard Metals also attempted to conceal

  5 its fraud and lull its customers by, among other things, making additional

  6 misrepresentations about the value of the customers’ Precious Metals accounts.

  7        8.     Defendants knowingly or recklessly misled customers into purchasing
  8 Precious Metals, knew or recklessly disregarded that most customers significantly
  9 overpaid for Silver Coins, and knew or recklessly disregarded that representations

 10 about customer account values were false.

 11        9.     The acts, misrepresentations, omissions, and failures of Santulan and
 12 other officers, employees, and agents acting for Safeguard Metals occurred within the

 13 scope of their employment, agency, or office with Safeguard Metals. Safeguard

 14 Metals is therefore liable under Section 2(a)(1)(B) of the Commodity Exchange Act

 15 (“CEA”), 7 U.S.C. § 2(a)(1)(B), and CFTC Regulation 1.2, 17 C.F.R. § 1.2 (2021), as

 16 a principal for Santulan’s violations of the CEA and CFTC Regulations.

 17        10.    By virtue of this conduct, and as more fully set forth below, Defendants
 18 have engaged, are engaging, and/or are about to engage in, either intentionally or

 19 recklessly, violations of the anti-fraud provisions of the CEA, Section 6(c)(1) of the

 20 CEA, 7 U.S.C. § 9(1), and CFTC Regulation 180.1(a)(1)-(3), 17 C.F.R.

 21 § 180.1(a)(1)-(3) (2021).

 22        11.    Accordingly, pursuant to Sections 6c and 6d(1) of the CEA, 7 U.S.C.
 23 §§ 13a-1, 13a-2(1), the CFTC and States bring this action to enjoin Defendants’

 24 unlawful acts and practices, to compel their compliance with the CEA and CFTC

 25 Regulations, and to enjoin them from engaging in any commodity-related activity, as

 26 set forth below. Plaintiffs also seek civil monetary penalties and remedial ancillary

 27 relief, including, but not limited to, restitution, disgorgement, rescission, pre- and

 28
                                             -6-
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 7 of 132 Page ID #:422




  1 post-judgment interest, and such other relief as the Court may deem necessary and

  2 appropriate.

  3
                              II. JURISDICTION AND VENUE
  4

  5        12.     This Court has subject matter jurisdiction over this action under 28
  6 U.S.C. § 1331 (federal question jurisdiction) and 28 U.S.C. § 1345 (district courts

  7 have original jurisdiction over civil actions commenced by the United States or by

  8 any agency expressly authorized to sue by Act of Congress). Section 6c(a) of the
  9 CEA, 7 U.S.C. § 13a-1(a), authorizes the CFTC to seek injunctive and other relief

 10 against any person whenever it appears to the CFTC that such person has engaged, is

 11 engaging, or is about to engage in any act or practice constituting a violation of any

 12 provision of the CEA or any rule, regulation, or order thereunder.

 13        13.     Section 6d(1) of the CEA, 7 U.S.C. § 13a-2(1), authorizes the States to
 14 bring a suit in the district courts of the United States to seek injunctive and other

 15 relief against any person whenever it appears to the Attorney General and/or

 16 Securities Administrator of a State, or such other official that a State may designate,

 17 that the interests of the residents of the State have been, are being, or may be

 18 threatened or adversely affected because of violations of the CEA or CFTC

 19 Regulations. The acts and omissions in violation of the CEA occurred within each

 20 and every one of the States. Investors from each and every one of the States were

 21 materially and substantially harmed by Defendants’ violations of the CEA.

 22        14.     This Court has supplemental and pendant jurisdiction over the State-law
 23 claims of the States pursuant to 28 U.S.C. § 1367(a).

 24        15.     Venue lies properly in this District pursuant to Section 6c(e) of the CEA,
 25 7 U.S.C. § 13a-1(e), because Defendants transacted business in this District, and

 26 certain transactions, acts, practices, and courses of business in violation of the CEA

 27

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                                             -7-
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 8 of 132 Page ID #:423




  1 and CFTC Regulations occurred, are occurring, or are about to occur within this

  2 District, among other places.

  3
                                        III. THE PARTIES
  4
            A.     PLAINTIFFS
  5
            16.    Plaintiff Commodity Futures Trading Commission is an independent
  6
      federal regulatory agency charged by Congress with the administration and
  7
      enforcement of the CEA and CFTC Regulations promulgated thereunder. The CFTC
  8
      maintains its principal office at Three Lafayette Centre, 1155 21st Street NW,
  9
      Washington, D.C. 20581.
 10
            17.    Plaintiffs State of Alabama, State of Arizona, State of Arkansas, State of
 11
      California, State of Connecticut, State of Florida, State of Hawaii, State of Idaho,
 12
      State of Illinois, State of Indiana, State of Iowa, Commonwealth of Kentucky, State
 13
      of Maryland, People of the State of Michigan, State of Mississippi, State of Missouri,
 14
      State of Nebraska, State of New Mexico, State of New York, State of North Carolina,
 15
      State of Ohio, State of Oklahoma, State of Oregon, State of South Carolina, State of
 16
      South Dakota, State of Tennessee, State of Utah, State of Vermont, State of
 17
      Washington, State of Wisconsin are authorized under Section 6d(1) of the CEA, 7
 18
      U.S.C. § 13a-2(1), and their respective State laws, to bring this action on behalf of
 19
      their State and their citizens to enforce the CEA and CFTC Regulations.
 20
            18.    Plaintiffs State of Alabama, State of Arkansas, State of California, State
 21
      of Connecticut, State of Florida, State of Idaho, State of Illinois, Commonwealth of
 22
      Kentucky, State of Maryland, State of Mississippi, State of Missouri, State of New
 23
      Mexico, State of North Carolina, State of Ohio, State of Oklahoma, State of South
 24
      Carolina, State of Utah, and State of Vermont are authorized under their respective
 25
      State laws, to bring their State law claims on behalf of their State and their citizens to
 26
      enforce State laws.
 27

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                                              -8-
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 9 of 132 Page ID #:424




  1        B.     DEFENDANTS
  2        19.    Defendant Safeguard Metals LLC initially registered as a Wyoming
  3 limited liability company on October 13, 2017, with its principal office located at 30

  4 N Gould St., Suite R, Sheridan, Wyoming. Subsequently, on March 26, 2019,

  5 Safeguard Metals registered as a California limited liability company with its

  6 principal place of business located at 21550 Oxnard St., 3rd Floor, Woodland Hills,

  7 California. Safeguard Metals has never been registered with the Commission in any

  8 capacity.
  9        20.    Defendant Jeffrey Santulan a/k/a Jeffrey Hill is the sole owner and
 10 sole manager of Safeguard Metals LLC. Santulan is the only signatory on Safeguard

 11 Metals’ bank accounts. During the Relevant Period, Santulan owned and controlled

 12 Safeguard Metals, supervised (directly and indirectly) its employees and agents, and

 13 made hiring and firing decisions on behalf of the company. A resident of Tarzana,

 14 California, Santulan has never been registered with the Commission in any capacity.

 15
                                          IV. FACTS
 16

 17 A.     Safeguard Metals’ Operations
 18        21.    Safeguard Metals is a company that marketed, promoted, and sold
 19 Precious Metals, including, but not limited to, Silver Coins. The firm placed

 20 advertisements on financial media and websites, and promoted its products on social

 21 media platforms and websites linked to media personalities and financial gurus.

 22 Safeguard Metals also marketed and promoted Precious Metals through its company

 23 website, https://www.safeguardmetals.com/.

 24        22.    Safeguard Metals used the advertisements, social media platforms, and
 25 websites to generate leads, which resulted in solicitations by telephone to potential

 26 customers.

 27

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                                             -9-
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 10 of 132 Page ID #:425




   1        23.    Safeguard Metals operated a call center located in Woodland Hills,
   2 California, staffed by sales representatives known as “Openers” and “Closers.”

   3 Safeguard Metals distributed lists of potential customers to Openers and Closers,

   4 which permitted the sales representatives to contact potential customers by telephone.

   5 Using the leads, Openers marketed and promoted Precious Metals to potential

   6 customers. Once an Opener confirmed a potential customer’s interest in purchasing

   7 Precious Metals, the potential customer was transferred over to the Closer, and the

   8 Closer executed the sale of Precious Metals with the customer.
   9        24.    Safeguard Metals operated as an intermediary, essentially controlling all
  10 buy and sell aspects of customer transactions to maximize its profits. Safeguard

  11 Metals, by and through its sales representatives or other agents, recommended

  12 customers form SDIRA accounts and that customers hold Precious Metals at a

  13 depository instead of taking delivery of the metals themselves. Safeguard Metals told

  14 customers storing Precious Metals in a depository was the safest way to store the

  15 precious metals and economically better because the depository was purportedly

  16 federally insured.

  17        25.    In reality, these representations disguised the way Safeguard Metals
  18 controlled the transactions. Once a customer opened a SDIRA account, often through

  19 a custodian and depository recommended by Safeguard Metals, Safeguard Metals

  20 was initially the only party authorized to buy or sell Precious Metals in customer

  21 SDIRAs. Unless a customer knew to remove Safeguard Metals as the designated

  22 representative on their SDIRA account, the customer was required to use Safeguard

  23 Metals to perform any future transactions, including if they choose to liquidate their

  24 Precious Metals holdings.

  25        26.    Safeguard Metals’ core strategy for profitability was to charge an
  26 exorbitant markup on sales of Precious Metals, and in particular, on Silver Coins to

  27 customers. Safeguard Metals purchased Precious Metals from a wholesale

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                                             - 10 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 11 of 132 Page ID #:426




   1 distributor, and generated nearly all of its profits through what it represented, though

   2 falsely, to customers as “operating margins”—the difference between Safeguard

   3 Metals’ cost of acquiring Precious Metals from a wholesale distributer and the prices

   4 paid by customers, i.e., markup.

   5        27.    To benefit its own self-interest, Safeguard Metals directed the vast
   6 majority of SDIRA funds into coins that Safeguard Metals typically marked up

   7 excessively, notwithstanding the customer’s individual investment needs. Safeguard

   8 Metals accomplished this by pressuring customers to purchase coins that it claimed
   9 had numismatic or semi-numismatic value.

  10        28.    Numismatic precious metals are rare, of limited availability, and have
  11 significant broad-based market demand and so have a value substantially more than

  12 the prevailing market price of the precious metal contained in the bullion. Semi-

  13 numismatic precious metals are bullion that are claimed to exhibit both bullion and

  14 numismatic traits, such that the value is derived from the precious metal content,

  15 limited circulation, and some recognized exclusive or collectible value.

  16        29.    Safeguard Metals offered coins with purported semi-numismatic or
  17 numismatic value in addition to the bullion value and coins with only bullion value.

  18 In particular, the Silver Coin known as the 1.25 oz Silver Rose Crown Guinea was

  19 the individual coin most frequently sold to customers. Safeguard Metals claimed the

  20 Silver Coins it sold to customers, including the 1.25 oz Silver Rose Crown Guinea,

  21 had semi-numismatic or numismatic value and sold them to customers at a premium

  22 far above Safeguard Metals’ acquisition cost and the melt value of the bullion.

  23        30.    In regards to gold coins, Safeguard Metals, by and through its sales
  24 representatives or other agents, most frequently sold the 0.1 oz Gold American Eagle

  25 to customers. Contrary to Silver Coins, which Safeguard Metals claimed to have

  26 semi-numismatic or numismatic value, most gold coins were sold as common bullion

  27 products that lacked external value above and beyond their melt value.

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                                             - 11 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 12 of 132 Page ID #:427




   1         31.    Consequently, Safeguard Metals pressured customers to purchase Silver
   2 Coins and sold vastly more Silver Coins to customers than gold coins.

   3 Approximately 97%, or $66 million of the $68 million in total revenue Safeguard

   4 Metals fraudulently solicited from customers was used to purchase Silver Coins.

   5         32.    Safeguard Metals also levied transaction fees to liquidate the Precious
   6 Metals held in SDIRA accounts. So after fraudulently overcharging customers on the

   7 front end when the Precious Metals transaction was executed, Safeguard Metals also

   8 imposed storage fees and commissions up to 10%, often exceeding the 1% to 3% in
   9 liquidation fees quoted to customers as the only charges imposed on Precious Metals

  10 transactions within SDIRA accounts, significantly contributing to customers’ overall

  11 transaction costs.

  12 B.      Defendants Defrauded Mostly Elderly Customers into Establishing
             SDIRAs and Cash Accounts to Purchase Precious Metals.
  13
             33.    Defendants targeted a vulnerable population of mostly elderly or
  14
       retirement-aged persons. Many of these individuals had little experience investing in
  15
       Precious Metals. Nonetheless, Defendants fraudulently solicited them to open
  16
       SDIRAs or Cash Accounts in order to purchase Precious Metals.
  17
             34.    Defendants instructed their sales representatives or other agents to
  18
       concentrate their fraudulent solicitations on elderly or retirement-aged persons in
  19
       order to gain access to their retirement savings, including but not limited to, money
  20
       market accounts and retirement savings held in tax advantaged accounts such as:
  21
       Individual Retirement Accounts; employer sponsored 401(k) and 457(b) plans; Thrift
  22
       Savings Plans; annuities; and other long-term retirement savings vehicles (“Qualified
  23
       Retirement Savings”).
  24
             35.    As part of the scheme to gain access to customers’ retirement accounts
  25
       and other savings, Defendants published misinformation on Safeguard Metals’
  26
       website in 2019 and 2020. Defendants made numerous false and misleading
  27
       statements of material fact, omitted material facts necessary to make the statements
  28
                                              - 12 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 13 of 132 Page ID #:428




   1 made not untrue or misleading, or made statements in reckless disregard about the

   2 firm’s business activities on their website, including, but not limited to, the following:

   3               a.     Safeguard Metals is rated number one among wealth protection
                          firms (with no basis for this assertion);
   4
                   b.     Safeguard Metals oversees more than $11 billion in assets under
   5                      its management (when, in reality, the firm has sold substantially
                          less than $75 million in Precious Metals and Silver Coins since it
   6                      has been in business);
   7               c.     Safeguard Metals has been in business for more than twenty years
                          (when, in truth, the startup formed in 2017, but did not appear to
   8                      have significant operations until 2019);
   9               d.     the number and location of Safeguard Metals’ offices, including
                          office locations in London, England and Beverly Hills, California
  10                      (when in actuality, the firm only has offices in Woodland Hills,
                          California); and
  11
                   e.     the use of false and fictitious employee names, touting non-
  12                      existent employees on LinkedIn, misrepresenting employee job
                          titles, and exaggerating employee qualifications and years of
  13                      industry experience.
  14        36.    Defendants admitted the foregoing statements and blatant website
  15 misrepresentations are false.

  16        37.    Based on information and belief, Defendants removed the foregoing
  17 statements and blatant website misrepresentations in or about January 2021 after

  18 becoming informed of a law enforcement investigation, and began to rely on other

  19 more nuanced misrepresentations, half-truths and omissions as part their solicitation

  20 scheme, as discussed further below.

  21        38.    Safeguard Metals utilized fraudulent solicitations designed to build trust
  22 with customers based on representations of political affinity, and through references

  23 to and statements from financial gurus.

  24        39.    In furtherance of the scheme, Santulan personally solicited customers,
  25 misrepresenting that Safeguard Metals was “the #1 name in precious metals and lead

  26 the industry as the fastest growing house, offering the cheapest and purest bullion in

  27 the country for the benefit of our clients and we hold all proper and full accreditation

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                                             - 13 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 14 of 132 Page ID #:429




   1 from the state, federal government, and distributors alike,” with no basis for these

   2 material misstatements, half-truths or omissions, and in reckless disregard for the

   3 truth. Santulan also created sales scripts that were used to solicit customers.

   4        40.    Defendants instructed its sales representatives or other agents to employ
   5 fraudulent solicitations designed to instill fear in elderly and retirement aged

   6 investors and other customers. To frighten those customers about the risk and safety

   7 of their investments in Qualified Retirement Savings and traditional accounts,

   8 Safeguard Metals made repeated material misrepresentations, half-truths, and
   9 omissions regarding the Money Market Fund Reform regulation promulgated by the

  10 Securities and Exchange Commission, Money Market Fund Reform Amendments to

  11 Form PF, 70 Fed. Reg. 47,736 (Aug. 14, 2014), and more recently, the Orderly

  12 Liquidation Authority promulgated pursuant to Dodd Frank, 12 U.S.C. §§ 5381-5394.

  13 Safeguard Metals played on the customers’ fears and materially misrepresented these

  14 provisions, omitting to disclose which asset classes the Money Market Fund Reform

  15 applies to, and making false and misleading statements about each law’s or

  16 regulation’s effects, and the extent to which these and other investor protections

  17 applied. For example, during fraudulent solicitations over the telephone, via email

  18 and in its sales scripts, Safeguard Metals and/or Santulan made the following

  19 misrepresentations:

  20               a.     financial institutions can “freeze you out of your retirement
                          accounts if there was ever a market crash or correction again,” and
  21
                          either “confiscate” or freeze all of the holdings in your retirement
  22                      or investment accounts, particularly during either a liquidity or
                          financial crisis. “Banks then will use people’s money to bail
  23
                          themselves out.”;
  24
                   b.     an investor is “just a beneficial owner” and “leases” securities and
  25
                          funds held in Qualified Retirement Savings, and further, the
  26                      government “owns” the certificates on securities and funds held in
                          these accounts; and
  27

  28
                                             - 14 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 15 of 132 Page ID #:430




   1
                    c.    “you’re pretty much in these [Qualified Retirement Savings]
                          accounts with no types of insurance,” but “the good news is that
   2                      there are loopholes within the law to help protect . . . from it”
   3                      through safe and conservative investments in Precious Metals
                          purchased through SDIRAs.
   4

   5        41.     Defendants misrepresented that the Money Market Fund Reform and/or

   6 the Orderly Liquidation Authority regulations apply to stocks and certain bonds held

   7 in Qualified Retirement Savings. They do not.

   8        42.     Safeguard Metals misrepresented that the government, not the investor,

   9 owns the certificates on securities and funds held in a Qualified Retirement Savings

  10 account. This is false. The beneficial owner is the true owner of an asset or security

  11 that is under a different legal name and the government does not own the certificates

  12 on securities and funds held in these accounts.

  13        43.     Safeguard Metals misrepresented that Qualified Retirement Savings are

  14 uninsured. In reality, investor protections and insurance are offered through the

  15 Federal Deposit Insurance Corporation and the Securities Investor Protection

  16 Corporation.

  17        44.     In 2021, Safeguard Metals misrepresented to customers that a change to

  18 Rule 22e-3 under the Money Market Fund Reform permits financial institutions to

  19 permanently freeze the liquidity in accounts, confiscate funds and will never pay

  20 participants back if the market fails. Furthermore, Safeguard Metals has maintained

  21 the goal of investment firms is “to stop you from being able to redeem your shares, or

  22 redeem the funds that you have in your retirement and stock accounts, by any means

  23 necessary.”

  24        45.     These and similar misrepresentations made by Safeguard Metals and/or

  25 Santulan are false and misleading because Defendants failed to disclose to customers

  26 the narrow circumstances in which a money market fund can be permanently

  27 suspended, and furthermore, that liquidation follows when redemptions are

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                                             - 15 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 16 of 132 Page ID #:431




   1 permanently suspended, thereby returning money to shareholders and allowing

   2 investors to recover funds.

   3         46.    Defendants knew, or were reckless in not knowing, that their
   4 communications with customers contained material misstatements, half-truths, and

   5 omissions described above.

   6 C.      Safeguard Metals Charged Exorbitant Price Markups on Silver Coins
             That Bore No Relation to the Ranges Represented to Customers.
   7
             47.    After the SDIRAs and Cash Accounts were opened under false and
   8
       fraudulent pretenses, Defendants executed their core strategy of selling customers
   9
       overpriced Silver Coins with enormous price markups, which Defendants referred to
  10
       as “operating margins” when they communicated about the price markups with
  11
       customers. Safeguard Metals grossly misrepresented the “operating margins” that
  12
       they would charge customers in Precious Metals Shipping and Account Agreements
  13
       (“Customer Agreements”) and representations made during sales confirmation calls.
  14
             48.    The Customer Agreements purported to establish the terms and
  15
       conditions regarding sales of Precious Metals by Defendants to their customers.
  16
       During the Relevant Period, Safeguard Metals used at least two versions of the
  17
       Customer Agreements – one version prior to January 2021, and a revised version
  18
       following purported attempts to implement compliance measures at Safeguard
  19
       Metals. Based on information and belief, Safeguard Metals purportedly implemented
  20
       those compliance measures beginning in or around January 2021 after receiving
  21
       notice of an investigation by law enforcement.
  22
             49.    Prior to January 2021, Safeguard Metals’ Customer Agreements
  23
       represented, in pertinent part, the following relating to Safeguard Metals’ “operating
  24
       margins” on Precious Metals:
  25
                    a.    “The operating margin is the difference between Safeguard’s
  26
                          approximate acquiring cost of the Precious Metals and the price
  27                      the Client pays.”
  28
                                              - 16 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 17 of 132 Page ID #:432




   1
                   b.    “Safeguard’s operating margin quoted to the Client for most
                         common bullion products . . . is typically four percent (4%) for
   2                     cash, and seven percent (7%) for IRA purchases.”
   3
                   c.    “Operating margin on coins with semi-numismatic or numismatic
   4                     value are rare coins . . . is usually twenty percent (20%) and for
   5                     Proof products is twenty-three percent (23%).”

   6        50.    Despite these representations, Safeguard Metals actually sold Silver
   7 Coins to customers at average “operating margins” of 71%. This vastly exceeded the

   8 maximum “operating margin” of 23% disclosed in Safeguard Metals’ Customer
   9 Agreement. These overcharges were material misrepresentations and omissions.

  10 Further, Santulan admitted to establishing the price of these exorbitantly priced

  11 Precious Metals during Safeguard Metals’ initial period of operation.

  12        51.    During purported implementation of compliance measures in or about
  13 January 2021, Safeguard Metals revised its sales confirmation scripts, and its

  14 Customer Agreements to provide new representations about its “operating margins”

  15 for Precious Metals. While Safeguard Metals’ representations about its “operating

  16 margins” varied between the sales confirmation scripts and Customer Agreements,

  17 the actual “operating margins” charged by the firm still far exceeded either

  18 representation.

  19        52.    After January 2021, Safeguard Metals represented the following
  20 “operating margins” to customers during sales confirmation calls:

  21               SAFEGUARD METAL’S OPERATING MARGIN IS
                   USUALLY 1% - 23%[.] THIS MAY VARY AND
  22               EXCEED 40% BASED ON MARKET CONDITIONS.
  23        53.    After January 2021, Safeguard Metals’ Customer Agreements
  24 represented to customers the following relating to “operating margins”:

  25               Current operating margins on coins with semi-numismatic
                   or numismatic value . . . is usually 23% - 33%. . . . The
  26               actual operating margin on any particular transaction can be
                   any amount usually within, but also could be outside this
  27               range, but not exceeding 42%.
  28
                                             - 17 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 18 of 132 Page ID #:433




   1        54.    Following the purported implementation of compliance measures in
   2 January 2021, Safeguard Metals’ actual “operating margin” on Silver Coins routinely

   3 exceeded 40%, and averaged about 51%. Consequently, despite the inconsistent

   4 disclosures between sales confirmations and Customer Agreements, the “operating

   5 margin” on Silver Coins represented in sales confirmations rarely, if ever, fell within

   6 the “usual” and customary ranges disclosed to customers and averaged greater than

   7 the maximum “operating margin” represented in Customer Agreements. These

   8 overcharges were material misrepresentations and omissions.
   9        55.    Safeguard Metals also provided inconsistent and misleading disclosures
  10 to customers during the sales confirmation process. In at least one instance, an

  11 Opener falsely represented to at least one customer that the specified “operating

  12 margins” only applied to investments exceeding $1 million, and were therefore

  13 inapplicable to that customer’s transaction because his investment fell under the

  14 threshold. Later, in contrast, a Closer stated during the sales confirmation call that

  15 specified “operating margins” do in fact apply because the customer is an accredited

  16 investor, resulting in ambiguous and conflicting disclosures.

  17        56.    Safeguard Metals’ core strategy of selling fraudulently overpriced Silver
  18 Coins to customers was designed to maximize its profits through “operating margins”

  19 and commissions and resulted in substantial and nearly immediate customer losses.

  20 Silver Coin purchases were more than 97%, or $66 million of the $68 million in total

  21 revenue fraudulently solicited from customers, of the purchases by Safeguard Metals

  22 on behalf of its customers. The purchase of Silver Coins had significantly higher

  23 “operating margins” compared to gold coins.

  24        57.    Safeguard Metals knowingly or recklessly failed to inform customers of
  25 the material fact that the exorbitant “operating margins” charged on Silver Coins bore

  26 no relation to the figures represented in the Customer Agreements, or otherwise

  27 stated to customers. This had the effect of substantially and immediately depleting

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                                             - 18 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 19 of 132 Page ID #:434




   1 the values of investments held in customers’ SDIRAs and Cash Accounts.

   2 Nonetheless, Safeguard Metals continued to misrepresent to prospective and current

   3 SDIRA and Cash Account customers that Precious Metals were a safe and

   4 conservative investment.

   5 D.   Safeguard Metals Misrepresented to Customers How It Earned Profits
     and Lulled Customers by Making Misrepresentations About the Value of
   6
     Customers’ Precious Metals.
   7
             58.       As part of the scheme, Safeguard Metals misrepresented and omitted
   8
       material facts regarding how Safeguard Metals earned profits from Precious Metals
   9
       transactions.
  10
             59.       During telephone sales calls, Safeguard Metals repeatedly misstated that
  11
       its earnings arose solely from a 1% fee, and later in 2021, a 1% to 3% fee, that
  12
       applied only when customers liquidated investments in Precious Metals. During a
  13
       sales solicitation call with a prospective customer, a Safeguard Metals employee
  14
       stated, in pertinent part, that “We take 1 percent of what we liquidate . . . . It’s our
  15
       only way we make money,” leaving customers with the impression that Safeguard
  16
       Metals did not profit in other respects from their Precious Metals transactions.
  17
             60.       In reality, Safeguard Metals was paying its sales representatives
  18
       commissions that far exceeded 1% to 3%, including commissions upwards of 10%,
  19
       all while misinforming customers that a liquidation fee was the only fee charged.
  20
             61.       Also, as discussed above, Safeguard Metals also made money from
  21
       charging excessive premiums on Silver Coins. For instance, Safeguard Metals earned
  22
       an estimated 71% “operating margin” on Silver Coins during the 2019 to 2020
  23
       timeframe—about 48% more than the maximum permitted pursuant to the Customer
  24
       Agreement. In 2021, Safeguard Metals earned an estimated 51% “operating margin”
  25
       on Silver Coins, about 9% more than the maximum permitted pursuant to the revised
  26
       Customer Agreement.
  27

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                                              - 19 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 20 of 132 Page ID #:435




   1        62.    Safeguard Metals also falsely asserted “[i]f our clients are making
   2 money, that’s when we make money.” In fact, Safeguard Metals made money on

   3 Precious Metals notwithstanding whether its customers made money, and customers

   4 incurred additional transactional costs far greater than a 1% to 3% liquidation fee.

   5 Safeguard Metals failed to disclose the true and accurate transaction costs or provide

   6 accurate “operating margins” even when customers specifically inquired.

   7        63.    As part of the scheme to defraud, Safeguard Metals also deceived
   8 customers and concealed its fraud by hiding that customers significantly overpaid for
   9 their investments. Instead, Safeguard Metals made further misrepresentations about

  10 the value of the Precious Metals in customer accounts to placate and calm investors

  11 who were upset about the losses shown on their SDIRA statements.

  12        64.    Customers received account statements from their SDIRA custodians
  13 showing account values significantly below the values originally paid to Safeguard

  14 Metals. The account statements were significantly lower because the SDIRA

  15 custodians assigned asset values to the coins held based on the melt value of the coin,

  16 ignoring any purported numismatic or semi-numismatic value. When customers

  17 confronted Safeguard Metals’ sales representatives about the disparity between their

  18 original investment and the value assigned by SDIRA custodians, the sales

  19 representatives rejected lower valuations and misrepresented to customers that values

  20 did not accurately reflect the resale value of the Precious Metals and Silver Coins;

  21 instead, they misrepresented that the actual resale value of their investments were

  22 much higher than that reported by the SDIRA custodians. (“Post-Purchase

  23 Misrepresentations”).

  24        65.    Safeguard Metals, however, knew or recklessly disregarded that the
  25 resale price of the Silver Coins that it marketed and promoted was much lower than

  26 the amount customers paid for the Silver Coins.

  27

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                                             - 20 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 21 of 132 Page ID #:436




   1         66.   To further obfuscate customers’ true account values, Safeguard Metals
   2 also lulled customers by telling them to wait or give it at least six months, or in some

   3 instances, three to five years, to allow their SDIRA accounts to make money.

   4         67.   Due to the acts, omissions, and failures of Safeguard Metals, at least two
   5 SDIRA custodians terminated their business relationships with Safeguard Metals and

   6 no longer conduct business with the company.

   7         68.   In terminating its contract with Safeguard Metals, one custodian stated,
   8 in pertinent part, that:
   9
                   It has come to our attention that certain trades made in
  10               accounts represented by Safeguard Metals appear to not be
  11               in the best interest of the IRA owner as the values of the
                   accounts were significantly less after the trade activity than
  12               the values of the accounts prior to the trades.
  13
       E.    Santulan Controlled the Operations of Safeguard Metals and Is Therefore
  14         Liable for Its Actions.
  15         69.   During the Relevant Period, Santulan was the controlling person of
  16 Safeguard Metals and held 100% ownership of the company and held exclusive

  17 authority over the company’s business decisions.

  18         70.   Santulan was the sole member of the limited liability company, and no
  19 one else has ever served as a member. He executed the limited liability company

  20 registration using the title of “Principal.”

  21         71.   As the controlling person, Santulan initially handled all aspects of
  22 Safeguard Metals’ operations and made all significant business decisions. Santulan

  23 was responsible for the creation of Safeguard Metals’ website and had authority over

  24 it, and the website contained numerous false statements. Santulan initially hired and

  25 trained sales representatives, and was authorized to make personnel decisions

  26 regarding the hiring and firing of employees. Santulan initially provided training,

  27 created a sales script, and prepared email templates for sales representatives to use,

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                                              - 21 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 22 of 132 Page ID #:437




   1 and created the account agreement that Safeguard Metals entered into with customers

   2 that contained false information. Among other things, Santulan emailed sales

   3 representatives and instructed them to provide the false information to potential

   4 customers that big banks or brokerage firms can freeze retirement accounts in times

   5 of financial turmoil. Santulan determined and set the prices at which Safeguard

   6 Metals sold Precious Metals and Silver Coins to the public.

   7         72.      For the entirety of the Relevant Period, Santulan was the only signatory
   8 on Safeguard Metals’ bank accounts and served as the only person authorized to enter
   9 into financial transactions on behalf of the company.

  10         73.     Santulan did not act in good faith or has knowingly induced Safeguard
  11 Metals’ fraudulent acts.

  12 F.      Defendants Acted in the States as Unregistered Investment Advisers or
             Investment Adviser Representatives and Engaged in Fraud
  13
             74.     The Laws of the States govern the registration of Investment Advisers
  14
       (“IAs”) and Investment Adviser Representatives (“IARs”) (collectively, “IAs &
  15
       IARs”).
  16        75.      Collectively, the Laws of the States prohibit (1) fraud in connection with
  17
       investment advisory services; (2) fraud in connection with the offer, purchase, or sale
  18
       of securities; (3) fraud in connection with the offer, purchase, or sale of commodities;
  19
       and (4) financial exploitation of the elderly.
  20
                   a. Defendants Acted in the States as Unregistered Investment Advisers
  21                  or Investment Adviser Representatives
  22         76.     Defendants, either directly or by and through their sales representatives
  23 or other agents, offered and provided investment advice to investors for

  24 compensation.

  25         77.     Defendants, either directly or by and through their sales representatives
  26 or other agents, acted as IAs & IARs, because Defendants, for compensation,

  27 engaged in the business of advising another, either directly or through publications or

  28
                                              - 22 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 23 of 132 Page ID #:438




   1 writings, as to the value of securities or as to the advisability of investing in,

   2 purchasing, or selling securities, including, but not limited to:

   3               a.     Safeguard Metals held itself out as a full-service investment firm,
   4                      claimed that it was rated number one among wealth protection
   5                      firms, touted alleged relationships with securities industry
   6                      professionals, and claimed years of industry experience;
   7               b.     Defendants, either directly or by and through their sales
   8                      representatives or other agents, solicited investors and provided
   9                      investment advice to investors with respect to the value of
  10                      securities or to the advisability of selling currently held securities,
  11                      and encouraged investors to liquidate their Qualified Retirement
  12                      Savings and existing securities holdings;
  13               c.     Defendants, either directly or by and through their sales
  14                      representatives sent victims emails highlighting articles that would
  15                      induce fear in the investors about securities held in preexisting
  16                      Qualified Retirement Savings;
  17                d.    Safeguard Metals, either directly or by and through their sales
  18                      representatives or other agents, aided investors in setting up
  19                      SDIRAs, including but not limited to, providing assistance with
  20                      SDIRA applications and facilitating contact with the custodians of
  21                      their Qualified Retirement Savings to initiate the liquidation and
  22                      transfer of funds to the SDIRA;
  23               e.     Defendants, either directly or by and through their sales
  24                      representatives or other agents, advised about market trends,
  25                      specifically emphasizing the volatility of the stock market and
  26                      suggesting that the stock market could crash;
  27

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                                             - 23 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 24 of 132 Page ID #:439




   1              f.     Defendants, either directly or by and through their sales
   2                     representatives or other agents, advised about advantages of
   3                     investing in securities versus other types of investments,
   4                     specifically advising that precious metals would be a better or
   5                     safer investment vehicle than Qualified Retirement Savings;
   6              g.     Defendants, either directly or by and through their sales
   7                     representative or other agents, provided advice about asset
   8                     allocation, including advising investors that up to 20% of their
   9                     assets should be in physical precious metals;
  10              h.     Defendants, either directly or by and through their sales
  11                     representative or other agents, provided further advice about asset
  12                     allocation, and selected the type of metals on behalf of the
  13                     investors, primarily the 1.25 oz Silver Rose Crown Guinea, which
  14                     constituted over 97% of the total coins sold to investors;
  15              i.     Santulan was a controlling person of Safeguard Metals during the
  16                     Relevant Period, owned 100% of the company, and was the sole
  17                     member and Principal of the limited liability company. Prior to
  18                     October 2020, Santulan created sales scripts and email templates
  19                     and distributed customer leads and provided training to sales
  20                     representatives at Safeguard Metals, and set the prices at which
  21                     Safeguard Metals sold Precious Metals and Silver Coins to the
  22                     public.
  23        78.   Defendants, either directly or by and through their sales representatives
  24 or other agents, received compensation from investors in the form of substantial

  25 markups on the coins that were sold. For example, for the 1.25 oz Silver Rose Crown

  26 Guinea which constituted over 97% of the total coins sold to investors, Safeguard

  27 Metals charged an average markup of 71% prior to 2021, and 52% during 2021.

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                                             - 24 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 25 of 132 Page ID #:440




   1 During the Relevant Period, Safeguard Metals obtained approximately $67 million

   2 from the sale of gold and silver coins to more than 450 mostly elderly, retail

   3 investors. Safeguard Metals kept approximately $25.5 million of the approximately

   4 $67 million paid by investors for itself in the form of markups on the price Safeguard

   5 Metals paid for the coins. Santulan personally received compensation in the form of

   6 markups charged on the Precious Metals sold to customers.

   7        79.      By way of example, Defendants, either directly or by and through their
   8 sales representatives or other agents, provided investment advice to the following
   9 investors:

  10
                  a. Alabama Investor #1, aged 61, was contacted by a Safeguard Metals
                     sales representative and pressured to liquidate her and her husband’s
  11                 IRA accounts, which contained securities. The investor was told that the
  12                 government could seize her securities at any time and that the stock
                     market was about to crash. Alabama Investor #1 made 2 purchases with
  13                 Safeguard Metals in April of 2020. Another purchase was made in the
  14                 name of her husband in May of 2020. The purchases were placed into
                     SDIRAs that a Safeguard Metals sales representative helped her set up,
  15                 including being on a three-way call with the investor and her brokerage
  16                 firm. The Alabama Investor #1 was also told that her purchases would
                     be insured and was never told about the high-risk nature of precious
  17                 metals investments. At no time was the investor given the opportunity to
  18                 choose which metals she was buying or the diversification of the metals
                     she bought. At no time was she told that Safeguard Metals was
  19                 collecting a 55% mark-up on the silver coins she bought. Alabama
  20                 Investor #1 was unaware of the mark-up until an investigator from the
                     Alabama Securities Commission met with her in August, 2021.
  21

  22              b. Alabama Investor #2, aged 65, wanted to purchase both silver and gold
                     in equal amounts. To do so, he liquidated a Thrift Savings Plan that held
  23                 securities into cash, $89,997.96. Despite his stated desire to split his
  24                 investment equally between gold and silver, Safeguard Metals sold
                     Alabama Investor #2 two thousand twenty-eight (2,028) 1 ¼ ounce
  25                 Silver Rose Crown Guineas for $87,467.64 and twelve (12) 1/10 ounce
  26                 Gold American Eagles for $2,530.32. The melt price for silver on the
                     date of the sale, April 13, 2020, was $27.47 per ounce. The melt price
  27                 for gold on the same date was $1,717.72 per ounce. Thus, Alabama
  28
                                             - 25 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 26 of 132 Page ID #:441




   1
                  Investor #2 incurred a 54% loss upon the purchase of the Silver Guineas.
                  This loss was not disclosed to him at any time.
   2

   3           c. Arkansas Investor #1 (“AR1”) was a retiree and senior citizen that had
                  approximately $1,000,000.00 in bonds in his IRA accounts. A sales
   4              representative from Safeguard Metals stated that precious metals were a
   5              safe way to preserve and grow his wealth. He was advised by the sales
                  representative that the stock market was in for a major correction and
   6              was overvalued. The sales representative also told AR1 how the Federal
   7              Reserve was devaluing the dollar by excessive printing and how the rise
                  of inflation was going to make precious metals more valuable. AR1 was
   8              advised to invest his entire retirement portfolio in silver numismatic
   9              coins. The sales representative told AR1 that the purchase price would
                  be market value for the coins, and the only commission charged would
  10              be about 5% at the time of liquidation. AR1 from October 2019 through
  11              August 2020 liquidated all his retirement accounts around $1,000,000 in
                  bonds, and purchased precious metals.
  12
               d. Arkansas Investor #2 (“AR2”) was age 66 at the time of the transactions
  13
                  and was semi-retired. She was contacted by a sales representative for
  14              Safeguard Metals and liquidated her only retirement account to buy
                  silver numismatic coins. AR2 was told that those coins were increasing
  15
                  in value and that they would be a good investment. The sales
  16              representative never disclosed to AR2 the manner or amount of
                  compensation the representative or Safeguard Metals would receive on
  17
                  the transaction AR2 liquidated her entire retirement account and invested
  18              it into precious metals the sales representative recommended.
  19           e. California Investor #1 was advised by his sales representative that
  20              precious metals were a more stable investment that would hold its value,
                  as opposed to securities held in traditional retirement accounts as the
  21              value of the dollar was declining. California Investor #1 had little
  22              experience in investing in metals and coins, and the sales associate
                  assisted in liquidating approximately $111,000 from his traditional IRA,
  23              invested in securities, to roll over to a SDIRA account to purchase
  24              metals. California Investor #1 asked the sales representative to select the
                  metals for best value, and the sales associate purchased a little under
  25              $100,000 in 1.25 oz. Silver Rose Crown Guineas on his behalf.
  26
               f. California Investor #2 was advised by a sales representative that she
  27              could be frozen out of her traditional IRA account that was invested in
  28
                                             - 26 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 27 of 132 Page ID #:442




   1
                  securities, emphasized the volatility of the stock market, and advised her
                  that 25 to 50 percent of the money held in her traditional IRA account
   2              should be put into precious metals instead. Although California Investor
   3              #2 was primarily interested in purchasing gold, her sales representative
                  advised her that the market was better for silver, and convinced her to
   4              purchase primarily Silver Coins.
   5
               g. Connecticut Investor #1 was 71 years old and retired when he purchased
   6              precious metals from Safeguard Metals. A Safeguard Metals sales
   7              representative advised him that precious metals are stable unlike the
                  investments he had in his Qualified Retirement Savings account and that
   8              the stock market was about to crash. The sales representative also told
   9              him his Qualified Retirement Savings account was uninsured and that he
                  could get frozen out of it if there was a market crash. The sales
  10              representative advised him to sell everything in the account and buy
  11              precious metals. Connecticut Investor #1 had no prior experience or
                  knowledge in investments. The sales representative assisted him with
  12              selling approximately $114,000 worth of investments from his Qualified
  13              Retirement Savings account which included securities, setting up a
                  SDIRA, and then purchasing precious metals from Safeguard Metals
  14              with these funds. The sales representative never told him anything about
  15              fees or costs associated with this transaction, and although Connecticut
                  Investor #1 asked for only gold, the sales representative invested almost
  16              all of the funds in Silver Rose Crown Guinea coins and told him after the
  17              fact this was a better investment for him.
  18           h. Connecticut Investor #2 was 62 years old and planning for retirement
  19              when she purchased precious metals from Safeguard Metals. A
                  Safeguard Metals sales representative told her the economy was going to
  20              crash and that she could lose everything in her Qualified Retirement
  21              Savings account. The sales representative advised her to liquidate the
                  account and invest in precious metals which are stable. Other Safeguard
  22              Metals sales representatives kept calling her and telling her to “hurry up”
  23              and “make a decision” because time was running out. Connecticut
                  Investor #2 had no prior experience or knowledge in investments. A
  24              Safeguard Metals sales representative assisted her with selling
  25              approximately $130,000 worth of investments from her Qualified
                  Retirement Savings account which included securities, setting up a
  26              SDIRA, and then purchasing precious metals with these funds from
  27              Safeguard Metals. The sales representative never told her anything
                  about fees or costs associated with this transaction, and although
  28
                                             - 27 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 28 of 132 Page ID #:443




   1
                  Connecticut Investor #2 asked for only gold, the sales representative
                  invested almost all of the funds in Silver Rose Crown Guinea coins.
   2

   3           i. Florida Investor #1 was over 65 years old when she purchased precious
                  metals from Safeguard Metals. She told the sales representative that she
   4              needed more income because of her age. The sales representative
   5              assisted her in selling securities she owned to obtain the money she used
                  to purchase precious metals. The sales representative facilitated or
   6              assisted Florida Investor #1 in opening a SDIRA and moving money into
   7              the SDIRA which she then used to purchase precious metals. Florida
                  Investor #1 relied on the sales representative’s advice when she
   8              purchased precious metals.
   9
               j. Florida Investor #2 was over 65 years old when she purchased precious
  10              metals from Safeguard Metals. She told her sales representative that she
                  did not want to lose any value in her investment. The sales
  11
                  representative gave her a chart that showed that metals had outperformed
  12              the “S&P”. The sales representative told her that precious metals were
                  secure and low risk. He also said that she would get a high return on
  13
                  metals because “the market” would crash. With the assistance of her
  14              sales representative, Florida Investor #2 sold securities she owned to
                  obtain the money she used to purchase precious metals. The sales
  15
                  representative also facilitated or assisted Florida Investor #2 in opening a
  16              SDIRA which she then used to purchase precious metals. Florida
                  Investor #2 relied on the sales representative’s advice when she
  17
                  purchased precious metals.
  18
               k. Florida Investor #3 was over 65 years old when she purchased precious
  19              metals from Safeguard Metals. The sales representative told her that
  20              precious metals were better and safer than stocks and leaving her money
                  in a 401(k) plan. He also told her that she would make plenty of money
  21              through the purchase of precious metals. The sales representative
  22              facilitated or assisted Florida Investor #3 in selling the securities she
                  owned to obtain the money to purchase precious metals. He also
  23              facilitated or assisted her in opening a SDIRA which she used to
  24              purchase precious metals. Florida Investor #3 relied on the sales
                  representative’s advice when she purchased precious metals.
  25

  26
               l. Idaho Investor #1, age 62, was advised by a Safeguard Metals sales
                  representative that the Biden presidency was giving money away and
  27              that the dollar would soon be worthless. The Safeguard Metals
  28
                  representative also stated that her 401(k) retirement funds actually
                                             - 28 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 29 of 132 Page ID #:444




   1
                  belonged to her former employer, an airline company, and could be
                  taken, like the way that Delta took their pilots’ pensions years ago. The
   2              Safeguard Metals representative recommended that she put most of
   3              retirement funds into silver and a little bit of gold. Based on the advice
                  of the Safeguard Metals representative, Idaho Investor #1 liquidated her
   4              entire 401(k) account totaling more than $592,000 to purchase precious
   5              metals from Safeguard Metals. Safeguard Metals charged Idaho
                  Investor #1 $567,273.57 for 9,953 1.25 oz. Silver Rose Crown Guinea
   6              coins and 52 1/10 oz Gold American Eagle coins. However, these coins
   7              were transferred the same day to the investor’s Equity Trust account at a
                  value of only $326,402.83. This represents a markup of $241,385.75 or
   8              74%.
   9
               m. Illinois Investor #1 is a senior citizen and had a traditional IRA with
  10              Fidelity. The sales representative at Safeguard Metals advised Investor
                  #1 to invest in gold and silver coins because they were more stable than
  11
                  the stock market. Investor #1 is not an accredited investor and did not
  12              have a working knowledge of or experience concerning securities,
                  precious metal bullion, or numismatic coins, investments prior to
  13
                  investing through Safeguard Metals. The sales representative also
  14              recommended investing in Safeguard Metals over Fidelity because it had
                  a higher BBB rating and that Investor #1 would have more control over
  15
                  his investment. Investor #1 wired $105,000 from his Fidelity IRA
  16              account to his Entrust SDIRA in May of 2021. The sales representative
                  did not inform Investor #1 of any fees or mark-ups associated with
  17
                  investing in precious metals and coins. Safeguard Metals charged
  18              Investor #1 $99,540.81 for 2,181 1.25 oz. Silver Rose Crown Guineas.
                  However, these 2,181 silver coins were transferred the same day to the
  19
                  investor’s Entrust account at a value of only $57,578.40. This
  20              represents a markup of $41,962.41 or 73%.
  21
               n. Illinois Investor #2 is a senior citizen and had a 401(k) with Sentry which
  22              included mutual funds. Investor #2 is not an accredited investor. The
  23              sales representative recommended that Investor #2 invest in metals to
                  Safeguard Metals against large swings in the market. The sales
  24              representative recommended that Investor #2 open up a SDIRA account
  25              with Equity Trust. In April of 2021, Investor #2 transferred $64,000 to
                  Equity Trust. The value of his 401(k) account was approximately $80,000
  26
                  at the time of the transfer. Based on the recommendation of the sales
  27              representative, Investor #2 purchased 1,015 Silver Coins. Safeguard
  28              Metals charged Investor #2 $59,976.35 for 1,015 1.25 oz. Silver Rose
                                             - 29 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 30 of 132 Page ID #:445




   1
                  Crown Guineas. However, these 1,015 Silver Coins were transferred the
                  same day to the investor’s Entrust account at a value of only $38,235.05.
   2              This represents a markup of $21,741.30 or 57%.
   3
               o. Kentucky Investor #1 is a 63-year-old Kentucky resident. On or around
   4              May 2020, Kentucky Investor #1 watched a cable news talk show
   5
                  discussing alternative investments. The commentator insinuated that the
                  stock market was going to crash and advertised for Safeguard Metals.
   6              Kentucky Investor #1 filled out a form on the Safeguard Metals website
   7
                  and soon received a call from an account executive at Safeguard Metals.
                  The account executive told Kentucky Investor #1 that investing in
   8              precious metals was better than investing in the stock market. Kentucky
   9              Investor #1 told the account executive that he had a 401(k) at Edward
                  Jones and a Thrift Savings Plan. The account executive told Kentucky
  10              Investor #1 that precious metals were a much safer investment and
  11              advised him to roll over the money he had in stocks into a SDIRA
                  invested in precious metals. Based on the advice of Safeguard Metals,
  12              Kentucky Investor #1 decided to purchase $50,148.88 in metals and, on
  13              May 1, 2020, rolled over his stock account with Edward Jones to a
                  SDIRA account at Equity Trust. Safeguard Metals failed to disclose
  14              how the precious metals were valued and how the valuations could differ
  15              significantly. In January 2022, Kentucky Investor #1’s metals, which he
                  believed to be worth approximately $50,000, were only valued at the
  16              melt value of $18,000.
  17
               p. Kentucky Investor #2 is a 67-year-old Kentucky resident, who on
  18              December 2019 was listening to a radio financial program and heard an
  19              advertisement for Safeguard Metals. Kentucky Investor #2 called the
                  number for Safeguard Metals and spoke to a sales representative with
  20              Safeguard Metals. Kentucky Investor #2 told the sales representative
  21              that she was concerned about the safety of her 401(k) and wanted a
                  short-term investment with a good return because she and her husband
  22              would need to buy a new home in the next few years. The sales
  23              representative told Kentucky Investor #2 that she would make six times
                  what she currently had by investing in precious metals, and that she
  24              would not make any money under her current 401(k) and that Safeguard
  25              Metals would buy back her metals if she ever needed the money.
                  Kentucky Investor #2 invested as the sales representative advised. The
  26              sales representative informed Kentucky Investor #2 that he was opening
  27              a SDIRA for her invested in precious metals, and initiated a three-way
                  call with Fidelity, where Kentucky Investor #2’s 401(k) was located, and
  28
                                             - 30 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 31 of 132 Page ID #:446




   1
                  assisted with the rollover of the 401(k) to Equity Trust. On December
                  23, 2019, Kentucky Investor #2 invested $26,604.21 into a SDIRA
   2              backed by precious metals through Safeguard Metals. Safeguard Metals
   3              did not disclose to Kentucky Investor #2 how precious metals were
                  valued and how the valuations could differ significantly. In June 2019,
   4              she discovered that the metals she purchased after liquidating the
   5              $26,604.21 from her 401(k) were only worth the melt value of
                  $19,614.78.
   6
               q. Maryland Investor #1 was advised by a sales representative claiming
   7
                  extensive experience dealing with precious metals that the investor’s
   8              money would be safer in precious metals than the stock market; in fact,
                  that the crash of the market was inevitable because the economy is being
   9
                  flooded with printed money. Though Maryland Investor #1 was not
  10              interested in coins, he was told that he could only purchase coins and
                  was recommended the 1.25 oz. Silver Rose Crown Guineas as the sales
  11
                  representative advised the coins were limited edition and would
  12              appreciate in value quickly. Maryland Investor #1 subsequently decided
                  to liquidate securities and transfer his entire IRA – roughly $240,000 –
  13
                  to invest with Safeguard Metals. These funds represented the entirety of
  14              his anticipated retirement savings.
  15
               r. Mississippi Investor #1 was advised by a Safeguard Metals sales
  16              representative to purchase metals immediately as prices were going up
                  and the securities market was unstable and about to “blow up.” The
  17
                  Safeguard Metals representative told Mississippi Investor #1 that if the
  18              economy collapse, the government could come in and take over the
                  banks and credits unions Defendants advised Mississippi Investor #1 to
  19
                  get out of the market completely and move all his money to precious
  20              metals. The representative called every day. With Safeguard Metals
                  facilitating, Mississippi Investor #1 rolled 401(k)s and Roth IRAs, all of
  21
                  which contained securities, valued at approximately $737,000 to a
  22              SDIRA at Equity Trust. Mississippi Investor #1 was never informed of
  23
                  any risks of liquidating his securities accounts, was never told of any
                  spread or markup, or informed that precious metals were a long-term
  24              investment. The first account statement showed the precious metals
  25
                  valued at less than half his original investment.

  26           s. Mississippi Investor #2 was contacted by a representative at Safeguard
                  Metals who stated that Mississippi Investor #2 had requested a call from
  27              Safeguard Metals (she had not). The representative stated that the
  28
                                             - 31 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 32 of 132 Page ID #:447




   1
                  market was about to crash again, sending articles to her about a pending
                  market crash. The representative told Mississippi Investor #2 that
   2              precious metals would always be safe and the representative did not
   3              want to see her lose her “life savings if [she] left it where it was.” The
                  representative called multiple times a day. With Safeguard Metals
   4              facilitating, Mississippi Investor #2 liquidated the securities in her
   5              401(k), approximately $29,500, and moved her money to a SDIRA at
                  Equity Trust Company. Mississippi Investor #2 was not told of any fees,
   6              spread, markup, or commissions. Account statements showed the
   7              precious metals valued at $17,500.

   8           t. Mississippi Investor #3 communicated with Safeguard Metals almost
                  every day, sometimes multiple times a day. The representative told
   9
                  Mississippi Investor #3 that the stock market was going to crash and it
  10              was the time to invest in gold and silver as they were about to go up.
                  The representative stated that Safeguard Metals would double the
  11
                  investment in 12 months. Mississippi Investor #3 was advised to invest
  12              in silver because it had the best return. With Safeguard Metals
                  facilitating, Mississippi Investor #3 rolled his 401(k), with
  13
                  approximately $152,000 in the account, to a SDIRA at Equity Trust.
  14              Account statements showed the precious metals valued at approximately
                  $97,000.
  15

  16           u. Missouri Resident #1 (“MR1”), at the age of 61 and while disabled
                  following a stroke, was contacted by a Safeguard Metals sales
  17              representative that identified himself as Michael Roeder (“Roeder”) and
  18              advised that she should liquidate 100% of her retirement savings of an
                  IRA she had inherited held at Fidelity with the promise that her $85,000
  19              would grow to $100,000 in a very short period of time. Roeder also
  20              made disparaging comments that Fidelity was “shady” to further induce
                  MR1’s investment through Safeguard Metals. Roeder convinced MR1
  21              that metals investments offered by Safeguard Metals were easier to
  22              protect from government confiscation and based his arguments on pro-
                  Republican platform statements. Roeder facilitated the transfer of the
  23              funds from Fidelity Investments to Equity Trust and instructed MR1 to
  24              remain silent during the call initiating the liquidation and transfer from
                  Fidelity to Equity. Despite investing $85,179.69 in 9 Gold American
  25              Eagles and 1,241 Silver Rose Crown Guineas, MR1 lost $15,882.88
  26              when she sold 598 Silver Rose Crown Guineas and has a current
                  estimated value of only $20,000 in the remaining precious metals she
  27              purchased through Safeguard Metals.
  28
                                             - 32 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 33 of 132 Page ID #:448




   1
               v. Missouri Resident #2 (“MR2”), at the age of 64, received a cold call
   2              from someone at Safeguard Metals identifying themselves as Lyn Chase
   3              (“Chase”) and convinced MR2 to liquidate and invest nearly $50,000 in
                  precious metals while aware that said amount constituted the entirety of
   4              MR2’s retirement savings. Chase assisted MR2 with the transfer from
   5              her Thrift Savings Plan to a SDIRA at Equity. Despite investing
                  $46,169.67 in 3 American Gold Eagles and 760 Silver Rose Crown
   6              guineas, MR2 lost $17,742.34 after selling all the coins.
   7
               w. Missouri Resident #3 (“MR3”), at the age of 72, received a call from
   8              Roeder after she left her contact information over the phone after she
   9              heard a radio announcement about Safeguard Metals during a Rush
                  Limbaugh show in February, 2021. Roeder used high pressure sales
  10              tactics according to MR3 and fear tactics related to claims of
  11              government freezes and seizures. Knowing that MR3 only had $74,800
                  representing the entirety of MR3’s retirement assets, Roeder convinced
  12              MR3 to invest in precious metals through Safeguard Metals and sent
  13              MR3 the paperwork necessary to effectuate the liquidation of MR3’s
                  401(k) and opening of a SDIRA at Equity. Despite investing $76,691.73
  14              in 4 Gold American Eagles and 1,557 Silver Rose Crown Guinea coins,
  15              MR3 lost $1,671.88 when MR3 sold 98 Silver Rose Crown Guinea coins
                  and has a current estimated value of only $52,800 in remaining precious
  16              metals purchased through Safeguard Metals.
  17
               x. Fifteen other Missouri investors purchased precious metals through
  18              similar transactions with Safeguard Metals for a total amount of
  19              $1,682,463.62. At least half of the Missouri investors liquidated or sold
                  securities in order to make the purchases recommended by Safeguard
  20              Metals. Given the high markup and commissions earned on the sales of
  21              the precious metals offered by Safeguard Metals, none of the 18
                  Missouri residents recorded a profit on their precious metals
  22              investments. Interviews conducted with the other fifteen Missouri
  23              investors confirmed that the same or similar tactics were used to induce
                  their investments in precious metals through Safeguard Metals.
  24

  25           y. New Mexico Investor #1 was never advised by his sales representative
                  of the risks of investing the entirety his 401(k)’s holdings into precious
  26              metals. New Mexico Investor #1 was never advised by his sales
  27              representative that his first SDIRA statement would indicate that New
                  Mexico Investor # 1’s initial $33,000 investment into precious metals
  28
                                             - 33 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 34 of 132 Page ID #:449




   1
                  would decrease in value with the sales representative’s only explanation
                  that this decrease was due to “melt value” with no further explanation.
   2              New Mexico Investor #1 was advised by his sales representative to
   3              invest the entirety of his 401(k)’s holdings into precious metals. New
                  Mexico Investor #1 was advised by his sales representative that Investor
   4              #1’s 401(k)’s holdings “were in trouble” and Investor #1 needed to
   5              transfer his 401(k)’s holdings into precious metals because gold holds its
                  power, gold holds its worth, gold will have gains and “the government is
   6              fixing to screw your 401(k).”
   7
               z. North Carolina Investor #1, age 69, was advised by a Safeguard Metals
   8              sales representative that 401(k) laws were changing and to not invest in
   9              securities via an IRA account, but instead to open an SDIRA, established
                  by Safeguard Metals and purchase gold and silver coins. The Safeguard
  10              Metals sales representative advised North Carolina Investor #1 that
  11              silver was going to double in value, the metals in her account would
                  increase in value and thus would cover future storage fees for her metals.
  12              A Safeguard Metals sales representative persuaded North Carolina
  13              Investor #1, who had no prior knowledge nor experience investing in
                  metals, to liquidate $65,966 from her IRA that held securities, and open
  14              an SDIRA. The Safeguard Metals sales representative, on the investor’s
  15              behalf, invested 99.5% of available funds in 1.25-oz Silver Rose Crown
                  Guinea coins.
  16
               aa. North Carolina Investor #2, aged 60, was advised by a Safeguard Metals
  17
                   sales representative that due to stock market fluctuation, silver was a
  18               better opportunity to increase her investment value over the purchase of
                   gold. North Carolina Investor #2 was interested in purchasing gold and
  19
                   silver, but had no prior knowledge or experience in precious metals or
  20               with a SDIRA. A Safeguard Metals sales representative called frequently
                   prior to the investment and advised the investment in precious metals
  21
                   would retain the value of the original investment. North Carolina
  22               Investor #2 was persuaded to liquidate $101,182 from her traditional
  23
                   IRA account which held securities; and purchase precious metals
                   through a SDIRA account established by Safeguard Metals on her
  24               behalf. A Safeguard Metals sales representative invested 97.6% of the
  25
                   investor’s available funds in 1.25 oz. Silver Rose Crown Guinea coins.

  26           bb. North Carolina Investor #3, aged 69, was advised by a Safeguard Metals
                   sales representative to liquidate his traditional IRA account because of a
  27               pending stock market crash in Spring 2021 and instead purchase
  28
                                             - 34 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 35 of 132 Page ID #:450




   1
                  precious metals, specifically silver, as a safe investment against a
                  declining stock market and government confiscation of IRAs. North
   2              Carolina Investor # 3 had no prior knowledge or experience in metals or
   3              with a SDIRA, but was persuaded by a Safeguard Metals sales
                  representative to liquidate $95,485 from his traditional IRA account
   4              which held securities; and purchase precious metals through a SDIRA
   5              account established by Safeguard Metals on his behalf. The Safeguard
                  Metals sales representative invested 98% of the investor’s available
   6              funds in 1.25-oz Silver Rose Crown Guinea coins.
   7
               cc. Ohio Investor #1, age 66, was cold-called by a Safeguard Metals sales
   8               representative and advised that his retirement accounts at Fidelity were
                   not safe and that he needed to move his retirement out of the stock
   9
                   market. Ohio Investor #1 told the Safeguard Metals sales representative
  10               that the Fidelity accounts were all the retirement that he had, and the
                   representative advised him to liquidate the whole account except for
  11
                   $4,000. The sales representative was on the phone with Fidelity and
  12               Ohio Investor #1 when the request to liquidate $111,000 was made. The
                   sales representative used high pressure tactics and independently chose
  13
                   the coins which were purchased, and continuously told the investor that
  14               he was “getting a good deal” and that he would “make a lot of money.”
                   The sales representative also assisted in setting up a SDIRA account
  15
                   with Equity Trust Company to maintain the investment in a tax-deferred
  16               account.
  17
               dd. Ohio Investor #2, age 63, was cold-called by Safeguard Metals sales
  18               representative who told him that the markets were going up and down
                   and that precious metals are expected to only go up. The sales
  19
                   representative advised Ohio Investor #2 to liquidate his IRA account in
  20               full and invest the whole amount, $250,000.00 and roughly two-thirds of
                   the investor’s entire net worth, into metals. The sales representative
  21
                   helped the investor set up a SDIRA account at Equity Trust and was also
  22               on a 3-way call with TD Ameritrade to liquidate the entire IRA account
  23
                   of Ohio Investor #2. Although the investment amount was $250,000.00,
                   the value on the initial statement from Equity Trust was less than
  24               $140,000.00. Upon inquiry by the investor, the sales representative
  25
                   advised the investor that “it takes time to balance out.”

  26           ee. Safeguard Metals advised Oklahoma Investor #1, age 67, that she should
  27
                   transfer her 401(k) assets into a precious-metals SDIRA because, in part,
                   the securities market was unstable and near collapse; that her assets
  28
                                             - 35 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 36 of 132 Page ID #:451




   1
                  would then be untouchable from the federal government’s alleged plan
                  to implement policies allowing a government takeover of 401(k) plans;
   2              that Safeguard Metals would ensure she would not be charged any fees
   3              by her SDIRA custodian; and that her assets would increase in value. In
                  actuality, the precious-metals SDIRA custodian valued Safeguard
   4              Metal’s recommended and executed purchases at 49% of Oklahoma
   5              Investor #1’s purchase price and she was, in fact, charged custodian fees
                  by the SDIRA custodian.
   6
               ff. South Carolina Investor #1 (“SC1”), at the age of 64, wanted to boost
   7
                   her savings by investing in precious metals. SC1’s experience regarding
   8               securities was limited to a guaranteed annuity and a 401(k) retirement
                   account. SC1 contacted Safeguard Metals after seeing an advertisement
   9
                   on a politically conservative television program and reviewing the
  10               Safeguard Metals website. Subsequently, SC1 had several telephone
                   conversations with Safeguard Metals sales representative “Alex Fisher”
  11
                   who talked with her about the conservative television program and their
  12               shared home state of New York. SC1 told the Safeguard Metals sales
                   representative that she needed additional income in order to help defer
  13
                   costs associated with her cancer treatment, and her husband’s
  14               Alzheimer’s disease treatments. The Safeguard Metals sales
                   representative advised SC1 to invest in gold and silver and promised (i)
  15
                   that SC1’s investments would reach $750,000 in value in five years; (ii)
  16               that there were IRS tax advantages to purchasing the precious metals;
                   and (iii) that gold and silver were “recession proof.” The Safeguard
  17
                   Metals sales representatives wanted her to “hurry up” and asked her
  18               rhetorically whether she wanted to have her money in “better
                   investments” or whether she wanted to be a “burden to [her] family” in
  19
                   her retirement. In November 2019, a Safeguard Metals sales
  20               representative assisted SC1 in (i) liquidating $208,000, approximately
                   $33,000 from a traditional IRA and $175,000 from a variable annuity;
  21
                   (ii) opening a SDIRA; and (iii) purchasing gold and silver coins.
  22               Safeguard Metals sales representatives never disclosed to SC1 the costs
  23
                   and fees associated with purchasing gold and silver through Safeguard
                   Metal. When SC1 received her first account statement from the SDIRA
  24               custodian, SC1 learned that almost 90% of her account was invested in
  25
                   1.25-oz Silver Rose Crown Guinea coins and that she had
                   instantaneously lost over $97,000 of her $208,000 investment.
  26

  27
               gg. South Carolina Investor #2 (SC2), at the age of 62, contacted Safeguard
                   Metals in the fall of 2019, after seeing an advertisement on a politically
  28
                                             - 36 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 37 of 132 Page ID #:452




   1
                  conservative television program. Safeguard Metals sales representative
                  “Alex Fisher” advised SC2 to act quickly to invest his retirement in gold
   2              and silver because of the uncertainty of the economy. The Safeguard
   3              Metals sales representative told SC2 that the value of gold was going to
                  “go way up.” When SC2 expressed concern about the SDIRA account,
   4              Safeguard Metals sales representative “Adam Pressley” assured SC2 that
   5              Safeguard Metals was “going to take care of you.” SC2 was promised
                  that he would only be “charged a 3% fee when there was a transaction,”
   6              and was not informed about other fees or commissions that might be
   7              charged. Despite SC2’s hesitance, Safeguard Metals continued its high-
                  pressure sales strategy, involving multiple calls with at least five
   8              different Safeguard Metals sales representatives. SC2 finally relented
   9              and liquidated his traditional IRA and rolled it into a SDIRA in order to
                  invest in Safeguard Metal’s gold and silver. A Safeguard Metals sales
  10              representative joined the telephone call when SC2 liquidated his
  11              traditional IRA and moved his retirement money into a SDIRA. SC2 and
                  the Safeguard Metals sales representatives discussed diversifying his
  12              money by investing in both gold and silver. However, Safeguard Metals
  13              invested 97% of his $261,342.72 in 1.25-oz Silver Rose Crown Guinea
                  coins. SC2 paid the alleged numismatic value of the coins. SC2’s first
  14              SDIRA account statement revealed that the value of his account was
  15              about $100,000 less than he invested. When he contacted Safeguard
                  Metals about the discrepancy, SC2 was told that the “real value of [his]
  16              account [was] $300,000” and that “the IRA custodian used metal values
  17              and not the actual value of the coin.” SC2 states that he would not have
                  invested with Safeguard Metals if he was informed that the fees and
  18              other casts purchasing the precious metals was higher than 3% or if he
  19              was informed that the value calculated in the SDIRA account was
                  different than the value Safeguard Metals assigned to the silver and gold
  20              coins.
  21
               hh. Vermont Investor #1, age 73, was contacted by a Safeguard Metals sales
  22               representative and advised that he and Vermont Investor #2 should
  23
                   liquidate their IRA accounts, both of which contained securities, and buy
                   precious metals, because the stock market was volatile and the metals
  24               market more stable, thus transferring their investment to precious metals
  25
                   would result in financial gain. The Safeguard Metals representative held
                   out Safeguard Metals as an investment adviser. Vermont Investors #1
  26               and #2 were persuaded to liquidate their entire IRA accounts to buy
  27
                   precious metals.

  28
                                             - 37 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 38 of 132 Page ID #:453




   1
                   ii. Utah Investor #1 was contacted by Safeguard Metals sales
                       representatives who told him that metals were a good hedge in the event
   2                   the dollar decreased, that metals were a great place to store assets away
   3                   from government overreach, that his silver would be held at Delaware
                       Depository, and that the only money made by Safeguard Metals was a
   4                   1% sales fee when the investor later sold his silver. The Safeguard
   5                   Metals sales representative assisted Utah Investor #1 in transferring his
                       thrift savings plan retirement account which contained $200,000 in
   6                   securities, to third-party administrator Equity Trust.
   7

   8         80.      Safeguard Metals has never been registered as an IA, nor have its agents

   9 or Santulan been registered as IARs, as required under state and/or federal law.

  10 Defendants never submitted a notice filing with the appropriate state regulator as an

  11 IA or IAR, nor are they exempt from state registration as an IA or IAR.

  12               b. As Investment Advisers or Investment Adviser Representatives,
                      Defendants Engaged in Fraud.
  13
             81.      Defendants, either directly or by and through their sales representatives
  14
       or other agents, in acting as IAs and IARs, have employed a device, scheme, or
  15
       artifice to defraud their clients and prospective clients, and/or have engaged in
  16
       transactions, practices, or courses of business operating as a fraud or deceit upon
  17
       those clients or prospective clients in providing investment advice to investors to
  18
       transfer their Qualified Retirement Savings, including divesting themselves of
  19
       securities, to purchase precious metals from Safeguard Metals, including making
  20
       material misrepresentations and material omissions which included, but were not
  21
       limited to, the following:
  22
                      a.    Misrepresenting that Safeguard Metals is a full-service investment
  23
                            firm, rated number one among wealth protection firms, has $11
  24
                            billion in assets under management, with offices in London,
  25
                            England, and Beverly Hills, California, and used false and
  26
                            fictitious employee names, touting non-existent employees on
  27
                            LinkedIn, misrepresenting employee job titles, and exaggerating
  28
                                              - 38 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 39 of 132 Page ID #:454




   1                    employee qualifications and years of industry experience—all are
   2                    false;
   3              b.    Misrepresenting the safety and liquidity of investors’ securities
   4                    holdings and Qualified Retirement Accounts and employing scare
   5                    tactics to induce investors to sell their existing securities holdings;
   6              c.    Misrepresenting to investors that the United States stock market is
   7                    headed for an economic recession or crash, that would result in
   8                    significant losses to existing Qualified Retirement Accounts;
   9              d.    Misrepresenting that investors’ Qualified Retirement Accounts
  10                    were at risk because financial institutions could freeze investors
  11                    out of their retirement accounts if a market crash or correction
  12                    were to occur, and that the financial institution could confiscate or
  13                    freeze all of the holdings in the retirement or investment
  14                    accounts—this is false;
  15              e.    Misrepresenting the effect of certain laws, such as stating that the
  16                    Money Market Fund Reform would allow the government to
  17                    freeze the liquidity in Qualified Retirement Accounts, confiscate
  18                    funds, and never pay participants back if the market fails;
  19              f.    Misrepresenting that the government, not the investor, owns the
  20                    certificates on securities and funds held in a Qualified Retirement
  21                    Savings account—it does not;
  22              g.    Misrepresenting that Qualified Retirement Savings are uninsured,
  23                    when in reality investor protections and insurance are offered
  24                    through the Federal Deposit Insurance Corporation and the
  25                    Securities Investor Protection Corporation;
  26              h.    Misrepresenting how Safeguard Metals and its sales
  27                    representatives and agents were compensated by misrepresenting
  28
                                             - 39 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 40 of 132 Page ID #:455




   1                      to investors that the only compensation received by Safeguard
   2                      Metals was by taking a small commission when customers sold
   3                      their coins, when in fact Safeguard Metals charged high markups
   4                      on the coins it sold to investors;
   5                i.    Failing to disclose the actual markup to investors—more
   6                      specifically, stating in Customer Agreements a maximum
   7                      “operating margin” of 23% prior to 2021, and more recently up to
   8                      42% during 2021, when in fact Safeguard Metals charged an
   9                      average markup of 71% prior to 2021, and 52% during 2021;
  10                j.    Misrepresented to certain investors that Safeguard Metals would
  11                      invest funds only in gold coins when in fact Safeguard Metals
  12                      invested most of the victims’ funds in Silver Rose Crown Guinea
  13                      coins, and then misrepresented to these victims that this was a
  14                      better investment for them than gold;
  15                k.    Misrepresenting and/or omitting that Safeguard Metals charged
  16                      fees and/or commissions at every stage of the investment process
  17                      when setting up the SDIRA, when purchasing gold and silver
  18                      coins, when processing the precious metals, and when selling
  19                      and/or liquidating the precious metals held in the SDIRA
  20                      accounts.
  21        82.     The facts, misrepresentations, and omissions as described in paragraphs
  22 79 and 81 are material because there is a substantial likelihood that a reasonable

  23 investor would consider them important in deciding whether to sell securities and/or

  24 invest in the coins sold by Safeguard Metals.

  25              c. The Fraud Defendants Engaged in Violates Additional States’ Laws
  26        83.     The foregoing conduct also violates state laws prohibiting: (1) any
  27 person from making material misrepresentations or omissions in connection with the

  28
                                             - 40 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 41 of 132 Page ID #:456




   1 offer, purchase, or sale of securities, (2) material misrepresentations or omissions in

   2 connection with the offer, purchase, or sale of commodities, and (3) financial

   3 exploitation of the elderly.

   4         84.   The conduct described in the above paragraphs also violates state law
   5 governing commodities fraud.

   6
             V. VIOLATIONS OF THE COMMODITY EXCHANGE ACT AND
   7                      COMMISSION REGULATIONS
   8
                                            COUNT 1
   9                                          Fraud
        Violations of Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1), and CFTC Regulation
  10
                       180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-(3) (2021)
  11
                                     (Brought by all Plaintiffs)
  12

  13
             85.   The allegations in the preceding paragraphs are realleged and

  14
       incorporated herein by reference.

  15
             86.   7 U.S.C. § 9(1) provides, in relevant part:

  16
                          It shall be unlawful for any person, directly or indirectly, to use or
                          employ, or attempt to use or employ, in connection with any swap,
  17                      or a contract of sale of any commodity in interstate commerce, or
  18
                          for future delivery on or subject to the rules of any registered
                          entity, any manipulative or deceptive device or contrivance, in
  19                      contravention of such rules and regulations as the commission
  20                      shall promulgate . . . .

  21         87.   17 C.F.R § 180.1(a) provides, in relevant part:
  22                      It shall be unlawful for any person, directly or indirectly, in
                          connection with any swap, or contract of sale of any commodity in
  23
                          interstate commerce, or contract for future delivery on or subject
  24                      to the rules of any registered entity, to intentionally or recklessly:
  25
                          (1) Use or employ, or attempt to use or employ, any manipulative
  26                          device, scheme, or artifice to defraud;
  27

  28
                                              - 41 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 42 of 132 Page ID #:457




   1
                          (2) Make, or attempt to make, any untrue or misleading statement
                          of a material fact or to omit to state a material fact necessary in
   2                      order to make the statements made not untrue or misleading; [or]
   3
                          (3) Engage, or attempt to engage, in any act, practice, or course of
   4                      business, which operates or would operate as a fraud or deceit
   5                      upon any person . . . .

   6
             88.    By reason of the conduct described above, Defendants, by and through
   7
       Santulan, its officers, employees and agents, directly or indirectly, in connection with
   8
       contracts of sale of commodities in interstate commerce, intentionally or recklessly
   9
       violated 7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3).
  10
             89.    By reason of the conduct described above, the acts, misrepresentations,
  11
       omissions, and failures of Santulan and other officers, employees, and agents acting
  12
       for Safeguard Metals occurred within the scope of their employment, agency, or
  13
       office with Safeguard Metals. Safeguard Metals is therefore liable under Section
  14
       2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and CFTC Regulation 1.2, 17 C.F.R.
  15
       § 1.2 (2021), as a principal for Santulan’s violations of the CEA and CFTC
  16
     Regulations.
  17      90. Santulan controlled Safeguard Metals and has not acted in good faith or
  18 has knowingly induced, directly or indirectly, the acts constituting Safeguard Metals’

  19 violations alleged in this count. As a result, pursuant to Section 13(b) of the CEA,

  20 7 U.S.C. § 13c(b), Santulan is liable for Safeguard Metals’ violations of 7 U.S.C.

  21 § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3), as controlling person.

  22         91.    Each use or employment or attempted use or employment of any
  23 manipulative device, scheme, or artifice to defraud; untrue or misleading statement of

  24 fact, omission of material fact necessary to make statements not untrue or misleading;

  25 or act of engaging, or attempting to engage, in acts, practices or courses of business

  26 that operated or would have operated as a fraud or deceit on Safeguard Metals’

  27

  28
                                              - 42 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 43 of 132 Page ID #:458




   1
       customers is alleged as a separate and distinct violation of 7 U.S.C. § 9(1) and

   2
       17 C.F.R. § 180.1(a)(1)-(3).

   3
                        VI. VIOLATIONS OF THE CODE OF ALABAMA
   4

   5                          (Brought by Plaintiff State of Alabama)

   6                                         COUNT 2
                                          Securities Fraud
   7                                        Definitions
   8         92.    The allegations in the preceding paragraphs are re-alleged and
   9 incorporated herein by reference.

  10         93.    Section 8-6-2(7), Code of Alabama (1975), defines the term “person” to
  11 include a natural person; a corporation created under the laws of this or any other

  12 state, country, sovereignty, or political subdivision thereof; a partnership; an

  13 association; a joint-stock company; a trust, excluding testamentary trusts, trusts for

  14 the benefit of the creator or another, court-created trusts, or public charitable trusts;

  15 and any unincorporated organization.

  16         94.    Section 8-6-2(10), Code of Alabama (1975) defines the term “security”
  17 broadly to include, but not limit to, any note, stock, treasury stock, bond, debenture,

  18 evidence of indebtedness, certificate of interest or participation in any profit-sharing

  19 agreement, collateral-trust certificate, preorganization certificate or subscription,

  20 transferable share, investment contract, as well as any instrument of any kind

  21 commonly known as a security.

  22         95.    Section 8-6-2(18), Code of Alabama (1975), defines an investment
  23 adviser as any person, who, for compensation, engages in the business of advising

  24 others, either directly or through publications or writings, as to the value of securities

  25 or as to the advisability of investing in, purchasing, or selling securities.

  26         96.    Section 8-6-2(19), Code of Alabama (1975), defines an investment
  27 adviser representative as any partner, officer, director of (or a person occupying a

  28
                                              - 43 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 44 of 132 Page ID #:459




   1 similar status or performing similar functions) or other individual employed by or

   2 associated with an investment adviser, except clerical or ministerial personnel, who

   3 makes any recommendation or otherwise renders advice regarding securities;

   4 manages accounts or portfolios of clients; determines which recommendation or

   5 advice regarding securities should be given; and/or supervises employees who

   6 perform any of the foregoing.

   7
                                          COUNT 3
          Unregistered Investment Adviser and Investment Adviser Representatives
   8              Violations of § 8-6-3(b) and (c), Code of Alabama (1975)
   9
             97.   The allegations in the preceding paragraphs are re-alleged and
  10
       incorporated herein by reference.
  11
             98.   Section 8-6-3(b) Code of Alabama (1975) makes it unlawful for any
  12
       person to transact business in the State of Alabama as an investment adviser or as an
  13
       investment adviser representative unless:
  14

  15
                   (1) He or she is so registered under Article 6 of the Alabama
  16
                   Code (1975);
  17
                   (2) His or her only clients in this state are investment companies
  18               as defined in the Investment Company Act of 1940, other
  19               investment advisers, broker-dealers, banks, trust companies,
                   savings and loan associations, insurance companies, employee
  20               benefit plans with assets of not less than $1,000,000, and
  21               governmental agencies or instrumentalities, whether acting for
                   themselves or as trustees with investment control, or other
  22               institutional investors as are designated by rule or order of the
  23               commission; or

  24               (3) He or she has no place of business in the state and during any
                   period of 12 consecutive months does not direct business
  25
                   communications in this state in any manner to more than five
  26               clients, other than those specified in the previous subdivision,
                   whether or not he, she, or any of the persons to whom the
  27
                   communications are directed is then present in the state.
  28
                                              - 44 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 45 of 132 Page ID #:460




   1         99.    Section 8-6-3(c) Code of Alabama (1975) makes it unlawful for any
   2 investment adviser required to be registered to employ an investment adviser

   3 representative unless the investment adviser representative is registered under Article

   4 6 of the Code of Alabama (1975).

   5         100. Safeguard Metals unlawfully acted as investment advisers by, for
   6 compensation, engaging in the business of advising others, either directly or through

   7 publications or writings, as to the value of securities or as to the advisability of selling

   8 securities.
   9         101. Santulan unlawfully acted as investment adviser representative by being
  10 a partner, officer, director of (or a person occupying a similar status or performing

  11 similar functions) or other individual employed by or associated with Safeguard

  12 Metals, who made recommendations or otherwise rendered advice regarding

  13 securities; determined which recommendation or advice regarding securities should

  14 be given; and supervised employees, to include sales representatives or other agents,

  15 who performed these functions.

  16         102. During the relevant period, the Defendants were at no time registered as
  17 Investment Advisers or Investment Adviser Representatives in the State of Alabama

  18 and had not perfected an exemption.

  19         103. As a result of their conduct, the Defendants violated Sections 8-6-3(b)
  20 and (c), Code of Alabama (1975).

  21
                                            COUNT 4
                                    Investment Advice Fraud
  22                  Violations of § 8-6-17(b)(2), Code of Alabama (1975)
  23
             104. The allegations in the preceding paragraphs are re-alleged and
  24
       incorporated herein by reference.
  25
             105. Section 8-6-17(b)(2), Code of Alabama (1975), makes it unlawful for
  26
       any person who receives, directly or indirectly, any consideration from another
  27
       person for advising the other person as to the value of securities or their purchase or
  28
                                              - 45 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 46 of 132 Page ID #:461




   1 sale, whether through the issuance of analyses or reports or otherwise, to engage in

   2 any act, practice, or course of business which operates or would operate as a fraud or

   3 deceit upon the other person.

   4         106. During the relevant period, the Defendants, willfully and unlawfully,
   5 directly or indirectly, by and through others, including their sales representatives or

   6 other agents, received compensation from Alabama investors by fraudulently and

   7 deceitfully advising Alabama investors to sell their securities held in Qualified

   8 Retirement Savings, and then use those funds to purchase Precious Metals Bullion.
   9 The fraudulent and deceitful advice resulted in the Defendants converting the

  10 majority of the investment funds to their own benefit without the knowledge of the

  11 Alabama Investors.

  12         107. As a result of their conduct, the Defendants violated Section 8-6-
  13 17(b)(2), Code of Alabama (1975).

  14                                      COUNT 5
          Material Misrepresentations & Omissions in Connection with the Sale of a
  15
                                           Security
  16                Violations of § 8-6-17(a)(2), Code of Alabama (1975)
  17
             108. The allegations in the preceding paragraphs are re-alleged and
  18
       incorporated herein by reference.
  19
             109. Section 8-6-17(a)(2) makes it unlawful for any person, in connection
  20
       with the offer, sale, or purchase of any security, directly or indirectly, to make any
  21
       untrue statement of a material fact or to omit to state a material fact necessary in
  22
       order to make the statements made, in light of the circumstances under which they are
  23
       made, not misleading.
  24
             110. During the relevant period, Defendants, willfully and unlawfully, in
  25
       connection with the sale of any security, directly or indirectly, by and through others,
  26
       including their sales representatives or other agents, made untrue statements of
  27
       material fact or omitted to state material facts necessary in order to make the
  28
                                              - 46 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 47 of 132 Page ID #:462




   1 statements made, in light of the circumstances under which they are made, not

   2 misleading, as contained in the complaint. As a result of the material

   3 misrepresentations and omissions by the Defendants, Alabama investors sold their

   4 securities held in Qualified Retirement Savings, and then used those funds to

   5 purchase Precious Metals Bullion. The material misrepresentations and omissions

   6 resulted in the Defendants converting the majority of the investment funds to their

   7 own benefit without the knowledge of the Alabama Investors.

   8         111. As a result of their conduct, the Defendants violated Section 8-6-
   9 17(a)(2), Code of Alabama (1975)

  10
                                           COUNT 6
                             Financial Exploitation of the Elderly
  11          Definitions and Violations of § 13A-6-195, Code of Alabama (1975)
  12
             112. The allegations in the preceding paragraphs are re-alleged and
  13
       incorporated herein by reference.
  14
             113. Section 13A-6-191(3), Code of Alabama (1975), defines an elderly
  15
       person as a person 60 years of age or older.
  16
             114. Section 13A-6-191(2), Code of Alabama (1975), defines deception as
  17
       occurring when a person knowingly:
  18
                    (a) Creates or confirms another's impression which is false and
  19                which the defendant does not believe to be true;
  20
                    (b) Fails to correct a false impression which the defendant
  21                previously has created or confirmed;
  22               (c) Fails to correct a false impression when the defendant is under
  23               a duty to do so;

  24                (d) Prevents another from acquiring information pertinent to the
                    disposition of the property involved;
  25

  26                (e) Sells or otherwise transfers or encumbers property, failing to
                    disclose a lien, adverse claim, or other legal impediment to the
  27                enjoyment of the property, whether that impediment is or is not
  28
                                              - 47 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 48 of 132 Page ID #:463




   1
                   valid, or is not a matter of official record;

   2               (f) Promises performance which the defendant does not intend to
                   perform or knows will not be performed.
   3

   4        115. Section 13A-6-191(5), Code of Alabama (1975), defines financial
   5 exploitation as the use of deception, intimidation, undue influence, force, or threat of

   6 force to obtain or exert unauthorized control over an elderly person's property with

   7 the intent to deprive the elderly person of his or her property or the breach of a

   8 fiduciary duty to an elderly person by the person's guardian, conservator, or agent
   9 under a power of attorney which results in an unauthorized appropriation, sale, or

  10 transfer of the elderly person's property.

  11        116. Section 13A-6-195 Code of Alabama (1975) makes it unlawful for any
  12 person to financially exploit an elderly person in which the value of the property

  13 taken exceeds two thousand five hundred dollars ($2,500).

  14        117. During the relevant period, the Defendants, by and through others,
  15 including their sales representatives or other agents, intentionally and knowingly used

  16 deception to obtain or exert unauthorized control over the retirement funds of

  17 Alabama Investors with the intent to deprive the Alabama Investors of a majority of

  18 their retirement funds. Each Alabama Investor was 60 years of age or older and lost

  19 more than $2,500.00 dollars.

  20        118. Due to the deceptive conduct and statements made by the Defendants, by
  21 and through others, including their sales representatives or other agents, Alabama

  22 investors liquidated Qualified Retirement Savings and purchased Precious Metals

  23 Bullion. The deception resulted in the Defendants converting the majority of the

  24 investment funds to their own benefit without the knowledge of the Alabama

  25 Investors.

  26        119. As a result of their conduct, the Defendants violated Section 13A-6-195,
  27 Code of Alabama (1975).

  28
                                             - 48 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 49 of 132 Page ID #:464




   1                 VII. VIOLATIONS OF THE CODE OF ARKANSAS
   2               (Brought by Plaintiff the Arkansas Securities Department)
   3                                    Securities Fraud
                                           Definitions
   4

   5         120. Arkansas Code Ann. § 23-42-102(17) defines the term “security”
   6 broadly to include, but not limit to, any note, stock, treasury stock, bond, debenture,

   7 evidence of indebtedness, certificate of interest or participation in any profit-sharing

   8 agreement, collateral-trust certificate, preorganization certificate or subscription,
   9 transferable share, investment contract, as well as any instrument of any kind

  10 commonly known as a security.

  11         121. Arkansas Code Ann. § 23-42-102(9)(A) defines an investment adviser as
  12 any person, who for compensation, engages in the business of advising others, either

  13 directly or through publications or writings, as to the value of securities or as to the

  14 advisability of investing in, purchasing, or selling securities.

  15         122. Arkansas Code Ann. § 23-42-102(9)(B) defines an investment adviser to
  16 include financial planners or other persons that as an integral component of other

  17 financially related services, provides or holds himself, herself, or itself out as

  18 providing investment advice to other for compensation and as part of a business.

  19         123. Arkansas Code Ann. § 23-42-102(14) defines and investment adviser
  20 representative as any partner, officer, director of (or a person occupying a similar

  21 status or performing similar functions) or other individual employed by or associated

  22 with an investment adviser, except clerical or ministerial personnel, who makes any

  23 recommendation or otherwise renders advice regarding securities; manages accounts

  24 or portfolios of clients; determines which recommendation or advice regarding

  25 securities should be given; and/or supervises employees who perform any of the

  26 foregoing.

  27

  28
                                             - 49 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 50 of 132 Page ID #:465




   1
                                          COUNT 7
           Unregistered Investment Adviser and Investment Adviser Representative
   2                      Violations of Ark. Code Ann. § 23-42-301
   3
             124. The allegations in the preceding paragraphs are re-alleged and
   4
       incorporated herein by reference.
   5
             125. Ark. Code Ann. § 23-42-301(c) makes it unlawful for any person to
   6
       transact business in the State of Arkansas as an investment adviser or as an
   7
       investment adviser representative unless otherwise permitted under Ark. Code Ann. §
   8
       23-42-301(c).
   9
             126. Defendants unlawfully acted as investment advisers and investment
  10
       adviser representatives by, for compensation, engaging in the business of advising
  11
       others, either directly or through publications or writings, as to the value of securities
  12
       or as to the advisability of selling securities. Furthermore, Safeguard Metals LLC and
  13
       agents held themselves out as providing investment advice to other for compensation
  14
       and as part of a business.
  15
             127. During the relevant period, Defendants were at no time registered as
  16
       Investment advisers or Investment Adviser Representative in the State of Arkansas
  17
       and had no exemption under Ark. Code Ann. § 23-42-301(c).
  18
             128. As a result of their conduct, Defendants violated Ark. Code Ann. § 23-
  19
       42-301(c).
  20

  21
                                          COUNT 8
  22       Material Misrepresentation & Omissions in Connection with the Sale of a
  23                                       Security
                       Violations of Ark. Code Ann. § 23-42-307(a)(2)
  24

  25         129. The allegations in the preceding paragraphs are re-alleged and

  26 incorporated herein by reference.

  27         130. Ark. Code Ann. § 23-42-307(a)(3) makes it unlawful for any investment

  28 adviser or representative, in connection with the offer, sale or purchase of any
                                              - 50 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 51 of 132 Page ID #:466




   1
       security, directly or indirectly, to make any untrue statement of a material fact or to

   2
       omit to state a material fact necessary in order to make the statements made, in light

   3 of the circumstance under which they are made, not misleading.

   4          131. During the relevant period, Defendants, in the connection with the sale

   5 of any security, directly or indirectly, by and through others, including their sales

   6 representatives or other agents, made untrue statements of material fact or omitted to

   7 state material facts necessary in order to make the statements made, in light of the

   8 circumstances under which they were made, not misleading, as contained in the
   9 complaint. As a result of the material misrepresentations and omissions by the

  10 Defendants, Arkansas investors sold their securities held in retirement accounts, and

  11 the used those to funds to purchase precious metals. The material misrepresentations

  12 and omissions resulted in Safeguard Metals converting a large portion of the

  13 investment funds to their own benefit without the knowledge of the Arkansas

  14 investors.

  15          132. As a result of their conduct Safeguard Metals LLC violated Ark. Code

  16 Ann. § 23-42-307(a)(3).

  17
                    VIII. VIOLATIONS OF THE CALIFORNIA STATUTES
  18

  19                            (Brought by Plaintiff State of California)
  20                                          COUNT 9
                                     Unlicensed Investment Advice
  21                                  (Cal. Corp. Code § 25230)
  22
              133. The allegations in the preceding paragraphs are realleged and
  23
       incorporated herein by reference.
  24
              134. An “investment adviser” is defined under the Corporate Securities Law
  25
       of 1968 (CSL) (Corp. Code § 25000 et seq.) section 25009 in relevant part as “any
  26
       person who, for compensation, engages in the business of advising others . . . as to
  27
       the value of securities or as to the advisability of . . . selling securities . . .”
  28
                                              - 51 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 52 of 132 Page ID #:467




   1
             135. California Corporations Code section 25230 provides, in relevant part:

   2
                    It is unlawful for any investment adviser to conduct business as
   3                an investment adviser in this state unless the investment adviser
   4                has first applied for and secured from the commissioner a
                    certificate, then in effect, authorizing the investment adviser to
   5                do so or unless the investment adviser is exempted by the
   6                provisions of Chapter 1 (commencing with Section 25200) of
                    this part or unless the investment adviser is subject to Section
   7                25230.1.
   8         136. California Corporations Code section 25403 provides:
   9
                    (a) Every person who with knowledge directly or indirectly
  10                controls and induces any person to violate any provision of this
  11                division or any rule or order thereunder shall be deemed to be in
                    violation of that provision, rule, or order to the same extent as the
  12                controlled and induced person.
  13
                    (b) Any person that knowingly provides substantial assistance to
  14                another person in violation of any provision of this division or
  15                any rule or order thereunder shall be deemed to be in violation of
                    that provision, rule, or order to the same extent as the person to
  16                whom the assistance was provided.
  17
                    (c) It shall be unlawful for any person directly or indirectly to do
  18                any act or thing which would be unlawful for that person to do
  19                under any provision of this division or any rule or order
                    thereunder through or by any other person.
  20

  21                (d) Nothing in this section shall be construed to limit the power
                    of the state to punish any person for any conduct which
  22                constitutes a crime under any other statute.
  23
             137. At all relevant times, Defendants working from the Woodland Hills,
  24
       California office conducted business as investment advisers without a certificate from
  25
       the Commissioner or a valid exemption, in violation of CSL section 25230 by the
  26
       conduct described in this complaint including holding itself out as a full-service
  27
       investment firm, representing that Safeguard Metals is rated “number one among
  28
                                              - 52 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 53 of 132 Page ID #:468




   1
       wealth protection firms,” and that Safeguard Metals oversees more than $11 billion in

   2
       assets under management, with fictitious business office locations globally. Further,

   3 Defendants provided advice to investors about market trends, i.e. warning senior

   4 citizens of the volatility of the stock market, and advising investors that the

   5 government could freeze retirement savings and bank accounts in the event of a

   6 crash, but not Precious Metals holdings; advised about disadvantages of investing in

   7 securities versus other types of investments, i.e. that Precious Metals were a safer

   8 investment than traditional retirement accounts invested in securities and the stock
   9 market; and advised about asset allocation, advising investors that up to 20% of their

  10 retirement portfolio should be in Precious Metals holdings.

  11         138. Alternatively, Safeguard Metals violated CSL section 25230 and

  12 Santulan, as Safeguard Metals’ sole member, owner and principal, knowingly

  13 controlled and induced, or knowingly substantially assisted, Safeguard Metals’

  14 violations of CSL section 25230, by the conduct described in this complaint including

  15 by hiring and training sales representatives or other agents to provide investors with

  16 advice about market trends, advising investors about the advantages of investing in

  17 Precious Metals over the stock market, and providing advice about asset allocation to

  18 customers.

  19                                       COUNT 10
                                    Investment Adviser Fraud
  20                                (Cal. Corp. Code § 25235)
  21
             139. The allegations in the preceding paragraphs are realleged and
  22
       incorporated herein by reference.
  23
             140. California Corporations Code section 25235 provides, in relevant part:
  24

  25               It is unlawful for any investment adviser, directly or indirectly,
  26               in this state:
  27

  28
                                              - 53 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 54 of 132 Page ID #:469




   1
                    (a) To employ any device, scheme, or artifice to defraud any
                    client or prospective client.
   2

   3                (b) To engage in any transaction, practice, or course of business
                    which operates or would operate as a fraud or deceit upon any
   4                client or prospective client.
   5
             141. At all relevant times, Defendants violated CSL section 25235 by the
   6
       conduct described in this complaint including operating a scheme to defraud investors
   7
       out of their retirement saving by misrepresenting to the elderly and retirement aged
   8
       investors as to the safety and liquidity of investors’ securities holdings and Qualified
   9
       Retirement Accounts, employing scare tactics to induce investors to liquidate
  10
       securities holdings to purchase Precious Metals, and misrepresenting the effect of
  11
       certain laws and that financial institutions and the government could freeze investors’
  12
       Qualified Retirement Accounts and confiscate funds if the market fails.
  13
       Inexperienced senior citizens allowed Defendants to choose the Precious Metals they
  14
       purchased, and Defendants deceptively placed approximately 97 percent of all
  15
       investors’ investments in overpriced Silver Coins. Defendants failed to disclose the
  16
       risks associated with investing in Precious Metals and failed to properly disclose the
  17
       markup on overpriced Precious Metals, including on the Silver Coin, leading to
  18
       investors’ substantial and nearly immediate loss.
  19
             142. Alternatively, Safeguard Metals violated CSL section 25235 and
  20
       Santulan as Safeguard Metals’ sole member, owner and principal, knowingly
  21
       controlled and induced, or knowingly substantially assisted, Safeguard Metals’
  22
       violations of CSL section 25235, by the conduct described in this complaint
  23
       including: (1) by hiring and training sales representative or other agents to provide
  24
       investors with securities market and Precious Metals advice and to direct investors to
  25
       sell their Qualified Retirement Savings to purchase Precious Metals; (2) choosing the
  26
       Precious Metals that inexperienced senior citizens purchased, and placing
  27
       approximately 97 percent of all investors’ investments in overpriced Silver Coins,
  28
                                              - 54 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 55 of 132 Page ID #:470




   1
       and (3) failing to properly disclose Defendants’ markup when investors purchased

   2
       overpriced Precious Metals, leading to investors’ substantial and nearly immediate

   3 loss.

   4                                       COUNT 11
                                      Commodities Fraud
   5                                (Cal. Corp. Code § 29536)
   6
             143. The allegations in the preceding paragraphs are realleged and
   7
       incorporated herein by reference.
   8
   9
             144. California Corporations Code section 29536 provides:

  10
                   It is unlawful for any person, directly or indirectly, in connection
                   with the purchase or sale of, the offer to sell, the offer to
  11               purchase, the offer to enter into, or the entry into, a commodity,
  12
                   commodity contract, or commodity option to do any of the
                   following:
  13

  14
                   (a) To willfully employ any device, scheme, or artifice to
                   defraud.
  15

  16
                   (b) To willfully make any false report, enter any false record,
                   make any untrue statement of a material fact, or omit to state a
  17               material fact necessary in order to make the statements made, in
  18               the light of the circumstances under which they were made, not
                   misleading.
  19

  20               (c) To willfully engage in any transaction, act, practice, or course
                   of business which operates or would operate as a fraud or deceit
  21               upon any persons.
  22
                   (d) To willfully misappropriate or convert the funds, security, or
  23               property of any other person
  24         145. California Corporations Code section 29552 provides:
  25               Any person who materially assists in any violation of this law, or
  26
                   any rule or order of the commissioner under this law, is jointly
                   and severally liable with any other person liable under this law
  27               for the violation.
  28
                                              - 55 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 56 of 132 Page ID #:471




   1        146. Under California Commodity Law of 1990 (CCL) (Cal. Corp. Code
   2 § 29500 et seq.) sections 29504 and 29515, precious metals including gold and silver

   3 coins and bullion are “commodities.”

   4        147. Under CCL section 29505, a “commodity contract” means “any account,
   5 agreement, or contract for the purchase or sale, primarily for speculation or

   6 investment purposes and not for consumption by the offeree or purchaser . . . .”

   7        148. At all relevant times, Defendants offered to sell and sold, and offered to
   8 purchase and purchased, commodities and entered into commodity contracts from its
   9 principal place of business in Woodland Hills, California.

  10        149. CCL section 29536 applies to the transactions, agreements, or contracts
  11 offered by Defendants.

  12        150. At all relevant times Defendants violated CCL section 29536 by the
  13 conduct described in this complaint including operating a scheme to defraud investors

  14 out of their retirement saving by misrepresenting to the elderly and retirement aged

  15 investors as to the safety and liquidity of investors’ securities holdings and Qualified

  16 Retirement Accounts, employing scare tactics to induce investors to liquidate

  17 securities holdings to purchase Precious Metals and misrepresenting the effect of

  18 certain laws and that financial institutions and the government could freeze investors’

  19 Qualified Retirement Accounts and confiscate funds if the market fails.

  20 Inexperienced senior citizens allowed Defendants to choose the Precious Metals they

  21 purchased, and Defendants deceptively placed approximately 97 percent of all

  22 investors’ investments in overpriced Silver Coins. Defendants failed to disclose the

  23 risks associated with investing in Precious Metals and failed to properly disclose the

  24 markup on overpriced Precious Metals, including on the Silver Coin, leading to

  25 investors’ substantial and nearly immediate loss.

  26        151. Alternatively, Safeguard Metals violated CCL section 29536 and
  27 Santulan as Safeguard Metals’ founder and owner, knowingly controlled and induced,

  28
                                             - 56 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 57 of 132 Page ID #:472




   1 or knowingly substantially assisted, Safeguard Metals’ violations of CCL section

   2 29536, by the conduct described in this complaint including: (1) by hiring and

   3 training sales representative or other agents to provide investors with securities

   4 market and Precious Metals advice and to direct investors to sell their Qualified

   5 Retirement Savings to purchase Precious Metals; (2) choosing the Precious Metals

   6 that inexperienced senior citizens purchased, and placing approximately 97 percent of

   7 all investors’ investments in overpriced Silver Coins, and (3) failing to properly

   8 disclose Defendants’ markup when investors purchased overpriced Precious Metals,
   9 leading to investors’ substantial and nearly immediate loss.

  10
                        IX. VIOLATIONS OF CONNECTICUT LAW
  11

  12
                            (Brought by Plaintiff State of Connecticut)

  13                                      COUNT 12
                               Unregistered Investment Advisor
  14                      Violations of Conn. Gen. Stat. § 36b-6(c)(1)
  15
             152. The allegations in the preceding paragraphs are re-alleged and
  16
       incorporated herein by reference.
  17
             153. Conn. Gen. Stat. section 36b-3 (11) provides in relevant part:
  18

  19               “Investment adviser” means any person who, for compensation,
                   engages in the business of advising others, either directly or
  20
                   through publications or writings, as to the value of securities or
  21               as to the advisability of investing in, purchasing or selling
  22
                   securities, or who, for compensation and as a part of a regular
                   business, issues or promulgates analyses or reports concerning
  23               securities
  24
             154. Conn. Gen. Stat. section 36b-6(c)(1) provides in relevant part:
  25

  26               No person shall transact business in this state as an investment
                   adviser unless registered as such by the commissioner as
  27

  28
                                              - 57 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 58 of 132 Page ID #:473




   1
                   provided in sections 36b-2 to 36b-34 , inclusive, or exempted
                   pursuant to subsection (e) of this section.
   2

   3         155. Safeguard Metals and Santulan unlawfully acted as investment advisors
   4 because they engaged in the business of advising others, directly and/or through

   5 publications or writings, with respect to the value of securities or to the advisability

   6 of investing in, purchasing, or selling securities, for compensation and as part of a

   7 regular business.

   8         156. Safeguard Metals and Santulan are not registered with the
   9 Commissioner, they have not submitted a notice filing with the Commissioner, and

  10 they are not exempt from State registration.

  11                                       COUNT 13
                            Unregistered Investment Advisor Agent
  12
                           Violations of Conn. Gen. Stat. § 36b-6(c)(2)
  13
             157. The allegations in the preceding paragraphs are re-alleged and
  14
       incorporated herein by reference.
  15
             158. Conn. Gen. Stat. section 36b-3 (12) provides in relevant part:
  16

  17               (A) “Investment advisor agent” includes (i) any individual,
  18               including an officer, partner or director of an investment advisor,
                   or an individual occupying a similar status or performing similar
  19               functions, employed, appointed or authorized by or associated
  20               with an investment advisor to solicit business from any person
                   for such investment advisor in this state and who receives
  21               compensation or other renumeration, directly or indirectly, for
  22               such solicitation; or (ii) any partner, officer, or director of an
                   investment advisor, or an individual occupying a similar status
  23               or performing similar functions, or other individual employed,
  24               appointed, or authorized by or associated with an investment
                   advisor, who makes an recommendation or otherwise renders
  25
                   advice regarding securities, to clients and who receives
  26               compensation or other renumeration, directly or indirectly, for
                   such advisory services.
  27

  28
                                              - 58 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 59 of 132 Page ID #:474




   1
             159. Conn. Gen. Stat. section 36b-6(c)(2) provides in relevant part:

   2                No individual shall transact business in this state as an
                    investment advisor agent unless such individual is registered as
   3                an investment advisor agent of the investment advisor for which
   4                such individual acts in transacting such business.
             160. Santulan unlawfully acted as an investment advisor agent because
   5
       Santulan, as a partner, officer or director of Safeguard Metals, or as otherwise
   6
       associated with Safeguard Metals, solicited business for Safeguard Metals for
   7
       compensation, directly or through sales representatives, and made recommendations
   8
       or otherwise rendered advice to others regarding securities for compensation.
   9
             161. By way of example, Santulan, either directly or through sales
  10
       representatives, provided investment advice to the following investors for
  11
       compensation as described in paragraph 76 above.
  12
             162. Santulan is not registered with the Commissioner, he has not submitted a
  13
       notice filing with the Commissioner, and he is not exempt from State registration.
  14
                                            COUNT 14
  15
                                    Investment Advisor Fraud
  16                         Violations of Conn. Gen. Stat. § 36b-5(a)
  17
             163. The allegations in the preceding paragraphs are re-alleged and
  18
       incorporated herein by reference.
  19
             164. Conn. Gen. Stat. section 36b-5(a) provides in relevant part:
  20
                    No person who directly or indirectly receives compensation or
  21                other renumeration for advising another person as to the value of
  22
                    securities or their purchase or sale, whether through the issuance
                    of analyses or reports or otherwise, shall: (1) Employ any device,
  23                scheme, or artifice to defraud another person; (2) make any
  24
                    untrue statement of a material fact or omit to state a material fact
                    necessary in order to make the statement made, in the light of the
  25                circumstances under which they were made, not misleading; or
  26                (3) engage in any act, practice, or course of business which
                    operates or would operate as a fraud or deceit upon any person.
  27

  28
                                              - 59 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 60 of 132 Page ID #:475




   1         165. Safeguard Metals and Santulan, who directly or indirectly received
   2 compensation for advising other persons as to the value of securities or their purchase

   3 or sale have, through the issuance of analysis, reports and/or sales representatives,

   4 employed a device, scheme or artifice to defraud other persons, and/or engaged in

   5 transactions, practices, or course of business operating as a fraud or deceit upon other

   6 persons in providing investment advice to them to liquidate their Qualified

   7 Retirement Savings accounts, including selling securities, to purchase precious metals

   8 from Safeguard Metals, including making misrepresentations and material omissions
   9 as described in paragraph 78 above.

  10         166. As a result of the foregoing unlawful conduct, Safeguard Metals and
  11 Santulan, violated Conn. Gen. Stat. section 36b-5(a).

  12                                        COUNT 15
                                 Dishonest or Unethical Practice
  13
                             Violations of Conn. Gen. Stat. § 36b-5(f)
  14
             167. The allegations in the preceding paragraphs are re-alleged and
  15
       incorporated herein by reference.
  16
             168. Conn. Gen. Stat. section 36b-5(f) provides in relevant part:
  17

  18
                    No person who directly or indirectly receives compensation or
  19                other renumeration for: (1) Advising another person as to the
                    value of securities or their purchase or sale, whether through the
  20
                    issuance of analysis or reports or otherwise; or (2) solicit
  21                advisory business on behalf of a person subject to the prohibition
                    contained in subsection (a) of this section shall engage in any
  22
                    dishonest or unethical practice in connection with the rendering
  23                of such advice or in connection with such solicitation.
  24
             169. Safeguard Metals and Santulan, who directly or indirectly received
  25
       compensation for advising other persons as to the value of securities or their purchase
  26
       or sale, engaged in dishonest and unethical practices in connection with the rendering
  27
       of such advice or such solicitation, in violation of Conn. Gen. Stat. section 36b-5(f).
  28
                                              - 60 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 61 of 132 Page ID #:476




   1
                                            COUNT 16
                                         Securities Fraud
   2                         Violations of Conn. Gen. Stat. § 36b-4(a)
   3         170. The allegations in the preceding paragraphs are re-alleged and
   4 incorporated herein by reference.

   5         171. Conn. Gen. Stat. section 36b-4(a) provides in relevant part:
   6
                    No person shall, in connection with the offer, sale or purchase of
   7                any security, directly or indirectly: (1) Employ any device,
   8                scheme, or artifice to defraud; (2) make any untrue statement of
                    a material fact or omit to state a material fact necessary in order
   9                to make the statement made, in the light of the circumstances
  10                under which they were made, not misleading; or (3) engage in
                    any act, practice, or course of business which operates or would
  11                operate as a fraud or deceit upon any person.
  12
             172. Safeguard Metals and Santulan, in connection with the offer, sale, or
  13
       purchase of any security, have directly or indirectly through sales representatives: (1)
  14
       employed a device, scheme, or artifice to defraud another person; (2) made untrue
  15
       statement(s) of material fact or omitted to state material facts necessary in order to
  16
       make the statement(s) made, in the light of the circumstances under which they were
  17
       made, not misleading; and (3) engaged in an act, practice, or course of business that
  18
       operates or would operate as a fraud or deceit upon another person.
  19
             173. As a result of the foregoing unlawful conduct, Safeguard Metals and
  20
       Santulan, violated Conn. Gen. Stat. section 36b-4(a).
  21
                                       COUNT 17
  22                         Common Law Fraud/Misrepresentation
  23
             174. The allegations in the preceding paragraphs are re-alleged and
  24
       incorporated herein by reference.
  25
             175. Safeguard Metals and Santulan, either directly or through sales
  26
       representatives, made material misrepresentations of fact to persons that they knew
  27
       were untrue and/or omitted known material facts for which they had a duty to
  28
                                              - 61 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 62 of 132 Page ID #:477




   1
       disclose, all for the purpose of inducing such persons to liquidate assets from

   2
       Qualified Retirement Savings accounts and purchase precious metals from Safeguard

   3 Metals, and such persons did so act upon such false representations and/or omissions

   4 to his or her injury.

   5
                          X. VIOLATIONS OF FLORIDA STATUTES
   6

   7                            (Brought by Plaintiff State of Florida)

   8                                        COUNT 18
                             Commodities Prohibited Practices – Fraud
   9                           Violations of Florida Statute 517.275
  10
             176. The allegations in the preceding paragraphs are realleged and
  11
       incorporated herein by reference.
  12
             177. Section 517.275, Florida Statutes, provides “[i]t is unlawful and a
  13
       violation of this chapter for any person to engage in any act or practice in or from this
  14
       state, which act or practice constitutes a violation of any provision of the Commodity
  15
       Exchange Act, 7 U.S.C. ss. 1 et seq., as amended, or the rules and regulations of the
  16
       Commodity Futures Trading Commission adopted under that act as amended.”
  17
             178. During the relevant period, Defendants and their agents or employees,
  18
       individually or as a common enterprise, violated the Commodity Exchange Act as set
  19
       forth in Count I of this complaint, in forty or more transactions with Florida investors,
  20
       and thereby violated section 517.275, Florida Statutes, on 40 or more occasions.
  21

  22                                     COUNT 19
              Acting as Unregistered Investment Advisers or Associated Persons
  23                       Violations of Florida Statute 517.12(4)
  24
             179. The allegations in the preceding paragraphs are realleged and
  25
       incorporated herein by reference.
  26
             180. Subsection 517.12(4), Florida Statutes, entitled Registration of dealers,
  27
       associated persons, intermediaries, and investment advisers, provides:
  28
                                              - 62 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 63 of 132 Page ID #:478




   1
                   No investment adviser or associated person of an investment
                   adviser or federal covered adviser shall engage in business from
   2               offices in this state, or render investment advice to persons of this
   3               state, by mail or otherwise, unless the federal covered adviser has
                   made a notice-filing with the office pursuant to s. 517.1201 or the
   4               investment adviser is registered pursuant to the provisions of this
   5               chapter and associated persons of the federal covered adviser or
                   investment adviser have been registered with the office pursuant to
   6               this section. The office shall not register any person or an associated
   7               person of a federal covered adviser or an investment adviser unless
                   the federal covered adviser or investment adviser with which the
   8               applicant seeks registration is in compliance with the notice-filing
   9               requirements of s. 517.1201 or is lawfully registered with the office
                   pursuant to this chapter. A dealer or associated person who is
  10               registered pursuant to this section may render investment advice
  11               upon notification to and approval from the office.

  12        181. The Defendants rendered investment advice to persons in the state of
  13 Florida on at least 40 occasions in connection with the offer and sale of precious

  14 metals by mail or otherwise. On all such occasions, Defendants were not notice-filed

  15 as investment advisers with the Florida Office of Financial Regulation (“OFR”), were

  16 not lawfully registered as associated persons of federal covered advisers, and were

  17 not registered with the OFR as investment advisers or associated persons of

  18 investment advisers, and were not exempt from such registration.

  19        182. By reason of the foregoing, the Defendants violated, and unless
  20 enjoined, are likely to continue to violate subsection 517.12(4), Florida Statutes.

  21        183. Pursuant to section 517.191, Florida Statutes, the OFR is entitled to an
  22 injunction against the Defendants in this count and other legal and equitable relief

  23 against the Defendants.

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                                             - 63 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 64 of 132 Page ID #:479




   1                          XI. VIOLATIONS OF IDAHO CODE
   2                             (Brought by Plaintiff State of Idaho)
   3                                       COUNT 20
   4                             Unregistered Investment Adviser
                                    (Idaho Code § 30-14-403)
   5

   6         184. The allegations in the preceding paragraphs are realleged and
   7 incorporated herein by reference.

   8         185. Idaho Code § 30-14-403 provides in relevant part that:
   9              It is unlawful for a person to transact business in this state as an
                  investment adviser unless the person is registered under this
  10
                  chapter as an investment adviser or is exempt from registration .
  11              ...
             186. Idaho Code § 30-14-102(15) defines “investment adviser” to include a
  12
       person that, for compensation, engages in the business of advising others as to the
  13
       value of securities or advisability of purchasing or selling securities.
  14
             187. Defendants, either directly or by and through their sales representatives
  15
       or other agents, transacted business in Idaho as investment advisers by advising Idaho
  16
       residents about the value of securities held in Qualified Retirement Savings, and by
  17
       advising them to sell those securities to effectuate the purchase of precious metals.
  18
             188. Defendants are not now, and have never been, registered as investment
  19
       advisers in Idaho.
  20
                                           COUNT 21
  21
                              Fraud In Providing Investment Advice
  22                                (Idaho Code § 30-14-502)
  23
             189. The allegations in the preceding paragraphs are realleged and
  24

  25
       incorporated herein by reference.

  26
             190. Idaho Code § 30-14-502 provides in relevant part:

  27

  28
                                              - 64 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 65 of 132 Page ID #:480




   1
                   It is unlawful for a person that advises others for
                   compensation…as to the value of securities or the advisability of
   2               investing in, purchasing or selling securities…:
   3               (1) To employ a device, scheme, or artifice to defraud another
                   person;
   4
                   (2) To engage in an act, practice, or course of business that
   5
                   operates or would operate as a fraud or deceit upon another
   6               person;…
   7         191. Defendants, either directly or by and through their sales representatives
   8 or other agents, employed a scheme to defraud and a course of business that operated
   9 as a fraud or deceit on Idaho residents, as alleged above in the Facts, to induce Idaho

  10 residents to sell their securities in Qualified Retirement Savings to effectuate the

  11 purchase of precious metals.

  12                                     COUNT 22
                       Fraud In Connection with a Commodity Contract
  13                               (Idaho Code § 30-1506)
  14
             192. The allegations in the preceding paragraphs are realleged and
  15
       incorporated herein by reference.
  16
             193. Idaho Code § 30-1501(3) and (13) provide, in relevant part, that the
  17
       definition of a commodity includes silver and gold coins.
  18
             194. Idaho Code § 30-1501 provides in relevant part:
  19

  20               (4) “Commodity contract” means,…

  21
                   (a) Any account, agreement or contract for the purchase or
                   sale, primarily for speculation or investment purposes and not for
  22               use or consumption by the offeree or purchaser, of one or more
  23               commodities…

  24         195. Idaho Code § 30-1506 provides in relevant part:
  25               It is unlawful for any person, directly or indirectly, in connection
                   with a commodity contract or commodity option:
  26
                   (a) To employ any device, scheme or artifice to defraud;
  27

  28
                                              - 65 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 66 of 132 Page ID #:481




   1
                   (b) To make any false report, enter any false record or make any
                   untrue statement of material fact or omit to state a material fact
   2               necessary in order to make the statements made, in the light of
   3               the circumstances under which they were made, not misleading;
                   (c) To engage in any transaction, act, practice or course of
   4
                   business which operates or would operate as a fraud or deceit
   5               upon any person;…
   6        196. As alleged above, Defendants’ sale of Precious Metals, either directly or
   7 by and through their sales representatives or other agents, to Idaho residents and

   8 subsequent delivery to a depository to hold for the Idaho residents’ benefit is an Idaho
   9 commodities contract.

  10        197. In connection with the commodity contracts, Defendants, either directly
  11 or by and through their sales representatives or other agents, employed a scheme to

  12 defraud Idaho residents, as alleged above, to induce Idaho residents to purchase the

  13 Precious Metals.

  14        198. As alleged above, Defendants, either directly or by and through their
  15 sales representatives or other agents, also made untrue statements about their

  16 qualifications and business history and omitted to state material facts about the

  17 markups of the Precious Metals offered and sold to Idaho residents that were

  18 necessary to make statements made not misleading.

  19        199. Finally, as alleged above, Defendants, either directly or by and through
  20 their sales representatives or other agents, engaged in a course of business that

  21 operated as a fraud and deceit upon Idaho residents by targeting retirement age

  22 individuals, by using scare tactics in their high-pressure sales presentations, and by

  23 making false statements and misrepresentations.

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                                             - 66 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 67 of 132 Page ID #:482




   1                        XII. VIOLATIONS OF ILLINOIS LAW
   2                           (Brought by Plaintiff State of Illinois)
   3                                     COUNT 23
   4      Unregistered Investment Adviser and Investment Adviser Representative
                      Violations of 815 ILCS 5, §§ 8.A, 12.C and 12.D
   5

   6         200. The allegations in the preceding paragraphs are realleged and
   7 incorporated herein by reference.

   8         201. Section 2.11 of the Illinois Securities Law of 1953 defines an Investment
   9 adviser as any person who, for compensation, engages in this State in the business of

  10 advising others, either directly or through publications or writings, as to the value of

  11 securities or as to the advisability of investing in, purchasing, or selling securities or

  12 who, in this State for direct or indirect compensation and as part of a regular advisory

  13 business, issues or promulgates analyses or reports concerning securities or any

  14 financial planner or other person who, as an integral component of other financially

  15 related services, provides investment advisory services to others for compensation

  16 and as part of a business, or who holds himself or herself out as providing investment

  17 advisory services to others for compensation.

  18         202. Section 2.12b of the Illinois Securities Law defines Investment Adviser
  19 Representative as any person associated with an investment adviser required to

  20 register under the Illinois Securities Law, who in Illinois:

  21
                   (1) makes any recommendations or otherwise renders advice
  22               regarding securities or investment products;

  23               (2)    manages accounts or portfolios of clients;

  24               (3) determines what recommendation or advice regarding
                   securities or investments should be given;
  25
                   (4) supervises any employee who performs any of the
  26               foregoing; or

  27               (5)    solicits, refers, offers, or negotiates for the sale of, or sells,
                          investment advisory services.
  28
                                             - 67 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 68 of 132 Page ID #:483




   1        203. That at all relevant times herein, Defendants were acting as an
   2 investment adviser and investment adviser representatives as those terms are defined

   3 in Sections 2.11 and 2.12b of the Illinois Securities Law. Defendants rendered

   4 investment advice.

   5        204. That Safeguard Metals has never been registered as an investment
   6 adviser nor have its sales representatives been registered as investment adviser

   7 representatives in the State of Illinois.

   8        205. That Jeffery Santulan a/k/a Jeffery Hill has never been registered as an
   9 investment adviser or investment adviser representative nor have his sales

  10 representatives been registered as investment adviser representatives in the State of

  11 Illinois.

  12        206. That Defendants failed to register their sales representatives as
  13 investment adviser representatives.

  14        207. That Section 8.A of the Illinois Securities Law states, in part, that all
  15 persons acting as investment advisers and/or investment adviser representatives are

  16 required to be registered as such with the Illinois Secretary of State unless otherwise

  17 exempt.

  18        208. That Section 12.C of the Illinois Securities Law states that it shall be a
  19 violation for any person to act as an investment adviser or investment adviser

  20 representative unless registered as such, where such registration is required.

  21        209. That Section 12.D of the Illinois Securities Law states that it shall be a
  22 violation for any person to fail to file with the Secretary of State any application,

  23 report or document required to be filed under the provisions of the Illinois Securities

  24 Law or any rule or regulation made by the Secretary of State pursuant to the Illinois

  25 Securities Law.

  26        210. That by virtue of the Defendants acting as investment advisers and
  27 investment adviser representatives by receiving compensation for rendering

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                                             - 68 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 69 of 132 Page ID #:484




   1 investment advice, either directly or through their agents, regarding Illinois investors

   2 securities holdings and recommending investments into Safeguard Metals,

   3 Defendants violated Sections 8.A, 12.C, and 12.D of the Illinois Securities Law.

   4                                       COUNT 24
                                   Investment Adviser Fraud
   5
                                 Violations of 815 ILCS 5, § 12.J
   6
             211. The allegations in the preceding paragraphs are realleged and
   7
       incorporated herein by reference.
   8
             212. Section 12.J of the Illinois Securities Law states that is shall be a
   9
       violation of the provisions of the Act for any person when acting as an investment
  10
       adviser or investment adviser representative, by any means or instrumentality,
  11

  12
       directly or indirectly:

  13                (1) To employ any device, scheme or artifice to defraud any
                    client or prospective client;
  14
                    (2) To engage in any transaction, practice, or course of business
  15                which operates as a fraud or deceit upon any client or prospective
                    client; or
  16
                    (3) To engage in any act, practice, or course of business which is
  17                fraudulent, deceptive or manipulative.
  18         213. That by virtue of the Defendants’ failure to accurately disclose the
  19 exorbitant markups, and commissions and fees associated with the purchase of the

  20 gold and silver coins, in conjunction with the misrepresentations made regarding the

  21 stability and safety of the investments relative to investors current holdings,

  22 Defendants violated Sections 12.J(1)-(3) of the Illinois Securities Law.

  23

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                                              - 69 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 70 of 132 Page ID #:485




   1                  XIII. VIOLATIONS OF KENTUCKY STATUTES
   2                          (Brought by Plaintiff State of Kentucky)
   3                                      COUNT 25
   4                            Unregistered Investment Adviser
                                 Violations of KRS 292.330(8)
   5

   6         214. The allegations in the preceding paragraphs are realleged and
   7 incorporated herein by reference.

   8         215. KRS 292.310(11) defines “Investment adviser” as “any person who, for
   9 compensation, directly or indirectly, engages in the business of advising others, either

  10 directly or through publications or writings, as to the value of securities or as to the

  11 advisability of investing in, purchasing, or selling securities, or who, for

  12 compensation and as a part of a regular business, issues or promulgates analyses or

  13 reports concerning securities.”

  14         216. KRS 292.310(19) defines "Security", in relevant part, as:
  15
                   [A]ny note, stock, treasury stock, bond, debenture, evidence of
  16
                   indebtedness, certificate of interest or participation in any profit-
  17               sharing agreement, collateral-trust certificate, preorganization
                   certificate or subscription, transferable share, investment
  18
                   contract, life settlement investment, voting-trust certificate,
  19               certificate of deposit for a security; fractional undivided interest
                   in oil, gas, or other mineral rights; or, in general, any interest or
  20
                   instrument commonly known as a "security.”
  21

  22         217. KRS 292.330(8) makes it “unlawful for any person to transact business
  23 in this state as an investment adviser unless the person is registered under this chapter

  24 as an investment adviser or is exempt from registration under subsection (9) of this

  25 section.”

  26

  27

  28
                                             - 70 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 71 of 132 Page ID #:486




   1         218. Safeguard Metals is not registered as an investment adviser in Kentucky.
   2 Nor is there any record of Safeguard Metals filing for an exemption from registration

   3 with KDFI.

   4         219. Based on the facts set forth above, Safeguard Metals, and its agents or
   5 representatives, in direct contravention of KRS 292.330(8), transacted business as an

   6 investment adviser by advising clients to roll their stock-funded IRAs, which are

   7 securities by definition, into SDIRAs invested in precious metals, despite failing to be

   8 registered as an investment adviser under KRS Chapter 292.
   9         220. By reason of the foregoing, Respondents violated KRS 292.330(8) and,
  10 unless enjoined, will continue to violate the law.

  11
                    XIV. VIOLATIONS OF THE MARYLAND STATUTES
  12

  13
                              (Brought by Plaintiff State of Maryland)

  14                                    COUNT 26
           Unregistered Investment Adviser and Investment Adviser Representative
  15               Violations of Md. Code, Corps. & Assn’s § 11-401(b)(1)
  16
             221. The allegations in the preceding paragraphs are realleged and
  17
       incorporated herein by reference.
  18
             222. The Maryland Securities Act, Md. Code, Corps. & Assn’s § 11-101(i)(1)
  19
       provides in relevant part:
  20
                    “Investment adviser” means a person who, for compensation:
  21

  22                (i) Engages in the business of advising others, either directly or
                    through publications or writings, as to the value of securities or
  23                as to the advisability of investing in, purchasing, or selling
  24                securities, or who, for compensation and as a part of a regular
                    business, issues or promulgates analyses or reports concerning
  25                securities; or
  26

  27

  28
                                              - 71 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 72 of 132 Page ID #:487




   1
                    (ii) Provides or offers to provide, directly or indirectly, financial
                    and investment counseling or advice, on a group or individual
   2                basis; or
   3
                    (iii) Holds out as an investment adviser in any way, including
   4                indicating by advertisement, card, or letterhead, or un any other
   5                manner indicates that the person is, a financial or investment
                    “planner”, “counselor,” “consultant,” or any other similar type of
   6                adviser or consultant.
   7
             223. The Maryland Securities Act, Md. Code, Corps. & Assn’s § 11-101(j)
   8
       provides in relevant part:
   9
                    “Investment adviser representative” or “representative” means
  10                any partner, officer, director of (or a person occupying a similar
  11                status or performing similar functions) or other individual who is
                    employed by or associated with an investment adviser, or who
  12                has a place of business located in this State and is employed by
  13                or associated with a federal covered adviser . . . and who:

  14                (i) Makes any recommendations or otherwise renders investment
  15                advice to clients;

  16                (ii) Represents an investment adviser in rendering [investment
  17                adviser services];
  18                (iii) Manages accounts or portfolios of clients;
  19
                    (iv) Determines which recommendation or investment advice
  20                should be given with respect to a particular client account;
  21
                    (v) Solicits, offers, or negotiates for the sale of or sells
  22                investment advisory services;
  23
                    (vi) Directly supervises employees who perform any of the
  24                foregoing; or
  25                (vii) Holds out as an investment adviser.
  26         224. The Maryland Securities Act, Md. Code, Corps. & Assn’s § 11-

  27 401(b)(1), provides in relevant part that a person may not transact business in this

  28
                                              - 72 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 73 of 132 Page ID #:488




   1 State as an investment adviser or as an investment adviser representative unless the

   2 person is registered as an investment adviser or an investment adviser representative

   3 under this subtitle.

   4        225. Safeguard Metals has never been registered in Maryland as an
   5 investment adviser nor is it exempt from registration.

   6        226. Safeguard Metals unlawfully acted as investment advisers by: (1) for
   7 compensation advising investors regarding the value of securities or as to the

   8 advisability of investing in, purchasing, or selling securities, (2) by providing,
   9 directly or indirectly, financial and investment counseling to investors, and (3) by

  10 holding itself out as an investment adviser.

  11        227. Santulan has never been registered in Maryland as investment adviser
  12 representatives nor is he exempt from registration.

  13        228. Santulan, as sole owner, sole manager, principal, partner, officer, or
  14 director of Safeguard Metals, unlawfully acted as an investment adviser

  15 representative by: (1) making any recommendations or otherwise rendering

  16 investment advice to clients, (2) representing Safeguard Metals in rendering

  17 investment adviser services, (3) determining which recommendation or investment

  18 advice should be given with respect to a particular client account, (4) soliciting,

  19 offering, or negotiating for the sale of or sells investment advisory services, (5)

  20 directly supervising employees who perform any investment adviser representative

  21 services, or (6) holding out as an investment adviser.

  22        229. As a result of the foregoing unlawful conduct, Defendants violated the
  23 Maryland Securities Act, Md. Code, Corps. & Assn’s § 11-401(b)(1).

  24

  25

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                                             - 73 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 74 of 132 Page ID #:489




   1
                                       COUNT 27
               Employment of Unregistered Investment Adviser Representative
   2                 Violations of Md. Corps. & Assn’s § 11-402(b)(1)
   3
             230. The allegations in the preceding paragraphs are realleged and
   4
       incorporated herein by reference.
   5
             231. Md. Code, Corps. & Assn’s § 11-402(b)(1) provides that:
   6
                   An investment adviser required to be registered may not employ
   7               or associate with an investment adviser representative unless the
   8               representative is registered under this subtitle.

   9         232. Safeguard Metals, acting as an investment adviser required to be
  10 registered, employed and associated with Santulan, and numerous other individuals as

  11 investment adviser representatives.

  12         233. As a result of the foregoing unlawful conduct, Safeguard Metals violated
  13 Md. Code, Corps. & Assn’s § 11-402(b)(1).

  14                                      COUNT 28
                                       Securities Fraud
  15
                       Violations of Md. Code, Corps. & Assn’s § 11-301
  16
             234. The allegations in the preceding paragraphs are realleged and
  17
       incorporated herein by reference.
  18
             235. Md. Code, Corps. & Assn’s § 11-302(1) provides in relevant part:
  19
                   It is unlawful for any person, in connection with the offer, sale,
  20
                   or purchase of any security, directly or indirectly to:
  21
                   (1) Employ any device, scheme, or artifice to defraud;
  22

  23               (2) Make any untrue statement of a material fact or omit to state
  24
                   a material fact necessary in order to make the statements made,
                   in light of the circumstances under which they are made, not
  25               misleading; or
  26
                   (3) Engage in any act, practice, or course of business which
  27               operates or would operate as a fraud or deceit on any person
  28
                                              - 74 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 75 of 132 Page ID #:490




   1         236. In connection with the sale of securities held by Marylanders primarily
   2 for retirement purposes, Safeguard Metals, acting through various officers,

   3 employees, or agents, and Santulan, employed a device, scheme, or artifice to

   4 defraud, made untrue statements of material fact and omitted to state material facts

   5 necessary in order to make the statements made, in light of the circumstances under

   6 which they were made, not misleading, or engaged in acts, practices, and courses of

   7 business which operates or would operate as a fraud or deceit on any person.

   8         237. Based on the foregoing conduct, Defendants violated Md. Code, Corps.
   9 & Assn’s § 11-302(1).

  10
                                        COUNT 29
          Fraud and Unethical Business Practices in Investment Advisory Activities
  11     Violations of Md. Code, Corps. & Assn’s § 11-302 and COMAR 02.02.05.03
  12
             238. The allegations in the preceding paragraphs are realleged and
  13
       incorporated herein by reference.
  14
             239. Md. Code, Corps. & Assn’s § 11-302 provides in relevant part:
  15

  16               (a) It is unlawful for any person who receives, directly or
  17               indirectly, any consideration from another person for advising
                   the other person as to the value of securities or their purchase or
  18               sale, or for acting as an investment adviser or representative
  19               under § 11-101(i) and (j) of this title, whether through the
                   issuance of analyses, reports, or otherwise to:
  20

  21               (1) Employ any device, scheme, or artifice to defraud the other
                   person;
  22               (2) Engage in any act, practice, or course of business which
  23               operates or would operate as a fraud or deceit on the other person;
                   [or]
  24               (3) Engage in dishonest or unethical practices.
  25               ...
                   (c) In the solicitation of or dealings with advisory clients, it is
  26               unlawful for any person willfully to make any untrue statement
  27               of a material fact, or omit to state a material fact necessary in
  28
                                              - 75 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 76 of 132 Page ID #:491




   1
                  order to make the statements made, in light of the circumstances
                  under which they are made, not misleading.
   2

   3        240. COMAR 02.02.05.03 provides in relevant part:

   4              (B) An investment adviser is a fiduciary and has a duty to act
                  primarily for the benefit of its clients. While the extent and nature
   5              of this duty varies according to the nature of the relationship
   6              between an investment adviser and its clients and the
                  circumstances of each case, and investment adviser may not
   7              engage in unethical business practices, including the following:
   8
                  (1) Recommending to a client to whom investment supervisory,
   9              management, or consulting services are provided the purchase,
  10              sale, or exchange of a security without reasonable grounds to
                  believe that the recommendation is suitable for the client on the
  11              basis of information furnished by the client after reasonable
  12              inquiry concerning the client's investment objectives, financial
                  situation and needs, and any other information known or
  13              acquired by the investment adviser after reasonable examination
  14              of the client's financial records.
                  ...
  15              (8) Misrepresenting to an advisory client or prospective advisory
  16              client the qualifications of the investment adviser, or an
                  investment adviser representative employed by or associated
  17              with the investment adviser or an employee of the investment
  18              adviser, or misrepresenting the nature of the advisory services
                  being offered or fees to be charged for that service, or omitting
  19              to state a material fact necessary to make the statements made
  20              regarding qualifications, services, or fees, in light of the
                  circumstances under which they are made, not misleading.
  21              ...
  22              (10) Charging a client an unreasonable advisory fee in light of
                  the fees charged by other investment advisers providing
  23              essentially the same services.
  24              ...
                  (12) Guaranteeing a client that a certain or specific result will be
  25              achieved, for example, gain or no loss, as a result of the advice
  26              that will be rendered.
  27

  28
                                             - 76 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 77 of 132 Page ID #:492




   1        241. Safeguard Metals, acting through various officers, employees, or agents,
   2 and Santulan, while advising Marylanders as to the value of securities for their

   3 purchase or sale, or while acting as investment advisers or representatives employed a

   4 device, scheme, or artifice to defraud, in violation of Md. Code, Corps. & Assn’s §

   5 11-302.

   6        242. Safeguard Metals, acting through various officers, employees, or agents,
   7 and Santulan, while advising Marylanders as to the value of securities for their

   8 purchase or sale, or while acting as investment advisers or representatives engaged in
   9 acts, practices, and courses of business which operate or would operate as a fraud or

  10 deceit on any person in violation of Md. Code, Corps. & Assn’s § 11-302.

  11        243. Safeguard Metals, acting through various officers, employees, or agents,
  12 and Santulan, while advising Marylanders as to the value of securities for their

  13 purchase or sale, or while acting as an investment adviser or representative, willfully

  14 to made untrue statements of material fact, or omitted to state material facts necessary

  15 in order to make the statements made, in light of the circumstances under which they

  16 are made, not misleading in violation of Md. Code, Corps. & Assn’s § 11-302.

  17        244. Safeguard Metals, acting through various officers, employees, or agents,
  18 and Santulan, while advising Marylanders as to the value of securities for their

  19 purchase or sale, or while acting as an investment adviser or representative, engaged

  20 in unethical or dishonest business practices in violation of Md. Code, Corps. &

  21 Assn’s § 11-302 and COMAR 02.02.05.03.

  22
                       XV. VIOLATIONS OF MISSISSIPPI STATUTE
  23

  24
                       (Brought by Plaintiff Mississippi Secretary of State)

  25                                    COUNT 30
                              Unregistered Investment Adviser
  26                      Miss. Code Ann. §§ 75-71-403 to 75-71-404
  27
            245. The allegations in the preceding paragraphs are re-alleged and
  28
                                             - 77 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 78 of 132 Page ID #:493




   1
       incorporated herein by reference.

   2
             246. Mississippi Code Annotated § 75-71-102(15) provides in relevant part:

   3                “Investment adviser” means a person that, for compensation,
                    engages in the business of advising others, either directly or
   4                through publications or writings, as to the value of securities or
   5                the advisability of investing in, purchasing, or selling securities
                    or that, for compensation and as a part of a regular business,
   6                issues or promulgates analysis or reports concerning securities.
   7                The term includes a financial planner or other person that, as an
                    integral component of other financially related services, provides
   8                investment advice to others for compensation as part of a
   9                business or that holds itself out as providing investment advice
                    to others for compensation.
  10

  11         247. Mississippi Code Annotated § 75-71-102(16) provides in relevant part:

  12                “Investment adviser representative” means an individual
                    employed by or associated with an investment adviser or federal
  13                covered investment adviser who makes any recommendations or
  14                otherwise gives investment advice regarding securities, manages
                    accounts or portfolios of clients, determines which
  15                recommendation or advice regarding securities should be given,
  16                provides investment advice or holds herself or himself out as
                    providing investment advice, receives compensation to solicit,
  17                offer, or negotiate for the sale of or for selling investment advice,
  18                or supervises employees who perform any of the foregoing.
  19
             248. It is unlawful for a person to transact business in Mississippi as an
  20
       investment adviser unless the person is registered under this chapter as an investment
  21
       adviser or is exempt from registration as an investment adviser. Miss. Code Ann. §
  22
       75-71-403(a).
  23
             249. It is unlawful for an individual to transact business in Mississippi as an
  24
       investment adviser representative unless the individual is registered under this chapter
  25
       as an investment adviser representative or is exempt from registration as an
  26
       investment adviser representative. Miss. Code Ann. § 75-71-404(a).
  27
             250. Defendant Safeguard Metals unlawfully acted as an investment adviser
  28
                                              - 78 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 79 of 132 Page ID #:494




   1 because Safeguard Metals, for compensation, engaged in the business of advising

   2 another, directly and/or through publications or writings, with respect to the value of

   3 securities or to the advisability of investing in, purchasing, or selling securities,

   4 despite not being registered as an investment adviser under the Act, in violation of

   5 Miss. Code Ann. § 75-71-403(a).

   6           251. Defendants, either directly or by and through their sales representatives,
   7 acted as investment adviser representatives because they solicited investors and

   8 provided investment advice to investors with respect to the value of securities or to
   9 the advisability of selling currently held securities, and encouraged investors to

  10 liquidate their Qualified Retirement Savings and existing securities holdings despite

  11 not being registered as an investment adviser representative under the Act, in

  12 violation of Miss. Code Ann. § 75-71-404(a).

  13           252. During the relevant period, the Defendants were not registered as an
  14 investment adviser or investment adviser representatives in the state.

  15           253. Therefore, Defendants violated the Mississippi Securities Act of 2010.
  16                                      COUNT 31
                                        Securities Fraud
  17
                      Miss. Code Ann. § 75-71-501(1)-(3) and § 75-71-502(a)
  18
               254. The allegations in the preceding paragraphs are re-alleged and
  19
       incorporated herein by reference.
  20
               255. Mississippi Code Annotated. § 75-71-501(1)-(3), provides in relevant
  21
       part:
  22
                     It is unlawful for a person, in connection with the offer, sale, or
  23                 purchase of a security, directly or indirectly:
  24                 (1)   To employ a device, scheme, or artifice to defraud;
  25                 (2) To make an untrue statement of a material fact or to omit
                     to state a material fact necessary in order to make the statements
  26                 made, in the light of the circumstances under which they were
                     made, not misleading; or
  27

  28
                                              - 79 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 80 of 132 Page ID #:495



                     (3) To engage in an act, practice, or course of business that
   1                 operates or would operate as a fraud or deceit upon another
                     person.
   2
                    256.   The Defendants participated in the offer or sale of securities by
   3
       means of a scheme to defraud, with untrue statements of material fact or omissions to
   4
       state material facts necessary in order to make the statements, in light of the
   5
       circumstances under which they were made, not misleading (the buyers not knowing
   6
       of the untruths or omissions), or engaged in acts, practices, or courses of business that
   7
       operated as a fraud on the investors. Therefore, Defendants violated Miss. Code Ann.
   8
       § 75-71-501(1)-(3).
   9
                    257.   Mississippi Code Annotated § 75-71-502(a), provides in relevant
  10
       part:
  11                 It is unlawful for a person that advises others for compensation,
  12                 either directly or indirectly or through publications or writings, as
                     to the value of securities or the advisability of investing in,
  13
                     purchasing, or selling securities or that, for compensation and as
  14                 part of a regular business, issues or promulgates analyses or reports
                     relating to securities:
  15
                     (1) To employ a device, scheme, or artifice to defraud another
  16                     person; or
  17                 (2) To engage in an act, practice, or course of business that
                         operates or would operate as a fraud or deceit upon another
  18                     person.
  19
               258. Defendants, in connection with the rendering of investment advice, (1)
  20
       employed a device, scheme, or artifice to defraud another person; or (2) engaged in
  21
       an act, practice, or course of business that operated or would operate as a fraud or
  22
       deceit upon another person. Therefore, Defendants violated Miss. Code Ann. § 75-1-
  23
       502(a).
  24
               259. Therefore, Defendants violated the Mississippi Securities Act of 2010.
  25

  26

  27

  28
                                              - 80 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 81 of 132 Page ID #:496




   1
                                             COUNT 32
                                         Commodities Fraud
   2                                  Miss. Code Ann. § 75-89-13
   3
              260. The allegations in the preceding paragraphs are re-alleged and
   4
       incorporated herein by reference.
   5
              261. Mississippi Code Annotated § 75-89-13, provides in relevant part that no
   6
       person, directly or indirectly, in or in connection with the purchase or sale of, the
   7
       offer to sell, the offer to purchase, the offer to enter into, or the entry into of, a
   8
       commodity contract or commodity option, may:
   9
                     (a) Cheat or defraud, attempt to cheat or defraud, or employ a
  10
                     device, a scheme, or an artifice to defraud;
  11
                     (b) Make a false report, enter a false record, or make an untrue
  12                 statement of material fact or omit to state a material fact necessary
  13                 in order to make the statements made, in light of the circumstances
                     under which they were made, not misleading;
  14

  15
                     (c) Engage in a transaction, an act, a practice, or a course of
                     business, including without limitation a form of advertising or
  16                 solicitation, which operates or would operate as a fraud or deceit on
  17
                     Metals customers or potential customers; or

  18                 (d) Misappropriate or convert the funds, security, or property of
                     a person.
  19

  20
              262. Defendants, acting through representatives, in connection with the

  21
       solicitation to sell and the sale of precious metals: (1) cheated or defrauded, or

  22 attempted to cheat or defraud, another person or employed a device, scheme, or

  23 artifice to defraud another person; (2) made a false report, entered a false record, or

  24 made an untrue statement of a material fact or omitted to state a material fact

  25 necessary in order to make the statements made, in the light of the circumstances

  26 under which they were made, not misleading; (3) engaged in a transaction, act,

  27 practice, or course of business, including, without limitation, any form of advertising

  28 or solicitation, which operated or would operate as a fraud or deceit upon another
                                              - 81 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 82 of 132 Page ID #:497




   1
       person; or (4) misappropriated or converted the funds, security, or property of another

   2
       person, in connection with the solicitation of a purchase or sale of, the offer to sell,

   3 the offer to purchase, the offer to enter into, or the entry into of any commodity

   4 contract or commodity option.

   5            263. Therefore, the Defendants violated the Mississippi Commodities
   6 Enforcement Act, Miss. Code Ann. § 75-89-13, et. seq.

   7
                              XVI. VIOLATIONS OF MISSOURI STATUTES
   8
   9                                    (Brought by Plaintiff State of Missouri)

  10                                      COUNT 33
           Eighteen Violations of Transacting Business as an Unregistered Investment
  11           Adviser Pursuant to Missouri Revised Statutes Section 409.4-403 1
  12
                264. The allegations in the preceding paragraphs are realleged and
  13
       incorporated herein by reference.
  14
                265. Section 409.4-403 provides in pertinent part:
  15
                         (a) It is unlawful for a person to transact business in this state as
  16                     an investment adviser unless the person is registered under this
  17                     act as an investment adviser . . .

  18                     (d) It is unlawful for an investment adviser to employ or associate
  19                     with an individual required to be registered under this act as an
                         investment adviser representative who transacts business in this
  20                     state on behalf of the investment adviser unless the individual is
  21                     registered under section 409.4-404(a) . . . .
  22
                266. Safeguard Metals, in at least eighteen (18) instances, transacted business
  23
       in the State of Missouri as an unregistered, non-exempt Investment Adviser by
  24
       holding itself out as a company offering investment advice regarding the purchase of
  25
       precious metals.
  26

  27   1
        Unless otherwise indicated, Missouri statutory citations refer to the 2016 edition of the Revised Statutes of Missouri,
  28   updated by the 2021 Cumulative Supplement.
                                                                 - 82 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 83 of 132 Page ID #:498




   1         267. Safeguard Metals received compensation for its investment advisory
   2 services in the form of commissions and fees.

   3         268. At the time Safeguard Metals engaged in all but one of the violations
   4 described in the conduct set forth above, the seventeen (17) Missouri investors

   5 involved in those transactions were more than sixty years old and were elderly

   6 persons, as that term is defined under Section 409.6-604(d)(3)(B).

   7         269. Safeguard Metals’ violations of Section 409.403(a) constitute illegal
   8 acts, or courses of business subject to the Court’s authority under the CEA.
   9                                     COUNT 34
  10           Eighteen Violations of Missouri Revised Statutes Section 409.810
  11
             270. The allegations in the preceding paragraphs are realleged and
  12
       incorporated herein by reference.
  13
             271. Section 409.810 provides in pertinent part:
  14
                   No person shall, directly or indirectly:
  15
                   (1) Cheat or defraud, attempt to cheat or defraud, or employ any
  16
                   device, scheme or artifice to cheat or defraud, any other person;
  17

  18
                   (2) Make any false report, enter any false record, or make any
                   untrue statement of a material fact;
  19

  20
                   (3) Engage in any transaction, act, practice or course of business,
                   including, without limitation, any form of advertising or
  21               solicitation, which operates or would operate as a fraud or deceit
  22
                   upon any person; or

  23               (4) Misappropriate or convert the funds, security or property of
  24
                   any other person;

  25               in or in connection with the purchase or sale of, the offer to sell,
  26               the offer to enter into, or the entry into of, any commodity
                   contract or commodity option subject to the provisions of section
  27               409.803 or subdivision (2), (3), or (4) of subsection 1 of section
  28               409.806; except that, the provisions of subdivision (2) of this
                                              - 83 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 84 of 132 Page ID #:499




   1
                   section shall not apply to a commodity contract covered by
                   subdivision (3) of subsection 1 of section 409.806.
   2

   3         272. By engaging in the conduct set forth above, defendants, in connection
   4 with the purchase or sale of, the offer to sell, the offer to enter into, or entry into of,

   5 any commodity contract in this matter directly or indirectly: (1) cheated or defrauded,

   6 attempted to cheat or defraud, employed devices, schemes or artifices to cheat or

   7 defraud other people; and (2) engaged in transactions which operated as a fraud or

   8 deceit upon other persons, all of which were in violation of Section 409.810 to wit:
   9               a.     Misrepresenting material facts about Safeguard Metals in
  10                      marketing the commodities sold to Missouri residents;
  11               b.     Misrepresenting the safety and liquidity of investors’ securities
  12                      holdings and Qualified Retirement Accounts and employed scare
  13                      tactics to induce investors to sell their existing securities holdings;
  14               c.     Misrepresenting or omitting the compensation structure for
  15                      Safeguard Metals to investors; and
  16               d.     Failing to disclose the exorbitant actual markup to investors.
  17         273. At the time Safeguard Metals engaged in all but one of the violations
  18 described in the conduct set forth above, the seventeen (17) Missouri investors

  19 involved in those transactions were more than sixty years old and were elderly

  20 persons, as that term is defined under Section 409.6-604(d)(3)(B).

  21         274. Safeguard Metals’ violations of Section 409.410 constitute illegal acts,
  22 or courses of business subject to the Court’s authority under the CEA.

  23

  24

  25

  26

  27

  28
                                             - 84 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 85 of 132 Page ID #:500




   1                   XVII. VIOLATIONS OF NEW MEXICO LAWS
   2                        (Brought by Plaintiff State of New Mexico)
   3                                   COUNT 35
   4               Prohibited Conduct in Providing Investment Advice
     Violations of New Mexico Statute, NMSA 1978, § 58-13C-502(A)(2), and NMAC
   5
                            Rules 12.11.7.13(A)(L)(Q) & (R)
   6
             275. The allegations in the preceding paragraphs are realleged and
   7
       incorporated herein by reference.
   8
             276. NMSA 1978, section 58-13C-502(A)(2), provides:
   9

  10
                   (A) It is unlawful for a person that advises others for
  11               compensation, either directly or indirectly or through
                   publications or writings, as to that value of securities or the
  12
                   availability of investing in, purchasing or selling securities or
  13               that, for compensation and as part of a regular business, issues or
                   promulgates analyses or reports relating to securities
  14

  15               (2) to engage in an act, practice or course of business that
                   operates or would operate as a fraud or deceit upon another
  16
                   person
  17
             277. NMAC Rules 12.11.7.13, subsections (A), (L), (Q), & (R)
  18
       provide:
  19
                   The following are deemed to be unlawful, unethical, or dishonest
  20
                   conduct or practice by an investment adviser or investment
  21               adviser representative without limiting those terms to the
                   practices specified herein:
  22

  23               (A) recommending to a client to whom investment supervisory,
  24
                   management or consulting services are provided the purchase,
                   sale or exchange of any security without reasonable grounds to
  25               believe that the recommendation is suitable for the client on the
  26
                   basis of information furnished by the client after reasonable
                   inquiry concerning the client’s investment objectives, financial
  27               situation and needs, and any other information known by the
  28
                   investment adviser;
                                              - 85 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 86 of 132 Page ID #:501




   1
                    (L) guaranteeing a client that a specific result will be achieved
   2                (e.g. gain or no loss), with advice which will be rendered;
   3
                    (Q) engaging in any act, practice or course of business which is
   4                fraudulent, deceptive or manipulative, contrary to the provisions
   5                of or in violation of the New Mexico Uniform Securities Act or
                    any other rule of the director;
   6

   7                (R) engaging in conduct or any act, indirectly or through or by
                    any other person, which would be unlawful for such person to do
   8                directly under the provisions of the New Mexico Uniform
   9                Securities Act or any rule or regulation thereunder[.]

  10
             278. Safeguard Metals, acting through various officers, employees, or
  11
       agents, and Santulan, acted as investment advisers, and in connection with the
  12
       rendering of investment advice, engaged in an act practice or course of
  13
       business that operates or would operate as a fraud or deceit upon another
  14
       person.
  15
             279. As a result of the foregoing unlawful conduct, Defendants
  16
       violated New Mexico Statute, NMSA 1978, § 58-13C-502(A)(2), and NMAC
  17
       Rules 12.11.7.13(A)(L)(Q) & (R).
  18

  19             XVIII. VIOLATIONS OF NORTH CAROLINA STATUTES
  20        (Brought by Plaintiff North Carolina Department of the Secretary of State)
  21                                    COUNT 36
  22     Material Misrepresentations and Omissions in Connection with the Sale of a
                                         Security
  23                           Violations of N.C.G.S. § 78A
  24

  25         280. The allegations in the preceding paragraphs are realleged and

  26 incorporated herein by reference.

  27

  28
                                              - 86 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 87 of 132 Page ID #:502




   1         281. A "Person" is defined under N.C.G.S. § 78A-2(7) as an individual, an
   2 entity, a partnership in which the interests of the partners are not evidenced by a

   3 security, a trust in which the interests of the beneficiaries are not evidenced by a

   4 security, or an unincorporated organization.

   5         282. "Sale" or "sell" as defined under N.C.G.S. § 78A-2(8)(a) includes every
   6 contract of sale of, contract to sell, or disposition of, a security or interest in a security

   7 for value.

   8         283. "Offer" or "offer to sell" as defined under N.C.G.S. § 78A-2(8)(b)
   9 includes every attempt or offer to dispose of, or solicitation of an offer to buy, a

  10 security or interest in a security for value.

  11         284. As defined under N.C.G.S. § 78A-2(8)(c), any security given or
  12 delivered with, or as a bonus on account of, any purchase of securities or any other

  13 thing is considered to constitute part of the subject of the purchase and to have been

  14 offered and sold for value.

  15         285. A "Security" is defined broadly under N.C.G.S. § 78A-2(11) to include,
  16 but not limit to, any note; stock; treasury stock; bond; debenture; evidence of

  17 indebtedness; certificate of interest or participation in any profit-sharing agreement;

  18 collateral-trust certificate; preorganization certificate or subscription; transferable

  19 share; investment contract; and any interest or instrument commonly known as a

  20 security.

  21         286. N.C.G.S. § 78A-8(a)(2) provides, in relevant part, that it is unlawful for
  22 any person, in connection with the offer, sale or purchase of any security, directly or

  23 indirectly, to make any untrue statement of a material fact or to omit to state a

  24 material fact necessary in order to make the statements made, in the light of the

  25 circumstances under which they are made, not misleading.

  26         287. During the relevant period, Defendants, in connection with the sale of
  27 any security, directly or indirectly, by or through others, including their sales

  28
                                             - 87 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 88 of 132 Page ID #:503




   1 representatives or agents, made untrue statements of material fact or omitted to state a

   2 material fact necessary in order to make the statements made, in the light of the

   3 circumstances under which they are made, not misleading, as contained in the

   4 complaint. As a result of the misrepresentations and omissions by the Defendants,

   5 North Carolina investors sold their securities held in traditional retirement accounts,

   6 and used those funds to purchase precious metals. The material misrepresentations

   7 and omissions resulted in the Defendants converting a large portion of the investment

   8 funds to their own benefit without the knowledge of the North Carolina investors.
   9         288. As such, the Defendants violated N.C.G.S. § 78A-8(a)(2) of the North
  10 Carolina Securities Act.

  11
                                         COUNT 37
           Unregistered Investment Adviser and Investment Adviser Representative
  12                           Violations of N.C.G.S. § 78C-16
  13
             289. The allegations in the preceding paragraphs are realleged and
  14
       incorporated herein by reference.
  15
             290. An “investment adviser” is defined under N.C.G.S. § 78C-2(1) in
  16
       relevant part as:
  17                [A]ny person who, for compensation, engages in the business of
  18                advising others, either directly or through publications or
                    writings, as to the value of securities or as to the advisability of
  19                investing in, purchasing, or selling securities, or who, for
  20                compensation and as part of a regular business, issues or
                    promulgates analyses or reports concerning securities.
  21                "Investment adviser" also includes…other persons who, as an
  22                integral component of other financially related services, provide
                    the foregoing investment advisory services to others for
  23                compensation and as a part of a business or who hold themselves
  24                out as providing the foregoing investment advisory services to
                    others for compensation.
  25
             291. An "investment adviser representative" is defined under N.C.G.S. § 78C-
  26
       2(3) as with respect to any investment adviser registered under this Chapter, any
  27
       partner, officer, director (or a person occupying a similar status or performing similar
  28
                                              - 88 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 89 of 132 Page ID #:504




   1 functions) or other individual employed by or associated with an investment adviser,

   2 except clerical or ministerial personnel, who:

   3
                a. Makes any recommendations or otherwise renders advice
   4               regarding securities directly to clients,
   5
                b. Manages accounts or portfolios of clients,
   6
                c. Determines which recommendations or advice regarding
   7               securities should be given; provided, however if there are more
   8               than five such persons employed by or associated with an
                   investment adviser, who do not otherwise come within the
   9               meaning of section 78C-2(3) a., b., d., or e., then only the direct
  10               supervisors of such persons are deemed to be investment adviser
                   representatives under section 78C-2(3) c.,
  11

  12            d. Solicits, offers or negotiates for the sale of or sells investment
                   advisory services, unless such person is a dealer or salesman
  13               registered under Chapter 78A of the General Statutes and the
  14               person would not be an investment adviser representative except
                   for the performance of the activities described in section 78C-
  15               2(3) d., or
  16
                e. Directly supervises investment adviser representatives as defined
  17               in section 78C-2(3) a., b., c. (unless such investment adviser
  18
                   representatives are already required to register due to their role
                   as supervisors by operation of section 78C-2(3) c.), or d. in the
  19               performance of the foregoing activities.
  20
             292. N.C.G.S. § 78C-16(a) of the North Carolina Investment Advisers Act
  21
       makes it unlawful for any person to transact business in the State of North Carolina as
  22
       an investment adviser unless:
  23

  24
                1) The person is registered under the North Carolina Investment
  25               Advisers Act;
  26
                2) The person's only clients in this State are investment companies
  27               as defined in the Investment Company Act of 1940, other
                   investment advisers, investment advisers covered under federal
  28
                                              - 89 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 90 of 132 Page ID #:505




   1
                    law, dealers, banks, trust companies, savings institutions, savings
                    and loan associations, insurance companies, employee benefit
   2                plans with assets of not less than one million dollars
   3                ($1,000,000), and governmental agencies or instrumentalities,
                    whether acting for themselves or as trustees with investment
   4                control, or other institutional investors as are designated by rule
   5                or order of the Administrator;

   6            3) The person has no place of business in this State, and during the
   7               preceding 12-month period has had not more than five clients,
                   other than those specified in subdivision (2) of this subsection,
   8               who are residents of the State; or
   9
                4) The person, during the course of the preceding 12 months, has
  10               had fewer than 15 clients, and neither holds himself or herself
  11               out generally to the public as an investment adviser nor acts as
                   an investment adviser to any investment company registered
  12               under the Investment Company Act of 1940, or a company that
  13               has elected to be a business development company pursuant to
                   section 54 of the Investment Company Act of 1940.
  14
             293. N.C.G.S. § 78C-16(a1) of the North Carolina Investment Advisers Act
  15
       makes it unlawful for any person to transact business in the State of North Carolina as
  16
       an investment adviser representative unless:
  17

  18
                    (1) The person is registered under Article 3 of the North
  19                Carolina Investment Advisers Act; or
  20                (2) The person is an investment adviser representative employed
  21                by or associated with an investment adviser exempt from
                    registration under subdivision (2), (3), or (4) of subsection (a) of
  22                this section; or
  23
                    (3) The person is an investment adviser representative employed
  24                by or associated with an investment adviser covered under
  25                federal law that is exempt from the notice filing requirements of
                    N.C.G.S. §78C-17(a1).
  26

  27         294. N.C.G.S. § 78C-16(b) of the North Carolina Investment Advisers Act
  28
                                              - 90 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 91 of 132 Page ID #:506




   1 makes it unlawful for any person required to be registered as an investment adviser

   2 under the North Carolina Investment Advisers Act to employ an investment adviser

   3 representative unless the investment adviser representative is registered.

   4         295. During the relevant period, Defendants unlawfully acted as an
   5 investment adviser by, for compensation, engaging in the business of advising others,

   6 either directly, indirectly, or through publications or writings, as to the value of

   7 securities or as to the advisability of selling securities and held itself out as providing

   8 the foregoing investment advisory services to others for compensation.
   9         296. Santulan unlawfully acted as investment adviser representatives by being
  10 a partner, officer, director (or a person occupying a similar status or performing

  11 similar functions) or other individual employed by or associated with Defendants,

  12 who made recommendations or otherwise rendered advice regarding securities;

  13 determined which recommendation or advice regarding securities should be given,

  14 created sales scripts and email templates, solicited, offered and set the prices at which

  15 Safeguard Metals sold securities to the public, aided; and supervised employees,

  16 including sales representatives or other agent, who performed these functions.

  17         297. During the relevant period, the Defendants were at no time registered as
  18 investment advisers or investment adviser representatives under North Carolina law

  19 and/or federal law. Defendants have not claimed an exemption from registration in

  20 North Carolina nor have they submitted a notice filing with North Carolina as an

  21 investment adviser or investment adviser representative

  22         298. As such, the Defendants violated N.C.G.S. §§ 78C-16(a), (a1) and (b) of
  23 the North Carolina Investment Advisers Act.

  24                                       COUNT 38
                                 Fraudulent Advisory Activities:
  25
                                  Violations of N.C.G.S. §78C-8
  26
             299. The allegations in the preceding paragraphs are realleged and
  27
       incorporated herein by reference.
  28
                                              - 91 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 92 of 132 Page ID #:507




   1
             300. N.C.G.S. § 78C-8(a) provides, in relevant part, that it is unlawful for a

   2
       person who receives, directly or indirectly, any consideration from another person for

   3 advising the other person as to the value of securities or their purchase or sale,

   4 whether through the issuance of analyses or reports or otherwise,

   5            (1)To employ any device, scheme, or artifice to defraud the other
                   person,
   6

   7            (2)To engage in any act, practice, or course of business which
                   operates or would operate as a fraud or deceit upon the other
   8               person.
   9         301. In connection with the solicitation of advisory clients in North Carolina,
  10 the Defendants, directly or indirectly, made untrue statements of a material fact, or

  11 omitted to state a material fact necessary in order to make the statements made, in

  12 light of the circumstances under which they are made, not misleading; in violation of

  13 N.C.G.S. §78C-8(b).

  14         302. During the relevant period, Defendants, directly or by way of their sales
  15 representatives, misrepresented Safeguard Metal’s assets under management;

  16 employee qualifications; years of experience; used scare tactics to induce investors to

  17 sell their securities; failed to disclose compensation received by Safeguard Metals;

  18 and failed to disclose actual markup to investors in violation of N.C.G.S. § 78C-8(a)

  19 and (b).

  20
                   XIX. VIOLATIONS OF THE OHIO SECURITIES ACT
  21

  22                            (Brought by Plaintiff State of Ohio)

  23                                      COUNT 39
                         Acting as an unregistered Investment Adviser
  24                                (O.R.C. § 1707.44(A)(1))
  25         303. The allegations in the preceding paragraphs are realleged and
  26 incorporated herein by reference.

  27         304. O.R.C. 1707.44(A) provides:
  28
                                              - 92 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 93 of 132 Page ID #:508




   1
                   No person shall engage in any act or practice that violates
                   division (A) of section 1707.141 or section 1707.161 of the
   2               Revised Code.
   3
             305. R.C. 1707.141(A) provides, in relevant part:
   4
                   No person shall act as an investment adviser, unless one of the
   5               following applies:
   6
                   (1) The person is licensed as an investment adviser by the
   7               division of securities; however, nothing in this section shall be
   8
                   construed to prohibit a person from being licensed by the division
                   as both an investment adviser and a dealer or salesperson.
   9

  10         306. R.C. 1707.01(X)(1) defines investment adviser as:

  11               "Investment adviser" means any person who, for compensation,
                   engages in the business of advising others, either directly or
  12               through publications or writings, as to the value of securities or
  13               as to the advisability of investing in, purchasing, or selling
                   securities, or who, for compensation and as a part of regular
  14               business, issues or promulgates analyses or reports concerning
  15               securities.

  16         307. The investments held by the Ohio investors in Qualified Retirement
  17 Accounts and in the coins purchased and sold by Defendants are securities as defined

  18 by O.R.C. 1707.01(B).

  19         308. At all times relevant, Defendants engaged in the business of advising
  20 others as to the value of securities or as to the advisability of investing in, purchasing,

  21 or selling securities in exchange for compensation and were not licensed as an

  22 investment adviser by the State of Ohio.

  23                                        COUNT 40
  24                                     Securities Fraud
                                       (O.R.C. § 1707.44(G))
  25
             309. The allegations in the preceding paragraphs are realleged and
  26
       incorporated herein by reference.
  27
             310. O.R.C. 1707.44(G) provides:
  28
                                              - 93 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 94 of 132 Page ID #:509




   1
                  No person in purchasing or selling securities shall knowingly
                  engage in any act or practice that is, in this chapter, declared
   2              illegal, defined as fraudulent, or prohibited.
   3
             311. O.R.C. 1707.01(C) provides, in relevant part:
   4
                  (1) "Sale" has the full meaning of "sale" as applied by or accepted
   5              in courts of law or equity, and includes every disposition, or
   6              attempt to dispose, of a security or of an interest in a security.
                  "Sale" also includes a contract to sell, an exchange, an attempt to
   7              sell, an option of sale, a solicitation of a sale, a solicitation of an
   8              offer to buy, a subscription, or an offer to sell, directly or
                  indirectly, by agent, circular, pamphlet, advertisement, or
   9              otherwise.
  10
                  (2) "Sell" means any act by which a sale is made.
  11

  12         312. Defendants, in selling and purchasing securities, knowingly engaged in
  13 acts and practices which are illegal, fraudulent or prohibited.

  14                                     COUNT 41
                          Misrepresentations in the Sale of Securities
  15
                                  (O.R.C. § 1707.44(B)(4))
  16
             313. The allegations in the preceding paragraphs are realleged and
  17
       incorporated herein by reference.
  18
             314. O.R.C. 1707.44(B)(4) provides:
  19
                   No person shall knowingly make or cause to be made any false
  20               representation concerning a material and relevant fact, in any oral
                   statement or in any prospectus, circular, description, application,
  21
                   or written statement, for any of the following purposes:
  22
                   (4) Selling any securities in this state.
  23

  24         315. Defendants made or caused to be made false representations concerning
  25 material and relevant facts for the purpose of selling securities in Ohio.

  26

  27

  28
                                              - 94 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 95 of 132 Page ID #:510




   1
                                      COUNT 42
        Fraudulent, Manipulative and Deceptive Conduct as an Investment Adviser
   2           (O.R.C. §§ 1707.44(M)(1)(a), (b) and (d) and 1707.44(M)(3)
   3        316. The allegations in the preceding paragraphs are realleged and
   4 incorporated herein by reference.

   5        317. O.R.C. 1707.44(M)(1) provides, in relevant part, the following:
   6               No investment adviser or investment adviser representative shall
   7               do any of the following:

   8               (a) Employ any device, scheme, or artifice to defraud any person;
   9
                   (b) Engage in any act, practice, or course of business that
  10               operates or would operate as a fraud or deceit upon any person;
  11
                   …
  12
                   (d) Engage in any act, practice, or course of business that is
  13
                   fraudulent, deceptive, or manipulative. The division of securities
  14               may adopt rules reasonably designed to prevent acts, practices,
                   or courses of business that are fraudulent, deceptive, or
  15
                   manipulative.
  16
            318. O.R.C. 1707.44(M)(3) states:
  17
                   In the solicitation of clients or prospective clients, no person shall
  18
                   make any untrue statement of a material fact or omit to state a
  19               material fact necessary in order to make the statements made not
                   misleading in light of the circumstances under which the
  20
                   statements were made.
  21        319. Defendants, in acting as investment advisers, employed a device, scheme
  22 or artifice to defraud Ohio investors and engaged in acts, practices or a course of

  23 business that was fraudulent, deceptive, or manipulative or operated as a fraud or

  24 deceit upon Ohio investors.

  25        320. Defendants, in acting as investment advisers, solicited clients and
  26 prospective clients to sell and liquidate securities in Qualified Retirement Accounts in

  27 order to purchase gold and silver coins from them based on untrue statements of

  28
                                             - 95 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 96 of 132 Page ID #:511




   1 material facts and further based on omission of material facts necessary in order to

   2 make the statements made not misleading.

   3 XX. VIOLATIONS OF THE OKLAHOMA UNIFORM SECURITIES ACT OF
   4                            2004
   5                (Brought by Plaintiff Oklahoma Department of Securities)
   6                                      COUNT 43
   7                          Unregistered Investment Adviser
                                     (71 O.S. § 1-403(A))
   8        321. The allegations in the preceding paragraphs are realleged and
   9 incorporated herein by reference.

  10        322. Section 1-403(A) of the Oklahoma Uniform Securities Act of 2004
  11 (“OK Act”), Okla. Stat. Ann. tit. 71, §§ 1-101 – 1-701 (West 2021), provides that:

  12              It is unlawful for a person to transact business in [Oklahoma] as
  13              an investment adviser unless the person is registered under [the
                  OK Act] as an investment adviser or is exempt from registration
  14              as an investment adviser under subsection B of this section.
  15        323. By reason of the conduct described above, Safeguard Metals is an
  16 “investment adviser” as defined in Section 1-102(17) of the OK Act.

  17        324. Safeguard Metals has not been registered under the OK Act in any
  18 capacity.

  19        325. Safeguard Metals has violated, and unless enjoined may continue to
  20 violate, Section 1-403(A) of the OK Act.

  21        326. Santulan, due to his status and actions as sole owner and sole manager of
  22 Safeguard Metals, has engaged in acts, practices or a course of business that

  23 materially aided Safeguard Metals’ violation of Section 1-403(A) of the OK Act and,

  24 unless enjoined, may continue to materially aid a violation of the same.

  25

  26

  27

  28
                                             - 96 -
       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                       EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 97 of 132 Page ID #:512




   1                                 COUNT 44
   2
             Employment or Association with an Unregistered Investment Adviser
                                      Representative
   3                               (71 O.S. § 1-403(D))
   4         327. The allegations in the preceding paragraphs are realleged and
   5 incorporated herein by reference.

   6         328. Section 1-403(D) of the OK Act provides that:
   7
                    It is unlawful for an investment adviser to employ or associate
   8                with an individual required to be registered under [the OK Act]
   9                as an investment adviser representative who transacts business in
                    [Oklahoma] on behalf of the investment adviser unless the
  10                individual is registered under subsection A of [Section 1-404 of
  11                the OK Act] or is exempt from registration under subsection B
                    of [Section 1-404 of the OK Act.]
  12
             329. By reason of the conduct described above, Safeguard Metals’ sales
  13
       representatives or agents are “investment adviser representatives” as defined in
  14
       Section 1-102(18) of the OK Act.
  15
             330. Safeguard Metals’ sales representatives or agents are not, and have not
  16
       been, registered under the OK Act as investment adviser representatives.
  17
             331. Safeguard Metals has violated, and unless enjoined may continue to
  18
       violate, Section 1-403(D) of the OK Act.
  19
             332. Santulan, due to his status and actions as sole owner and sole manager of
  20
       Safeguard Metals, has engaged in acts, practices or a course of business that
  21
       materially aided Safeguard Metals’ violation of Section 1-403(D) of the OK Act and,
  22
     unless enjoined, may continue to materially aid a violation of the same.
  23                                     COUNT 45
  24                                        Fraud
                                     (71 O.S. § 1-502(A))
  25

  26         333. The allegations in the preceding paragraphs are realleged and

  27 incorporated herein by reference.

  28         334. Section 1-502(A) provides, in part:
                                              - 97 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 98 of 132 Page ID #:513




   1
                   It is unlawful for [an investment adviser]:

   2                                             ****
   3               2. To make an untrue statement of a material fact or to omit to
                   state a material fact necessary in order to make the statement
   4               made, in the light of the circumstances under which it is made,
   5               not misleading; or

   6               3. To engage in an act, practice, or course of business that
   7               operates or would operate as a fraud or deceit upon another
                   person.
   8
   9         335. By reason of the conduct described above, Safeguard Metals made
  10 untrue statements of material fact, omitted to state material facts necessary in order to

  11 make the statements made not misleading, and engaged in an act, practice, or course

  12 of business that operated as a fraud or deceit upon another person in violation of

  13 Section 1-502(A) of the OK Act.

  14         336. Santulan, due to his status and actions as sole owner and sole manager of
  15 Safeguard Metals, has engaged in acts, practices or a course of business that

  16 materially aided Safeguard Metals’ violation of Section 1-502(A) of the OK Act and,

  17 unless enjoined, may continue to materially aid a violation of the same.

  18
                  XXI. VIOLATIONS OF THE SOUTH CAROLINA CODE
  19

  20                       (Brought by Plaintiff State of South Carolina)

  21                                    COUNT 46
          Unregistered Investment Adviser and Investment Adviser Representative
  22                Violations of S.C. Code Ann. § 35-1-403 to 35-1-404
  23
             337. The allegations in the preceding paragraphs are re-alleged and
  24
       incorporated herein by reference.
  25
             338. South Carolina Code Ann. § 35-1-102(15), provides in relevant part:
  26
                   “Investment adviser” means a person that, for compensation,
  27               engages in the business of advising others, either directly or
  28
                                              - 98 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 99 of 132 Page ID #:514




   1
                    through publications or writings, as to the value of securities or
                    the advisability of investing in, purchasing, or selling securities
   2                or that, for compensation and as a part of a regular business,
   3                issues or promulgates analyses or reports concerning securities.
                    The term includes a financial planner or other person that, as an
   4                integral component of other financially related services, provides
   5                investment advice regarding securities to others for
                    compensation as part of a business or that holds itself out as
   6                providing investment advice regarding securities to others for
   7                compensation.

   8         339. South Carolina Code Ann. § 35-1-102(16), provides in relevant part:
   9               “Investment adviser representative” means an individual
  10               employed by or associated with an investment adviser or federal
                   covered investment adviser and who makes any recommendations
  11               or otherwise gives investment advice regarding securities,
  12               manages securities accounts or portfolios of clients, determines
                   which recommendation or advice regarding securities should be
  13               given, provides investment advice regarding securities or holds
  14               herself or himself out as providing investment advice regarding
                   securities, receives compensation to solicit, offer, or negotiate for
  15               the sale of or for selling investment advice regarding securities,
  16               or supervises employees who perform any of the foregoing.
  17
             340. It is unlawful for a person to transact business in South Carolina as an
  18
       investment adviser unless the person is registered under this chapter as an investment
  19
       adviser or is exempt from registration as an investment adviser. S.C. Code Ann. § 35-
  20
       1-403(a).
  21
             341. It is unlawful for an individual to transact business in this South
  22
       Carolina as an investment adviser representative unless the individual is registered
  23
       under this chapter as an investment adviser representative or is exempt from
  24
       registration as an investment adviser representative. S.C. Code Ann. § 35-1-404(a).
  25
             342. It is unlawful for an individual to transact business in this South
  26
       Carolina as an investment adviser representative unless the individual is registered
  27

  28
                                              - 99 -
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                        EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 100 of 132 Page ID
                                   #:515



 1 under this chapter as an investment adviser representative or is exempt from

 2 registration as an investment adviser representative. S.C. Code Ann. § 35-1-404(a).

 3         343. Safeguard Metals unlawfully acted as an investment adviser for
 4 compensation, engaged in the business of advising another, directly and/or through

 5 publications or writings, with respect to the value of securities or to the advisability

 6 of investing in, purchasing, or selling securities, despite not being registered as an

 7 investment adviser under the Act, in violation of S.C. Code Ann. § 35-1-403(a).

 8         344. Santulan, as partner, officer, or director of Safeguard Metals, unlawfully
 9 acted as an investment adviser representative because he, directly and through his

10 sales representatives or other agents, made recommendations or otherwise gave

11 investment advice regarding securities; managed securities accounts or portfolios of

12 clients, determined which recommendation or advice regarding securities should be

13 given; provided investment advice regarding securities or held herself or himself out

14 as providing investment advice regarding securities; received compensation to solicit,

15 offer, or negotiate for the sale of or for selling investment advice regarding securities;

16 or supervised employees who perform any of the foregoing, despite not being

17 registered as an investment adviser representative under the South Carolina Uniform

18 Securities Act of 2005, in violation of S.C. Code Ann. § 35-1-404(a).

19         345. Therefore, Defendants violated the South Carolina Uniform Securities
20 Act of 2005.

21
                                       COUNT 47
                                     Securities Fraud
22           Violations of S.C. Code Ann. § 35-1-501(1)-(3) and § 35-1-502(a)
23
           346. The allegations in the preceding paragraphs are re-alleged and
24
     incorporated herein by reference.
25
           347. South Carolina Code Ann. § 35-1-501(1)-(3), provides in relevant part:
26
                  It is unlawful for a person, in connection with the offer,
27                sale, or purchase of a security, directly or indirectly:
28
                                            - 100 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 101 of 132 Page ID
                                   #:516



 1
                  a. to employ a device, scheme or artifice to defraud;
                  b. to make untrue statements of a material fact or omitted
 2                   to state a material fact necessary in order to make the
 3                   statements made, in light of the circumstances under
                     which they were made, not misleading; or
 4                c. to engage in acts, practices, or courses of business that
 5                   operated or would operate as a fraud or deceit upon
                     another person.
 6

 7         348. The Defendants participated in the offer or sale of securities by means of

 8 a scheme to defraud, with untrue statements of material fact or omissions to state
 9 material facts necessary in order to make the statements, in light of the circumstances

10 under which they were made, not misleading (the buyers not knowing of the untruths

11 or omissions), or engaged in acts, practices, or courses of business that operated as a

12 fraud on the investors. Therefore, Defendants violated S.C. Code Ann. § 35-1-501(1)-

13 (3).

14         349. South Carolina Code Ann. § 35-1-502(a), provides in relevant part:

15                It is unlawful for a person that advises others for compensation,
                  either directly or indirectly or through publications or writings,
16                as to the value of securities or the advisability of investing in,
17                purchasing, or selling securities or that, for compensation and as
                  part of a regular business, issues or promulgates analyses or
18                reports relating to securities:
19
                  (1) to employ a device, scheme, or artifice to defraud another
20                person; or
21                (2) to engage in an act, practice, or course of business that
                  operates or would operate as a fraud or deceit upon another
22                person
23
           350. The Defendants, acting through various officers, employees, or agents,
24
     in connection with the rendering of investment advice to South Carolina investors,
25
     (1) employed a device, scheme, or artifice to defraud another person; or (2) engaged
26
     in an act, practice, or course of business that operated or would operate as a fraud or
27

28
                                            - 101 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 102 of 132 Page ID
                                   #:517



 1
     deceit upon another person. Therefore, Defendants violated S.C. Code Ann. § 35-1-

 2
     502(a).

 3         351. Therefore, Defendants violated the South Carolina Uniform Securities

 4 Act of 2005.

 5                                       COUNT 48
                       Unlawful Solicitation and Sale of Commodities
 6                        Violations of S.C. Code Ann. § 39-73-20
 7
           352. The allegations in the preceding paragraphs are re-alleged and
 8
     incorporated herein by reference.
 9
           353. South Carolina Ann. § 39-73-10(13), provides in relevant part:
10
                  (4) “Commodity” means, except as otherwise specified by the
11                administrator . . . a metal or mineral, including a precious metal,
12                a gem, or gemstone whether characterized as precious, semi-
                  precious, or otherwise . . .
13

14                (9) “Commodity option” means an account, an agreement, or a
                  contract giving a party the right but not the obligation to purchase
15                or sell one or more commodities or one or more commodity
16                contracts, or all of the foregoing, whether characterized as an
                  option, privilege, indemnity, bid, offer, put, call, advance
17                guaranty, decline guaranty, or otherwise. . . .
18
                  (13) “Precious metal” means the following in either coin, bullion,
19                or other form:
20                      (a) silver;
                        (b) gold;
21                      (c) platinum;
22                      (d) palladium;
                        (e) copper;
23                      (f) other items the administrator may specify by
24                      regulation.
25         354. South Carolina Code Ann. § 39-73-20, provides in relevant part:
26                Except as otherwise provided in Section 39-73-30 or Section 39-
27                73-40 no person may sell or purchase or offer to sell or purchase
                  a commodity under commodity contract or under commodity
28
                                            - 102 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 103 of 132 Page ID
                                   #:518



 1
                 option or offer to enter into or enter into as seller or purchaser a
                 commodity contract or a commodity option.
 2

 3        355. South Carolina Code Ann. § 39-73-70, provides in relevant part:
 4               (A) The act, omission or failure of an official, an agent, or
 5               another person acting for an individual, an association, a
                 partnership, a corporation, or a trust within the scope of his
 6               employment or office is deemed the act, omission or failure of
 7               the individual, association, partnership, corporation, or trust as
                 well as of the official, agent, or other person.
 8
                 (B) Every person who directly or indirectly controls another
 9
                 person liable under this chapter, every partner, officer, or director
10               of the other person, every person occupying a similar status or
                 performing similar functions, every employee of the other person
11
                 who materially aids in the violation also is liable jointly and
12               severally with and to the same extent as the other person, unless
                 the person who also is liable by virtue of this section sustains the
13
                 burden of proof that he did not know and in exercise or
14               reasonable care could not have known of the existence of the
                 facts by reason of which the liability is alleged to exist.
15

16        356. The Defendants, directly and by and through their sales representatives
17 or other agents, unlawfully solicited the sale of precious metals and sold precious

18 metals to South Carolina investors.

19        357. As a result of the foregoing conduct, the Defendants violated S.C. Code
20 Ann. § 39-73-20.

21        358. Therefore, the Defendants violated the South Carolina State Commodity
22 Code, S.C. Code Ann. § 39-73-10, et. seq.

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28
                                           - 103 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 104 of 132 Page ID
                                   #:519



 1
                                           COUNT 49
                                      Commodities Fraud
 2                       Violations of S.C. Code Ann. § 39-73-60(1)-(4)
 3
            359. The allegations in the preceding paragraphs are re-alleged and
 4
     incorporated herein by reference.
 5
            360. South Carolina Code Ann. § 39-73-60(1)-(4), provides in relevant part
 6
     that no person, directly or indirectly, in or in connection with the purchase or sale of,
 7
     the offer to sell, the offer to purchase, the offer to enter into, or the entry into of, a
 8
     commodity contract or commodity option, may:
 9
                   1. cheat or defraud, attempt to cheat or defraud, or employ a
10                    device, a scheme, or an artifice to defraud;
11
                   2. make a false report, enter a false record, or make an untrue
12                    statement of material fact or omit to state a material fact
                      necessary in order to make the statements made, in light of
13
                      the circumstances under which they were made, not
14                    misleading;
15                 3. engage in a transaction, an act, a practice, or a course of
16                    business, including without limitation a form of advertising
                      or solicitation, which operates or would operate as a fraud or
17                    deceit on Metals customers or potential customers; or
18
                   4. misappropriate or convert the funds, security, or property of
19                    a person.
20
            361. The Defendants, acting through various officers, employees, or other
21
     agents, in connection with the solicitation to sell and the sale of precious metals: (1)
22
     cheated or defrauded, or attempted to cheat or defraud, another person or employed a
23
     device, scheme, or artifice to defraud another person; (2) made a false report, entered
24
     a false record, or made an untrue statement of a material fact or omitted to state a
25
     material fact necessary in order to make the statements made, in the light of the
26
     circumstances under which they were made, not misleading; (3) engaged in a
27
     transaction, act, practice, or course of business, including, without limitation, any
28
                                            - 104 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 105 of 132 Page ID
                                   #:520



 1 form of advertising or solicitation, which operated or would operate as a fraud or

 2 deceit upon another person; or (4) misappropriated or converted the funds, security,

 3 or property of another person, in connection with the solicitation of a purchase or sale

 4 of, the offer to sell, the offer to purchase, the offer to enter into, or the entry into of

 5 any commodity contract or commodity option.

 6         362. Therefore, the Defendants violated the South Carolina State Commodity
 7 Code, S.C. Code Ann. § 39-73-10, et. seq.

 8        XXII. VIOLATIONS OF THE UTAH UNIFORM SECURITIES ACT
 9                               (“UUSA”)
10                             (Brought by Plaintiff State of Utah)
11                                       COUNT 50
12                                     Securities Fraud
                   (Violations of Sections 61-1-1 and 61-1-2 of the UUSA)
13
           363. The allegations in the preceding paragraphs are realleged and
14
     incorporated herein by reference.
15
           364.   Section 61-1-1 of the UUSA provides, in relevant part:
16
                  It is unlawful for any person, in connection with the offer, sale, or
17                purchase of any security, directly or indirectly to:
18
                  (1)    employ any device, scheme, or artifice to defraud;
19

20
                  (2) make any untrue statement of a material fact or to omit to
                  state a material fact necessary in order to make the statements
21                made, in the light of the circumstances under which they are
22
                  made, not misleading; or

23                (3) engage in any act, practice, or course of business which
24
                  operates or would operate as a fraud or deceit upon any person.

25
           365. By reason of the conduct described above, Defendants, by and through
26

27
     Santulan and Safeguard Metals’ officers, employees and agents, directly or indirectly,

28
                                            - 105 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 106 of 132 Page ID
                                   #:521



 1
     in connection with the offer and sale of securities in Utah, violated Section 61-1-1(2)

 2 and (3) of the UUSA.

 3
           366. Section 61-1-2 of the UUSA provides, in relevant part:
 4

 5                It is unlawful for any person who receives any consideration from
                  another person primarily for advising the other person as to the
 6                value of securities or their purchase or sale, whether through the
 7                issuance of analyses or reports or otherwise to:

 8                (a) employ any device, scheme, or artifice to defraud the other
 9                person;

10                (b) engage in any act, practice, or course of business which
11                operates or would operate as a fraud or deceit upon the other
                  person; or
12

13                (c) divide or otherwise split any consideration with any person
                  not licensed under this chapter as an investment adviser or
14                investment adviser representative.
15
           367. By reason of the conduct described above, Defendants, by and through
16
     Santulan and Safeguard Metals’ officers, employees and agents, and Safeguard
17
     Metals’ publications or writings, violated Section 61-1-2(b) of the UUSA.
18

19                                     COUNT 51
20        Unlicensed Investment Advisers or Investment Adviser Representatives
                         (Violations of Section 61-1-3(3) of the UUSA)
21

22         368. The allegations in the preceding paragraphs are realleged and
23 incorporated herein by reference.

24         369. Section 61-1-3(3) of the UUSA provides, in relevant part:
25                It is unlawful for a person to transact business in this state as an
26                investment adviser or as an investment adviser representative
                  unless: . . . the person is licensed under this chapter; . . .
27

28
                                            - 106 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 107 of 132 Page ID
                                   #:522



 1
            370. By reason of the conduct described above, Defendants, by and through

 2
     Santulan and Safeguard Metals’ officers, employees and agents, and Safeguard

 3 Metals’ publications or writings, violated Section 61-1-3(3) of the UUSA.

 4
                  XXIII. VIOLATIONS OF THE VERMONT STATUTES
 5

 6                            (Brought by Plaintiff State of Vermont)

 7                                        COUNT 52
                                Unregistered Investment Adviser
 8                                Violation of 9 V.S.A. § 5403
 9
            371. The allegations in the preceding paragraphs are realleged and
10
     incorporated herein by reference.
11
            372. Pursuant to 9 V.S.A. § 5403(a), it is unlawful for a person to transact
12
     business in Vermont as an investment adviser unless the person is registered to do so
13
     or exempt from registration.
14
            373. Pursuant to 9 V.S.A. § 5102(15), an investment adviser means a person
15
     that, for compensation, engages in the business of advising others, either directly or
16
     indirectly, as to the advisability of selling securities.
17

18
            374. Through direct solicitation, its website and otherwise, Defendant

19
     Safeguard Metals held itself out to Vermont investors as an investment adviser.

20
            375. By advising Vermont investors to liquidate securities in order to buy

21
     precious metals, Defendant Safeguard Metals acted as an investment adviser in

22
     Vermont within the meaning of 9 V.S.A. § 5102(15).

23
            376. Defendant Safeguard Metals is not registered as an investment adviser in

24
     Vermont nor exempt from registration.

25
            377. By transacting business in Vermont as an unregistered investment

26
     adviser, Defendant Safeguard Metals violated 9 V.S.A. § 5403(a) and is subject to

27
     discipline under 9 V.S.A. §5603.

28
                                            - 107 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 108 of 132 Page ID
                                   #:523



 1
                                        COUNT 53
                     Unregistered Investment Adviser Representative
 2                            In Violation of 9 V.S.A. § 5404
 3

 4        378. The allegations in the preceding paragraphs are realleged and

 5 incorporated herein by reference.

 6        379. Pursuant to 9 V.S.A. §5404(a), it is unlawful for an individual to transact

 7 business in Vermont as an investment adviser representative unless the person is

 8 registered to do so or exempt from registration.
 9        380. Pursuant to 9 V.S.A.§5102(16), an investment adviser representative

10 means an individual employed by or associated with an investment adviser who

11 makes any recommendations or otherwise gives investment advice regarding

12 securities.

13        381. Through direct solicitation, the Safeguard Metals website and otherwise,

14 sales representatives of Safeguard Metals held themselves out to Vermont investors

15 as investment adviser representatives within the meaning of 9 V.S.A. §5102(16).

16        382. By acting on behalf of Safeguard Metals to advise Vermont investors to

17 liquidate securities in order to buy precious metals, sales representatives of Safeguard

18 Metals acted as investment adviser representatives within the meaning of 9 V.S.A. §

19 5102(16).

20        383. Sales representatives of Safeguard Metals are not registered in Vermont

21 as investment adviser representatives nor exempt from registration.

22        384. By transacting business in Vermont as unregistered investment adviser

23 representatives, sales representatives of defendant Safeguard Metals violated 9

24 V.S.A. § 5404(a) and are subject to discipline under 9 V.S.A. § 5603.

25

26

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28
                                           - 108 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 109 of 132 Page ID
                                   #:524



 1
                                            COUNT 54
                                         Securities Fraud
 2                               In Violation of 9 V.S.A. § 5501(1)
 3
           385. The allegations in the preceding paragraphs are realleged and
 4
     incorporated herein by reference.
 5
           386. Pursuant to 9 V.S.A. § 5501(1), it is unlawful for a person, in connection
 6
     with the sale of a security, directly or indirectly, to employ a device, scheme or
 7
     artifice to defraud.
 8
           387. During the relevant period, Defendants, directly and indirectly, by and
 9
     through their sales representatives, employed a scheme to target elderly and retired
10
     Vermont investors and received compensation from Vermont investors by
11
     fraudulently advising them to liquidate retirement accounts containing securities and
12
     to buy precious metals, in part on the false representation that the securities market
13
     was volatile and the metals market stable, so they would realize a financial gain, and
14
     without disclosing to Vermont investors the markup on metals or the extent of fees
15
     charged by Defendants.
16
           388. In reliance on Defendants’ representations, the Vermont investors
17
     liquidated their entire retirement accounts to buy precious metals. They did not
18
     realize a financial gain.
19
           389. As a result of the above conduct, Defendants violated 9 V.S.A. §5501(1)
20
     and are subject to discipline under 9 V.S.A. §5603.
21

22                                          COUNT 55
23                                       Securities Fraud
                                 In Violation of 9 V.S.A. § 5501(2)
24

25         390. The allegations in the preceding paragraphs are realleged and

26 incorporated herein by reference.

27         391. Pursuant to 9 V.S.A. §5501(2), it is unlawful for a person, in connection

28 with the sale of a security, directly or indirectly, to make an untrue statement of
                                            - 109 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 110 of 132 Page ID
                                   #:525



 1
     material fact or to omit to state a material fact necessary, in light of the circumstances

 2
     under which they were made, not misleading.

 3         392. During the relevant period, Defendants, directly and indirectly, by and

 4 through their sales representatives, advised Vermont investors to liquidate securities

 5 and buy precious metals on the false representation that the securities market was

 6 volatile and the metals market more stable, such that the Vermont customers would

 7 realize a financial gain, and without disclosing to Vermont investors the markup on

 8 precious metals or the fees being charged.
 9         393. In reliance on Defendants’ representations, The Vermont investors

10 liquidated their entire retirement accounts to buy precious metals. They did not

11 realize a financial gain.

12         394. As a result of the above conduct, Defendants violated 9 V.S.A. §5501(2)

13 and are subject to discipline under 9 V.S.A. §5603.

14                                        COUNT 56
15
                             Financial Exploitation of the Elderly
                            In Violation of 9 V.S.A. § 5603(b)(2)(C)
16

17         395. The preceding paragraphs are realleged and incorporated herein by
18 reference.

19         396. Pursuant to 9 V.S.A.§5603(b)(2)( C), a court may increase the civil
20 penalty by not more than $5000 per violation of the Vermont Uniform Securities Act

21 for violations involving a vulnerable adult as defined in 33 V.S.A. §6902(14).

22         397. Pursuant to 33 V.S.A. §6902(14)(D), a person impaired due to the
23 infirmities of aging is a vulnerable adult.

24         398. Vermont investors #1 and #2, both over the age of 70 and retired, are
25 vulnerable adults within the meaning of 33 V.S.A.§6902(14)(D).

26         399. As a result, Defendants are subject to the increased penalties set forth in
27 9 V.S.A.§5603(b)(2)( C) for the violations described in Counts 54 and 55.

28
                                            - 110 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 111 of 132 Page ID
                                   #:526



 1                                XXIV. RELIEF REQUESTED
 2
           400. The CFTC and the States respectfully request that this Court, as
 3
     authorized by Sections 6c and 6d(1) of the CEA, 7 U.S.C. §§ 13a-1, 13a-2(1) and
 4
     pursuant to its own equitable powers:
 5
           A.    Find that Defendants violated Section 6(c)(1) of the CEA, 7 U.S.C.
 6
                 § 9(1), and CFTC Regulation 180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-
 7
                 (3) (2021);
 8
           B.    Find that Defendants violated the laws of the States as set forth above;
 9
           C.    Enter an order of permanent injunction enjoining Defendants and their
10
                 affiliates, agents, servants, employees, successors, assigns, attorneys,
11
                 and all persons in active concert with them, who receive actual notice of
12
                 such order by personal service or otherwise, from engaging in the
13
                 conduct described above, in violation of 7 U.S.C. § 9(1) and 17 C.F.R.
14
                 § 180.1(a)(1)-(3) and the laws of the States;
15
           D.    Enter an order of permanent injunction restraining and enjoining
16
                 Defendants and their affiliates, agents, servants, employees, successors,
17
                 assigns, attorneys, and all persons in active concert with them, from
18
                 directly or indirectly:
19
                 1)     Trading on or subject to the rules of any registered entity (as that
20
                        term is defined by Section 1a(40) of the CEA, 7 U.S.C. § 1a(40));
21
                 2)     Entering into any transactions involving “commodity interests”
22
                        (as that term is defined in Regulation 1.3, 17 C.F.R. § 1.3 (2021)),
23
                        for accounts held in the name of any Defendant or for accounts in
24
                        which any Defendant has a direct or indirect interest;
25
                 3)     Having any commodity interests traded on any Defendants’
26
                        behalf;
27
                 4)     Controlling or directing the trading for or on behalf of any other
28
                                            - 111 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 112 of 132 Page ID
                                   #:527



 1                    person or entity, whether by power of attorney or otherwise, in
 2                    any account involving commodity interests;
 3              5)    Soliciting, receiving, or accepting any funds from any person for
 4                    the purpose of purchasing or selling of any commodity interests;
 5              6)    Applying for registration or claiming exemption from registration
 6                    with the CFTC in any capacity, and engaging in any activity
 7                    requiring such registration or exemption from registration with the
 8                    CFTC except as provided for in CFTC Regulation 4.14(a)(9),
 9                    17 C.F.R. § 4.14(a)(9) (2021);
10              7)    Acting as a principal (as that term is defined in CFTC Regulation
11                    3.1(a), 17 C.F.R. § 3.1(a) (2021)), agent, or any other officer or
12                    employee of any person registered, exempted from registration, or
13                    required to be registered with the CFTC except as provided for in
14                    17 C.F.R. § 4.14(a)(9);
15              8)    Acting or associating with an investment adviser or investment
16                    adviser representative or broker-dealer, in violation of the laws of
17                    the States;
18              9)    In connection with offer, sale or purchase of any security,
19                    employing any device, scheme, or artifice to defraud another
20                    person, making any untrue statement of a material fact or omit to
21                    state a material fact necessary in order to make the statement
22                    made, in the light of the circumstances under which they were
23                    made, not misleading; or engaging in any act, practice, or course
24                    of business which operates or would operate as a fraud or deceit
25                    upon any person, in violation of the laws of the States.
26        E.    Enter an order directing Defendants as well as any third-party transferee
27              and/or successors thereof, to disgorge, pursuant to such procedure as the
28
                                           - 112 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 113 of 132 Page ID
                                   #:528



 1              Court may order, all benefits received including, but not limited to,
 2              salaries, commissions, loans, fees, revenues, and trading profits derived,
 3              directly or indirectly, from acts or practices that constitute violations of
 4              the CEA or CFTC Regulations or the laws of the States, as described
 5              herein, including pre-judgment and post-judgment interest;
 6        F.    Enter an order requiring Defendants, as well as any successors thereof,
 7              to make full restitution to every person who has sustained losses
 8              proximately caused by the violations described herein, including pre-
 9              judgment and post-judgment interest;
10        G.    Enter an order directing Defendants to rescind, pursuant to such
11              procedures as the Court may order, all contracts and agreements,
12              whether implied or express, entered into between Defendants and any of
13              the customers whose funds were received by Defendants as a result of
14              Defendants’ violations of the CEA or CFTC Regulations or the laws of
15              the States as described herein;
16        H.    Enter an order directing Defendants to pay a civil monetary penalty
17              assessed by the Court, in an amount not to exceed the penalty prescribed
18              by Section 6c(d)(1) of the CEA, 7 U.S.C. § 13a-1(d)(1), as adjusted for
19              inflation pursuant to the Federal Civil Penalties Inflation Adjustment Act
20              Improvements Act of 2015, Pub. L. 114-74, tit. VII, § 701, 129 Stat.
21              584, 599-600, see Regulation 143.8, 17 C.F.R. § 143.8 (2021), for each
22              violation of the CEA or CFTC Regulations, and pay civil monetary
23              penalties and/or damages pursuant to the laws of the States during the
24              Relevant Period, described herein;
25        I.    Enter an order requiring Defendants to pay costs and fees as permitted
26              by 28 U.S.C. §§ 1920 and 2413(a)(2) and the laws of the States; and
27        J.    Enter an order providing such other and further relief as the Court deems
28
                                           - 113 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 114 of 132 Page ID
                                   #:529



 1               proper.
 2
                           XXV. DEMAND FOR JURY TRIAL
 3

 4        401. Plaintiffs hereby demand a jury trial.
 5

 6        I hereby attest that all other signatories listed, and on whose behalf the filing is
 7 submitted, concur in the filing’s content and have authorized the filing.

 8
 9        Dated: May 25, 2022               Respectfully submitted,
10
                                            COMMODITY FUTURES
11                                          TRADING COMMISSION
12
                                            By: /s/ Clemon D. Ashley
13

14                                          JEFF LE RICHE, admitted pro hac vice
                                            (Attorney-In-Charge)
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                                           - 114 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 115 of 132 Page ID
                                   #:530



 1
                                         FOR THE STATE OF ALABAMA

 2                                       By: /s/ Stephen P. Feaga
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 7                                       ANNE W. GUNTER, admitted pro hac vice
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15
                                         FOR THE STATE OF ARIZONA
16

17                                       By: /s/ Christopher Nichols
18                                       CHRISTOPHER NICHOLS, admitted pro hac
19                                       vice
                                         Enforcement Attorney
20                                       Arizona Bar No. 029958
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28
                                           - 115 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 116 of 132 Page ID
                                   #:531



 1
                                         FOR THE STATE OF ARKANSAS
 2

 3                                       By: /s/ Joseph Joslin

 4                                       JOSEPH JOSLIN, admitted pro hac vice
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                                         Joseph.Joslin@arkansas.gov
 6

 7                                       Attorney for Plaintiff
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10                                       Facsimile: (501) 324-9268
11

12                                       FOR THE STATE OF CALIFORNIA
13
                                         By: /s/ Kelly Suk
14

15                                       DANIELLE A. STOUMBOS
                                         California Bar No. 264784
16                                       Danielle.Stoumbos@dfpi.ca.gov
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                                         KELLY SUK
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                                           - 116 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 117 of 132 Page ID
                                   #:532



 1
                                         FOR THE STATE OF CONNECTICUT

 2                                       By: /s/ James W. Caley
 3
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 5                                       Connecticut Bar No. 430246
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                                           - 117 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 118 of 132 Page ID
                                   #:533



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                                           - 118 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 119 of 132 Page ID
                                   #:534



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                                           - 119 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 120 of 132 Page ID
                                   #:535



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                                           - 120 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 121 of 132 Page ID
                                   #:536



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                                           - 121 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 122 of 132 Page ID
                                   #:537



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                                           - 122 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 123 of 132 Page ID
                                   #:538



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                                           - 123 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 124 of 132 Page ID
                                   #:539



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                                           - 124 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 125 of 132 Page ID
                                   #:540



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                                           - 125 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 126 of 132 Page ID
                                   #:541



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                                           - 126 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 127 of 132 Page ID
                                   #:542



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                                           - 127 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 128 of 132 Page ID
                                   #:543



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                                           - 128 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 129 of 132 Page ID
                                   #:544



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                                           - 129 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 130 of 132 Page ID
                                   #:545



 1
                     Certification Pursuant to Local Rule 5-4.3.4(a)(2)(i)
 2
           Pursuant to Local Rule 5-4.3.4(a)(2)(i), signatories hereby do attest that all
 3
     signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
 4
     content and have authorized the filing.
 5

 6
     Dated: May 25, 2022                       COMMODITY FUTURES TRADING
 7                                             COMMISSION
 8
 9
                                               By: /s/ Clemon D. Ashley
10
                                                   CLEMON D. ASHLEY
11
                                                  Attorney for Plaintiff
12
                                                  COMMODITY FUTURES TRADING
13                                                COMMISSION
14

15

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                                            - 130 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 131 of 132 Page ID
                                   #:546


                                  PROOF OF SERVICE
 1

 2
          On May 25, 2022, I caused to be served the document entitled FIRST
   AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY
 3 PENALTIES, AND OTHER EQUITABLE RELIEF on all the parties to this

 4 action addressed as stated on the attached service list:

 5 ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
 6 collection and mailing today following ordinary business practices. I am readily
   familiar with this agency’s practice for collection and processing of correspondence
 7 for mailing; such correspondence would be deposited with the U.S. Postal Service on

 8 the same day in the ordinary course of business.
 9 ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s), which I
10 personally deposited with the U.S. Postal Service. Each such envelope was deposited
   with the U.S. Postal Service at Kansas City, Missouri, with first class postage thereon
11 fully prepaid.

12
   ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
13 regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los

14
   Angeles, California, with Express Mail postage paid.

15 ☐        HAND DELIVERY: I caused to be hand delivered each such envelope to the
     office of the addressee as stated on the attached service list.
16

17 ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
   by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
18
   deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
19 Los Angeles, California.

20 ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail to
21 the electronic mail address as stated on the attached service list.

22 ☒    E-FILING: By causing the document to be electronically filed via the Court’s
23 CM/ECF system, which effects electronic service on counsel who are registered with
   the CM/ECF system.
24
     ☐     FAX: By transmitting the document by facsimile transmission. The
25
     transmission was reported as complete and without error.
26

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                                            - 131 -
      FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                      EQUITABLE RELIEF
Case 2:22-cv-00691-JFW-SK Document 104 Filed 05/25/22 Page 132 of 132 Page ID
                                   #:547



 1
      CFTC, et al. v. Safeguard Metals LLC and Jeffrey Santulan a/k/a Jeffrey Hill
            United States District Court – Central District of California
 2                          Case No. 2:22-cv-00691-JFW-SK
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                                           - 132 -
     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY PENALTIES, AND OTHER
                                     EQUITABLE RELIEF
